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                                      SA,ETT−20D,INTERLOCUTORYAPPEAL,MEDIATION,PROTO
                           U.S. District Court
                   DISTRICT OF KANSAS (Kansas City)
           CIVIL DOCKET FOR CASE #: 2:18−cv−02545−KHV−KGG

McIntyre et al v. Unified Government of Wyandotte County and   Date Filed: 10/11/2018
Kansas City, Kansas et al                                      Jury Demand: Both
Assigned to: District Judge Kathryn H. Vratil                  Nature of Suit: 440 Civil Rights: Other
Referred to: Magistrate Judge Kenneth G. Gale                  Jurisdiction: Federal Question
Demand: $75,000
Cause: 42:1983 Civil Rights Act
Plaintiff
Lamonte McIntyre                              represented by Alana M. McMullin
                                                             Lathrop GPM, LLP − Kansas City
                                                             2345 Grand Boulevard
                                                             Kansas City, MO 64108−2618
                                                             816−292−2000
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                                                             Email: alana.mcmullin@lathropgpm.com
                                                             LEAD ATTORNEY
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                                                             Bar Number: 78948
                                                             Bar Status: Active

                                                               Alexander T. Brown
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                                                               Amelia B. Green
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                                                               Email: amelia@nsbcivilrights.com
                                                               LEAD ATTORNEY


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Case 2:18-cv-02545-KHV-KGG Document 675-1 Filed 06/21/22 Page 2 of 105




                                             PRO HAC VICE
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                                             Bar Number:
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                                             Bar Number:
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                                             PRO HAC VICE
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                                             Bar Number:
                                             Bar Status: Phv

                                             Grace Ann Paras
                                             Neufeld Scheck & Brustin, LLP
                                             99 Hudson Street, 8th Floor


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Case 2:18-cv-02545-KHV-KGG Document 675-1 Filed 06/21/22 Page 3 of 105




                                             New York, NY 10013
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                                             Bar Number: 15407
                                             Bar Status: Active

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                                             LEAD ATTORNEY
                                             PRO HAC VICE
                                             ATTORNEY TO BE NOTICED


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 Case 2:18-cv-02545-KHV-KGG Document 675-1 Filed 06/21/22 Page 4 of 105




                                               Bar Number:
                                               Bar Status: Phv

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                                               Bar Number: 77974
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                                                TERMINATED: 02/16/2021
                                               PRO HAC VICE
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                                               Yasmin Dagne
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                                                TERMINATED: 09/29/2021
                                               Bar Number:
                                               Bar Status: Phv

Plaintiff
Rose Lee McIntyre                  represented by Alana M. McMullin
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Bar Number: 78948
                                                  Bar Status: Active


                                                                                    4
Case 2:18-cv-02545-KHV-KGG Document 675-1 Filed 06/21/22 Page 5 of 105




                                             Alexander T. Brown
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED
                                             Bar Number: 78891
                                             Bar Status: Active

                                             Amelia B. Green
                                             (See above for address)
                                             LEAD ATTORNEY
                                             PRO HAC VICE
                                             ATTORNEY TO BE NOTICED
                                             Bar Number:
                                             Bar Status: Phv

                                             Barry C. Scheck
                                             (See above for address)
                                             LEAD ATTORNEY
                                             PRO HAC VICE
                                             ATTORNEY TO BE NOTICED
                                             Bar Number:
                                             Bar Status: Phv

                                             Cheryl A. Pilate
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED
                                             Bar Number: 14601
                                             Bar Status: Active

                                             Emma Freudenberger
                                             (See above for address)
                                             LEAD ATTORNEY
                                             PRO HAC VICE
                                             ATTORNEY TO BE NOTICED
                                             Bar Number:
                                             Bar Status: Phv

                                             Grace Ann Paras
                                             (See above for address)
                                             LEAD ATTORNEY
                                             PRO HAC VICE
                                             ATTORNEY TO BE NOTICED
                                             Bar Number:
                                             Bar Status: Phv

                                             Lindsay Runnels
                                             (See above for address)
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED
                                             Bar Number: 78822
                                             Bar Status: Active


                                                                         5
 Case 2:18-cv-02545-KHV-KGG Document 675-1 Filed 06/21/22 Page 6 of 105




                                                  Michael J. Abrams
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Bar Number: 15407
                                                  Bar Status: Active

                                                  Sona R. Shah
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED
                                                  Bar Number:
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                                                  William G. Beck
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Bar Number: 77974
                                                  Bar Status: Active

                                                  Richard Sawyer
                                                  (See above for address)
                                                   TERMINATED: 02/16/2021
                                                  PRO HAC VICE
                                                  Bar Number:
                                                  Bar Status: Phv

                                                  Yasmin Dagne
                                                  (See above for address)
                                                   TERMINATED: 09/29/2021
                                                  Bar Number:
                                                  Bar Status: Phv


V.
Defendant
Unified Government of Wyandotte    represented by Brian Mauldin
County and Kansas City, Kansas                    Fisher, Patterson, Sayler & Smith, LLP −
                                                  Topeka
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                                                  706−829−6672
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                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Bar Number: 28636


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Case 2:18-cv-02545-KHV-KGG Document 675-1 Filed 06/21/22 Page 7 of 105




                                             Bar Status: Active

                                             Charles Edward Branson
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                                             ATTORNEY TO BE NOTICED
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                                             Bar Status: Active

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                                             Bar Number: 16690
                                             Bar Status: Active

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                                             Unified Government of Wyandotte
                                             County/Kansas City, KS
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                                             Bar Number: 26442
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                                             Henry E. Couchman , Jr.
                                             Unified Government of Wyandotte
                                             County/Kansas City, KS
                                             701 North 7th Street
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                                                                                        7
 Case 2:18-cv-02545-KHV-KGG Document 675-1 Filed 06/21/22 Page 8 of 105




                                                 Fax: 913−573−5243
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                                                 Cell Phone: 913−951−1617
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                                                 Bar Status: Active

                                                 Lauren E. Laushman
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                                                  TERMINATED: 10/17/2019
                                                 Bar Number: 25776
                                                 Bar Status: Active

Defendant
Roger Golubski                     represented by Christopher M. Napolitano
Detective                                         Ensz & Jester, PC
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                                                  Cell Phone:
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                                                  Bar Number: 25499
                                                  Bar Status: Active

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                                                 Email: jeff@mccauleyroach.com
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Bar Number: 23983
                                                 Bar Status: Active

                                                 Matthew J. Gist
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                                                 1100 Main Street, Suite 2121
                                                 Kansas City, MO 64105

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                                              Bar Number: 23060
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                                              Bar Number: 20174
                                              Bar Status: Active

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                                               TERMINATED: 03/26/2021
                                              Bar Number: 25636
                                              Bar Status: Active

Defendant


                                                                                     9
Case 2:18-cv-02545-KHV-KGG Document 675-1 Filed 06/21/22 Page 10 of 105




Jon A. Blongewicz                  represented by Elizabeth Ann Evers Guerra
As Special Administrator of                       Sanders Warren & Russell, LLP − OP
TERMINATED: 02/01/2019                            Compass Corporate Centre
estate of                                         11225 College Blvd., Suite 450
James Michael Krastolich                          Overland Park, KS 66210
                                                  913−234−6100
                                                  Fax: 913−234−6199
                                                  Alternative Phone:
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                                                  Email: e.eversguerra@swrllp.com
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Bar Number: 22580
                                                  Bar Status: Active

                                                 Sean M. Sturdivan
                                                 Sanders Warren & Russell, LLP − OP
                                                 Compass Corporate Centre
                                                 11225 College Blvd., Suite 450
                                                 Overland Park, KS 66210
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                                                 Email: s.sturdivan@swrllp.com
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Bar Number: 21286
                                                 Bar Status: Active

                                                 Tracy M. Hayes
                                                 Sanders Warren Russell & Scheer, LLP −
                                                 OP
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                                                 Overland Park, KS 66210
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                                                 Alternative Phone: 913−234−6133
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                                                 Email: t.hayes@swrllp.com
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Bar Number: 23119
                                                 Bar Status: Active

Defendant
Dennis Ware                        represented by Elizabeth Ann Evers Guerra
Detective                                         (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Bar Number: 22580
                                                  Bar Status: Active

                                                                                          10
Case 2:18-cv-02545-KHV-KGG Document 675-1 Filed 06/21/22 Page 11 of 105




                                                 Sean M. Sturdivan
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Bar Number: 21286
                                                 Bar Status: Active

                                                 Tracy M. Hayes
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Bar Number: 23119
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                                                 Jacob Donald Bielenberg
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                                                 816−360−8139
                                                 Alternative Phone:
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                                                 Email: jbielenberg@batyotto.com
                                                  TERMINATED: 12/02/2020
                                                 Bar Number: 27601
                                                 Bar Status: Active

Defendant
James L. Brown                     represented by Elizabeth Ann Evers Guerra
Officer                                           (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Bar Number: 22580
                                                  Bar Status: Active

                                                 Sean M. Sturdivan
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Bar Number: 21286
                                                 Bar Status: Active

                                                 Tracy M. Hayes
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Bar Number: 23119
                                                 Bar Status: Active

                                                 Jacob Donald Bielenberg
                                                 (See above for address)
                                                  TERMINATED: 12/02/2020

                                                                                      11
Case 2:18-cv-02545-KHV-KGG Document 675-1 Filed 06/21/22 Page 12 of 105




                                                 Bar Number: 27601
                                                 Bar Status: Active

Defendant
Clyde Blood                        represented by Elizabeth Ann Evers Guerra
Detective                                         (See above for address)
TERMINATED: 03/29/2022                            LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Bar Number: 22580
                                                  Bar Status: Active

                                                 Sean M. Sturdivan
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Bar Number: 21286
                                                 Bar Status: Active

                                                 Tracy M. Hayes
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Bar Number: 23119
                                                 Bar Status: Active

                                                 Jacob Donald Bielenberg
                                                 (See above for address)
                                                  TERMINATED: 12/02/2020
                                                 Bar Number: 27601
                                                 Bar Status: Active

Defendant
W. K. Smith                        represented by Elizabeth Ann Evers Guerra
Detective                                         (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Bar Number: 22580
                                                  Bar Status: Active

                                                 Sean M. Sturdivan
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Bar Number: 21286
                                                 Bar Status: Active

                                                 Tracy M. Hayes
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Bar Number: 23119


                                                                               12
Case 2:18-cv-02545-KHV-KGG Document 675-1 Filed 06/21/22 Page 13 of 105




                                                 Bar Status: Active

                                                 Jacob Donald Bielenberg
                                                 (See above for address)
                                                  TERMINATED: 12/02/2020
                                                 Bar Number: 27601
                                                 Bar Status: Active

Defendant
Michael Shomin                     represented by Elizabeth Ann Evers Guerra
Detective                                         (See above for address)
TERMINATED: 09/24/2019                            LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Bar Number: 22580
                                                  Bar Status: Active

                                                 Sean M. Sturdivan
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Bar Number: 21286
                                                 Bar Status: Active

                                                 Tracy M. Hayes
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Bar Number: 23119
                                                 Bar Status: Active

                                                 Jacob Donald Bielenberg
                                                 (See above for address)
                                                  TERMINATED: 12/02/2020
                                                 Bar Number: 27601
                                                 Bar Status: Active

Defendant
Steven Culp                        represented by Elizabeth Ann Evers Guerra
Lieutenant                                        (See above for address)
TERMINATED: 11/12/2018                            LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Bar Number: 22580
                                                  Bar Status: Active

                                                 Sean M. Sturdivan
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Bar Number: 21286
                                                 Bar Status: Active



                                                                               13
Case 2:18-cv-02545-KHV-KGG Document 675-1 Filed 06/21/22 Page 14 of 105




                                                 Tracy M. Hayes
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Bar Number: 23119
                                                 Bar Status: Active

                                                 Jacob Donald Bielenberg
                                                 (See above for address)
                                                  TERMINATED: 12/02/2020
                                                 Bar Number: 27601
                                                 Bar Status: Active

Defendant
John Does 1−10
Officers

Defendant
Roger Roe 1−10
Supervisors

Defendant
Jon A. Blongewicz                  represented by Elizabeth Ann Evers Guerra
As Special Administrator of                       (See above for address)
TERMINATED: 02/01/2019                            LEAD ATTORNEY
estate of                                         ATTORNEY TO BE NOTICED
Dennis Otto Barber                                Bar Number: 22580
                                                  Bar Status: Active

                                                 Sean M. Sturdivan
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Bar Number: 21286
                                                 Bar Status: Active

                                                 Tracy M. Hayes
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Bar Number: 23119
                                                 Bar Status: Active

Defendant
Jon A Blongewicz                   represented by Elizabeth Ann Evers Guerra
As Special Administrator of                       (See above for address)
TERMINATED: 02/01/2019                            LEAD ATTORNEY
estate of                                         ATTORNEY TO BE NOTICED
Steve Culp                                        Bar Number: 22580
                                                  Bar Status: Active


                                                                               14
Case 2:18-cv-02545-KHV-KGG Document 675-1 Filed 06/21/22 Page 15 of 105




                                                 Sean M. Sturdivan
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Bar Number: 21286
                                                 Bar Status: Active

                                                 Tracy M. Hayes
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Bar Number: 23119
                                                 Bar Status: Active

Defendant
Daphne R. Halderman                represented by Elizabeth Ann Evers Guerra
as Special Administrator of                       (See above for address)
estate of                                         LEAD ATTORNEY
James Michael Krstolich                           ATTORNEY TO BE NOTICED
                                                  Bar Number: 22580
                                                  Bar Status: Active

                                                 Sean M. Sturdivan
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Bar Number: 21286
                                                 Bar Status: Active

                                                 Tracy M. Hayes
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Bar Number: 23119
                                                 Bar Status: Active

                                                 Jacob Donald Bielenberg
                                                 (See above for address)
                                                  TERMINATED: 12/02/2020
                                                 Bar Number: 27601
                                                 Bar Status: Active

Defendant
Daphne R. Halderman                represented by Elizabeth Ann Evers Guerra
as Special Administrator of                       (See above for address)
estate of                                         LEAD ATTORNEY
Dennis Otto Barber                                ATTORNEY TO BE NOTICED
                                                  Bar Number: 22580
                                                  Bar Status: Active



                                                                               15
Case 2:18-cv-02545-KHV-KGG Document 675-1 Filed 06/21/22 Page 16 of 105




                                                                 Sean M. Sturdivan
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Bar Number: 21286
                                                                 Bar Status: Active

                                                                 Tracy M. Hayes
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Bar Number: 23119
                                                                 Bar Status: Active

Defendant
Daphne R. Halderman                              represented by Elizabeth Ann Evers Guerra
as Special Administrator of                                     (See above for address)
estate of                                                       LEAD ATTORNEY
Steve Culp                                                      ATTORNEY TO BE NOTICED
                                                                Bar Number: 22580
                                                                Bar Status: Active

                                                                 Sean M. Sturdivan
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Bar Number: 21286
                                                                 Bar Status: Active

                                                                 Tracy M. Hayes
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Bar Number: 23119
                                                                 Bar Status: Active
Email All Attorneys
Email All Attorneys and Additional Recipients

 Date Filed      #    Page Docket Text
 10/11/2018       1           COMPLAINT with trial location of Kansas City ( Filing fee $400, Internet
                              Payment Receipt Number AKSDC−4606038.), filed by Rose Lee McIntyre,
                              Lamonte McIntyre.(Abrams, Michael) (Entered: 10/11/2018)
 10/11/2018       2           CIVIL COVER SHEET by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre.
                              (Abrams, Michael) (Entered: 10/11/2018)
 10/11/2018       3           ENTRY OF APPEARANCE by Cheryl A. Pilate on behalf of All Plaintiffs.
                              (Pilate, Cheryl) (Entered: 10/11/2018)
 10/12/2018                   NOTICE OF JUDGE ASSIGNMENT: Case assigned to District Judge Daniel
                              D. Crabtree and Magistrate Judge Kenneth G. Gale for all proceedings. (This


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                    is a TEXT ENTRY ONLY. There is no.pdf document associated with this
                    entry.) (ca) (Entered: 10/12/2018)
10/15/2018    4     ENTRY OF APPEARANCE by William G. Beck on behalf of All Plaintiffs.
                    (Beck, William) (Entered: 10/15/2018)
10/15/2018    5     ORDER OF RECUSAL. District Judge Daniel D. Crabtree recused. Case
                    reassigned to Chief District Judge Julie A Robinson for all further
                    proceedings. Signed by deputy clerk on 10/15/2018. (This is a TEXT ENTRY
                    ONLY. There is no.pdf document associated with this entry.)(mig) (Entered:
                    10/15/2018)
10/16/2018    6     MOTION for attorney Alexander T. Brown to appear pro hac vice ( Pro hac
                    vice fee $50, Internet Payment Receipt Number AKSDC−4609496.) by
                    Plaintiff Lamonte McIntyre (referred to Magistrate Judge Kenneth G. Gale)
                    (Attachments: # 1 Affidavit Affidavit of Alexander T. Brown, # 2 ECF
                    Registration Form ECF Registration Form)(Abrams, Michael) (Entered:
                    10/16/2018)
10/16/2018    7     ORDER granting 6 Motion to Appear Pro Hac Vice of attorney Alexander T.
                    Brown for plaintiffs. Signed by Magistrate Judge Kenneth G. Gale on
                    10/16/18. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.) (aw) (Entered: 10/16/2018)
11/12/2018    8     AMENDED COMPLAINT against All Defendants, filed by Rose Lee
                    McIntyre, Lamonte McIntyre.(Abrams, Michael) (Entered: 11/12/2018)
11/19/2018    9     MOTION for attorney Barry Scheck, Emma Freudenberger, Amelia Green to
                    appear pro hac vice ( Pro hac vice fee $150, Internet Payment Receipt Number
                    AKSDC−4639284.) by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre
                    (referred to Magistrate Judge Kenneth G. Gale) (Attachments: # 1 Affidavit of
                    Barry Scheck, # 2 Affidavit of Emma Freudenberger, # 3 Affidavit of Amelia
                    Green)(Abrams, Michael) (Entered: 11/19/2018)
11/19/2018          SUMMONS ISSUED as to Jon A. Blongewicz(As Special Administrator of ),
                    Clyde Blood, Steven Culp, Roger Golubski, Michael Shomin, W. K. Smith,
                    Unified Government of Wyandotte County and Kansas City, Kansas, Dennis
                    Ware. (issued to Attorney for service) (This is a TEXT ENTRY ONLY. There
                    is no.pdf document associated with this entry) (ca) (Entered: 11/19/2018)
11/20/2018   10     ORDER granting 9 Motion to Appear Pro Hac Vice of attorneys Barry C.
                    Scheck,Amelia Green, and Emma Freudenberger as counsel for Lamonte
                    McIntyre and Rose Lee McIntyre. Signed by Magistrate Judge Kenneth G.
                    Gale on 11/20/18. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.) (aw) (Entered: 11/20/2018)
12/21/2018   11     WAIVER OF SERVICE Returned Executed by Rose Lee McIntyre, Lamonte
                    McIntyre. Jon A. Blongewicz(As Special Administrator of ) waiver sent on
                    12/13/2018, answer due 2/11/2019; Clyde Blood waiver sent on 12/13/2018,
                    answer due 2/11/2019; James L. Brown waiver sent on 12/13/2018, answer
                    due 2/11/2019; Steven Culp waiver sent on 12/13/2018, answer due
                    2/11/2019; Michael Shomin waiver sent on 12/13/2018, answer due
                    2/11/2019; W. K. Smith waiver sent on 12/13/2018, answer due 2/11/2019;
                    Dennis Ware waiver sent on 12/13/2018, answer due 2/11/2019. (Abrams,
                    Michael) Modified on 1/4/2019 to edit answer due dates. (ydm) (Entered:


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                    12/21/2018)
01/02/2019   12     WAIVER OF SERVICE Returned Executed by Rose Lee McIntyre, Lamonte
                    McIntyre. Roger Golubski waiver sent on 12/13/2018, answer due 2/11/2019.
                    (Abrams, Michael) Modified on 1/4/2019 to edit answer due date. (ydm)
                    (Entered: 01/02/2019)
01/04/2019   13     WAIVER OF SERVICE Returned Executed by Rose Lee McIntyre, Lamonte
                    McIntyre. Unified Government of Wyandotte County and Kansas City, Kansas
                    waiver sent on 12/13/2018, answer due 2/11/2019. (Abrams, Michael)
                    (Entered: 01/04/2019)
01/17/2019   14     CLERKS ORDER EXTENDING TIME until 03/05/2019 for Defendants Jon
                    A. Blongewicz, W. K. Smith, Dennis Ware, Michael Shomin, James L.
                    Brown, Clyde Blood, Steven Culp, Jon A. Blongewicz to answer or otherwise
                    plead. Signed by deputy clerk on 01/17/2019. (ca) (Entered: 01/17/2019)
01/30/2019   15     MOTION to Substitute Party Daphne R. Halderman, Special Administrator by
                    Plaintiffs Lamonte McIntyre, Rose Lee McIntyre (referred to Magistrate Judge
                    Kenneth G. Gale) (Abrams, Michael) (Entered: 01/30/2019)
02/04/2019   16     ORDER sustaining 15 Motion to Substitute Parties. Daphne R. Halderman
                    substituted for Jon A. Blongewicz. Signed by Magistrate Judge Kenneth G.
                    Gale on 2/1/2019. (heo) (Entered: 02/04/2019)
02/08/2019   17     ENTRY OF APPEARANCE by Morgan L. Roach on behalf of Roger
                    Golubski (Roach, Morgan) (Entered: 02/08/2019)
02/08/2019   18     Unopposed MOTION for Extension of Time to File Answer re 8 Amended
                    Complaint by Defendant Roger Golubski (referred to Magistrate Judge
                    Kenneth G. Gale) (Roach, Morgan) (Entered: 02/08/2019)
02/08/2019   19     ENTRY OF APPEARANCE by Nicholas S. Ruble on behalf of Roger
                    Golubski (Ruble, Nicholas) (Entered: 02/08/2019)
02/08/2019   20     ENTRY OF APPEARANCE by David R. Cooper on behalf of Unified
                    Government of Wyandotte County and Kansas City, Kansas (Cooper, David)
                    (Entered: 02/08/2019)
02/08/2019   21     ENTRY OF APPEARANCE by Lauren E. Laushman on behalf of Unified
                    Government of Wyandotte County and Kansas City, Kansas (Laushman,
                    Lauren) (Entered: 02/08/2019)
02/08/2019   22     Unopposed MOTION for Extension of Time to File Answer re 8 Amended
                    Complaint by Defendant Unified Government of Wyandotte County and
                    Kansas City, Kansas (referred to Magistrate Judge Kenneth G. Gale) (Cooper,
                    David) (Entered: 02/08/2019)
02/08/2019   23     ORDER granting 18 Unopposed Motion for Extension of Time to Answer re 8
                    Amended Complaint. Answer of Roger Golubski due on or before 3/5/2019.
                    ORDER granting 22 Motion for Extension of Time to Answer re 8 Amended
                    Complaint. Answer of Unified Government due on or before 3/5/2019. Signed
                    by Magistrate Judge Kenneth G. Gale on 2/8/19. (This is a TEXT ENTRY
                    ONLY. There is no.pdf document associated with this entry.) (df) (Entered:
                    02/08/2019)



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02/26/2019   24     Joint Unopposed MOTION for Extension of Time to File Answer re 8
                    Amended Complaint by All Defendants and filed by Defendant Unified
                    Government of Wyandotte County and Kansas City, Kansas (referred to
                    Magistrate Judge Kenneth G. Gale) (Laushman, Lauren) (Entered:
                    02/26/2019)
02/27/2019   25     ORDER granting 24 Joint Unopposed Motion for Extension of Time to
                    Answer Amended Complaint. All defendants answer due 3/29/2019. See
                    attached Order. Signed by Magistrate Judge Kenneth G. Gale on 2/27/19. (aw)
                    (Entered: 02/27/2019)
03/26/2019   26     MOTION for Leave to File Excess Pages by Defendants Clyde Blood, James
                    L. Brown, Daphne R. Halderman, Daphne R. Halderman, Daphne R.
                    Halderman, Michael Shomin, W. K. Smith, Dennis Ware (Hayes, Tracy)
                    (Entered: 03/26/2019)
03/26/2019          MOTION REFERRAL to Magistrate Judge REMOVED as to: 26
                    MOTION for Leave to File Excess Pages . The motion will be resolved by
                    the District Judge.(df) (Entered: 03/26/2019)
03/27/2019   27     ORDER granting 26 Motion for Leave to File Excess Pages. The Motion to
                    File Excess Pages (Doc. 26) is granted for good cause shown. The argument
                    and authorities section of the Defendant Officers' memorandum in support of
                    their motion to dismiss shall not exceed forty−five (45) pages. Signed by Chief
                    District Judge Julie A. Robinson on 3/27/2019. (This is a TEXT ENTRY
                    ONLY. There is no.pdf document associated with this entry.) (mh) (Entered:
                    03/27/2019)
03/29/2019   28     Joint MOTION for Recusal by Defendant Roger Golubski (Roach, Morgan)
                    (Entered: 03/29/2019)
03/29/2019   29     MEMORANDUM IN SUPPORT of 28 Joint MOTION for Recusal by
                    Defendant Roger Golubski(Roach, Morgan) (Entered: 03/29/2019)
03/29/2019   30     MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by
                    Defendants Clyde Blood, James L. Brown, Daphne R. Halderman, Daphne R.
                    Halderman, Daphne R. Halderman, Michael Shomin, W. K. Smith, Dennis
                    Ware (Hayes, Tracy) (Entered: 03/29/2019)
03/29/2019   31     MEMORANDUM IN SUPPORT of 30 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM by Defendants Clyde Blood, James L.
                    Brown, Daphne R. Halderman, Daphne R. Halderman, Daphne R. Halderman,
                    Michael Shomin, W. K. Smith, Dennis Ware (Attachments: # 1 Exhibit
                    A)(Hayes, Tracy) (Entered: 03/29/2019)
03/29/2019   32     MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by Defendant
                    Roger Golubski (Roach, Morgan) (Entered: 03/29/2019)
03/29/2019   33     MEMORANDUM IN SUPPORT of 32 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM by Defendant Roger Golubski
                    (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit)(Roach, Morgan) (Entered:
                    03/29/2019)
03/29/2019   34     MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by Defendant
                    Unified Government of Wyandotte County and Kansas City, Kansas (Cooper,
                    David) (Entered: 03/29/2019)

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03/29/2019   35     MEMORANDUM IN SUPPORT of 34 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM by Defendant Unified Government of
                    Wyandotte County and Kansas City, Kansas (Attachments: # 1 Exhibit A
                    94CR1213 Information filed 6−28−94, # 2 Exhibit B 94CR1213 Warrant
                    Return filed 6−30−94, # 3 Exhibit C 94CR1213 Transcript (excerpts) of Jury
                    Trial 9.26−29.94, # 4 Exhibit D 94CR1213 and 16CV508 − Partial Transcript,
                    # 5 Exhibit E 94CR1213 and 16CV508 − Order filed 10−13−17)(Cooper,
                    David) (Entered: 03/29/2019)
03/29/2019   36     Joint MOTION to Stay Discovery by Defendant Unified Government of
                    Wyandotte County and Kansas City, Kansas (referred to Magistrate Judge
                    Kenneth G. Gale) (Cooper, David) (Entered: 03/29/2019)
04/02/2019   37     MOTION for attorney Richard Sawyer to appear pro hac vice ( Pro hac vice
                    fee $50, Internet Payment Receipt Number AKSDC−4763423.) by Plaintiffs
                    Lamonte McIntyre, Rose Lee McIntyre (referred to Magistrate Judge Kenneth
                    G. Gale) (Attachments: # 1 Affidavit of Richard Sawyer)(Abrams, Michael)
                    (Entered: 04/02/2019)
04/02/2019   38     ORDER granting 37 Motion to Appear Pro Hac Vice of Richard Sawyer as
                    counsel for Lamonte McIntyre and Rose Lee McIntyre pursuant to D. Kan.
                    Rule 83.5.4 for purposes of this case only. Unless already registered, pro hac
                    vice counsel should register for electronic notification pursuant to the court's
                    Administrative Procedures by completing a CM/ECF Electronic Filing
                    Registration Form at http://www.ksd.uscourts.gov/. Signed by Magistrate
                    Judge Kenneth G. Gale on 4/2/19. (This is a TEXT ENTRY ONLY. There is
                    no.pdf document associated with this entry.) (aw) (Entered: 04/02/2019)
04/10/2019   39     Unopposed MOTION for Extension of Time to File Responses as to 34
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM , 32
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM , 28 Joint
                    MOTION for Recusal , 30 MOTION TO DISMISS FOR FAILURE TO
                    STATE A CLAIM by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre
                    (Abrams, Michael) Modified on 4/12/2019 to clean up docket text (hw).
                    (Entered: 04/10/2019)
04/11/2019          MOTION REFERRAL to Magistrate Judge REMOVED as to: 39
                    Unopposed MOTION for Extension of Time to File Responses as to 34
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM , 33
                    Memorandum in Support of Motion, 32 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM , 28 Joint MOTION. The motion will be
                    resolved by the District Judge.(df) (Entered: 04/11/2019)
04/12/2019   40     ORDER granting as unopposed 39 Motion for Extension of Time to File
                    Response re 36 Joint MOTION to Stay Discovery , 34 MOTION TO
                    DISMISS FOR FAILURE TO STATE A CLAIM , 28 Joint MOTION for
                    Recusal , 32 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM ,
                    30 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM . The
                    Response deadline is extended to 5/20/2019. Signed by Chief District Judge
                    Julie A. Robinson on 4/12/2019. (This is a TEXT ENTRY ONLY. There is
                    no.pdf document associated with this entry.) (mh) (Entered: 04/12/2019)
05/17/2019   41     MOTION for Leave to file Consolidated Response by Plaintiffs Lamonte
                    McIntyre, Rose Lee McIntyre (Beck, William) (Entered: 05/17/2019)


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05/17/2019          MOTION REFERRAL to Magistrate Judge REMOVED as to: 41
                    MOTION for Leave to file Consolidated Response. The motion will be
                    resolved by the District Judge. (df) (Entered: 05/17/2019)
05/20/2019   42     ORDER granting 41 Motion for Leave to File Consolidated Response with
                    excess pages. The motion for Leave to File Consolidated Responses (Doc. 41)
                    is granted for good cause shown. The argument and authorities section of the
                    Plaintiffs' response shall not exceed forty−five (45) pages. Signed by Chief
                    District Judge Julie A. Robinson on 5/20/2019.(This is a TEXT ENTRY
                    ONLY. There is no.pdf document associated with this entry.)(mh) (Entered:
                    05/20/2019)
05/20/2019   43     RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 34
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM , 32
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM , 30
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM (Abrams,
                    Michael) (Entered: 05/20/2019)
05/20/2019   44     RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 36 Joint
                    MOTION to Stay Discovery (Abrams, Michael) (Entered: 05/20/2019)
05/20/2019   45     RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 28 Joint
                    MOTION for Recusal (Abrams, Michael) (Entered: 05/20/2019)
05/20/2019   46     MOTION to Amend Complaint re 8 Amended Complaint by Plaintiffs
                    Lamonte McIntyre, Rose Lee McIntyre (Attachments: # 1 Proposed Amended
                    Complaint)(Abrams, Michael) (Entered: 05/20/2019)
05/20/2019   47     MEMORANDUM IN SUPPORT of 46 MOTION to Amend Complaint re 8
                    Amended Complaint by Plaintiffs Lamonte McIntyre, Rose Lee
                    McIntyre(Abrams, Michael) (Entered: 05/20/2019)
05/21/2019          MOTION REFERRAL to Magistrate Judge REMOVED as to: 46
                    MOTION to Amend Complaint re 8 Amended Complaint . The motion
                    will be resolved by the District Judge.(df) (Entered: 05/21/2019)
05/22/2019   48     MEMORANDUM AND ORDER granting 28 Motion for Recusal. Signed by
                    Chief District Judge Julie A. Robinson on 5/22/19. (hw) (Entered: 05/22/2019)
05/22/2019   49     ORDER REASSIGNING CASE: Case reassigned to District Judge Carlos
                    Murguia for all further proceedings. Chief District Judge Julie A Robinson no
                    longer assigned to case. Signed by Chief District Judge Julie A. Robinson on
                    5/22/2019. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.)(bw) (Entered: 05/22/2019)
05/23/2019   50     ORDER OF RECUSAL. District Judge Carlos Murguia recused. Case
                    reassigned to District Judge Kathryn H. Vratil for all further proceedings.
                    Signed by District Judge Carlos Murguia on 5/23/2019. (This is a TEXT
                    ENTRY ONLY. There is no.pdf document associated with this entry.) (jsh)
                    (Entered: 05/23/2019)
06/03/2019   51     Joint MOTION for Extension of Time to File Replies & Responses as to 34
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM , 32
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM , 46
                    MOTION to Amend Complaint re 8 Amended Complaint , 36 Joint MOTION
                    to Stay Discovery , 30 MOTION TO DISMISS FOR FAILURE TO STATE A

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                    CLAIM by Defendant Unified Government of Wyandotte County and Kansas
                    City, Kansas (Cooper, David) (Entered: 06/03/2019)
06/03/2019          MOTION REFERRAL to Magistrate Judge REMOVED as to: 51 Joint
                    MOTION for Extension of Time to File Replies & Responses as to 34
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM , 32
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM , 46
                    MOTION to Amend Complaint re 8 Amended Co. The motion will be
                    resolved by the District Judge.(df) (Entered: 06/03/2019)
06/03/2019   52     ORDER sustaining 51 Motion for Extension of Time to File Response/Reply
                    as to all defendants. Response deadline set for 7/3/2019 re 36 Joint MOTION
                    to Stay Discovery, 34 MOTION TO DISMISS FOR FAILURE TO STATE A
                    CLAIM, 32 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM,
                    30 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM. Reply
                    deadline set for 7/3/2019 re 46 MOTION to Amend Complaint re 8 Amended
                    Complaint. Signed by District Judge Kathryn H. Vratil on 6/3/2019. (This is a
                    TEXT ENTRY ONLY. There is no.pdf document associated with this entry.)
                    (heo) (Entered: 06/03/2019)
06/25/2019   53     ENTRY OF APPEARANCE by Henry E. Couchman, Jr on behalf of Unified
                    Government of Wyandotte County and Kansas City, Kansas (Couchman,
                    Henry) (Entered: 06/25/2019)
06/26/2019   54     NOTICE OF ADDITIONAL AUTHORITIES by Lamonte McIntyre, Rose
                    Lee McIntyre re 43 Response to Motion, (Attachments: # 1 Exhibit
                    1)(Abrams, Michael) (Entered: 06/26/2019)
06/27/2019   55     ENTRY OF APPEARANCE by Edward James Bain, III on behalf of Unified
                    Government of Wyandotte County and Kansas City, Kansas. (Bain, Edward)
                    (Entered: 06/27/2019)
06/28/2019   56     Joint MOTION for Extension of Time to File Responses/Replies as to 34
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM , 32
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM , 46
                    MOTION to Amend Complaint re 8 Amended Complaint , 30 MOTION TO
                    DISMISS FOR FAILURE TO STATE A CLAIM by Defendant Unified
                    Government of Wyandotte County and Kansas City, Kansas (referred to
                    Magistrate Judge Kenneth G. Gale) (Laushman, Lauren) (Entered:
                    06/28/2019)
06/28/2019   57     ORDER sustaining 56 Unopposed Joint Motion for Extension of Time as to
                    all defendants. Reply deadline set for 7/15/2019 re 36 Joint MOTION to Stay
                    Discovery, 34 MOTION TO DISMISS FOR FAILURE TO STATE A
                    CLAIM, 32 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM,
                    30 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM. Response
                    deadline set for 7/15/2019 re 46 MOTION to Amend Complaint re 8 Amended
                    Complaint . Signed by District Judge Kathryn H. Vratil on 6/28/2019. (This is
                    a TEXT ENTRY ONLY. There is no.pdf document associated with this entry.)
                    (as) (Entered: 06/28/2019)
07/03/2019   58     ORDER overruling 36 Motion to Stay Discovery. Signed by District Judge
                    Kathryn H. Vratil on 7/3/2019. (heo) (Entered: 07/03/2019)
07/11/2019   59


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                    INITIAL ORDER SETTING SCHEDULING CONFERENCE: Scheduling
                    Conference set for 8/21/2019 at 10:00 AM (CDT) by telephone before
                    Magistrate Judge Kenneth G. Gale. Counsel who plan to participate should
                    call 888−363−4749 and enter access code 5407703 for the conference. Report
                    of Parties Planning Meeting deadline 8/15/2019. Rule 26 Initial Disclosures
                    Deadline set for 8/15/2019. See attached Order. Signed by Magistrate Judge
                    Kenneth G. Gale on 7/11/19. (aw) (Entered: 07/11/2019)
07/12/2019   60     ENTRY OF APPEARANCE by Lindsay Runnels on behalf of Lamonte
                    McIntyre, Rose Lee McIntyre (Runnels, Lindsay) (Entered: 07/12/2019)
07/15/2019   61     REPLY TO RESPONSE TO MOTION by Defendant Roger Golubski re: 32
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM (Roach,
                    Morgan) (Entered: 07/15/2019)
07/15/2019   62     REPLY TO RESPONSE TO MOTION by Defendant Unified Government of
                    Wyandotte County and Kansas City, Kansas re: 34 MOTION TO DISMISS
                    FOR FAILURE TO STATE A CLAIM (Cooper, David) (Entered:
                    07/15/2019)
07/15/2019   63     REPLY TO RESPONSE TO MOTION by Defendants Clyde Blood, James L.
                    Brown, Daphne R. Halderman, Daphne R. Halderman, Daphne R. Halderman,
                    Michael Shomin, W. K. Smith, Dennis Ware re: 30 MOTION TO DISMISS
                    FOR FAILURE TO STATE A CLAIM (Hayes, Tracy) (Entered: 07/15/2019)
07/15/2019   64     RESPONSE by Defendants Clyde Blood, James L. Brown, Roger Golubski,
                    Daphne R. Halderman, Daphne R. Halderman, Daphne R. Halderman,
                    Michael Shomin, W. K. Smith, Unified Government of Wyandotte County and
                    Kansas City, Kansas, Dennis Ware re 46 MOTION to Amend Complaint re 8
                    Amended Complaint (Attachments: # 1 Exhibit A)(Hayes, Tracy) (Entered:
                    07/15/2019)
07/22/2019          MINUTE ENTRY to Reset Deadlines/Hearings: At the request of counsel, the
                    Scheduling Conference is RESET for 9/18/2019 at 10:00 AM by telephone
                    KGG − CONFERENCE LINE 1−888−363−4749 ACCESS CODE 5407703
                    before Magistrate Judge Kenneth G. Gale. Report of Parties Planning Meeting
                    and Rule 26 initial disclosures deadline continued to 9/12/2019. The parties'
                    planning conference is continued to 8/22/2019 or a date & time that counsel
                    are mutually available to meet in order to submit the planning report by
                    9/12/2019. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.) (aw) (Entered: 07/22/2019)
07/29/2019   65     REPLY TO RESPONSE TO MOTION by Plaintiffs Lamonte McIntyre, Rose
                    Lee McIntyre re: 46 MOTION to Amend Complaint re 8 Amended Complaint
                    (Attachments: # 1 Exhibit A)(Abrams, Michael) (Entered: 07/29/2019)
08/10/2019   66     An Open Letter To U.S. Magistrate Judge Kenneth G. Gale from U.S. District
                    Judge Kathryn H. Vratil. (as) (Entered: 08/10/2019)
08/12/2019   67     NOTICE OF TELEPHONE CONFERENCE: Telephone Conference set for
                    8/14/2019 at 03:00 PM (CDT) before Magistrate Judge Kenneth G. Gale.
                    Counsel should dial 888−363−4749 and enter access code 5407703 for the
                    conference. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.)(aw) (Entered: 08/12/2019)



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08/12/2019          MINUTE ENTRY to Reset Hearings: Telephone Conference RESET for
                    8/13/2019 at 03:30 PM by telephone before Magistrate Judge Kenneth G.
                    Gale. Please call 888−363−4749 and enter access code 5407703 for the
                    conference. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.) (aw) (Entered: 08/12/2019)
08/13/2019   68     MINUTE ENTRY for proceedings held before Magistrate Judge Kenneth G.
                    Gale: TELEPHONE CONFERENCE held on 8/13/2019. Status Conference
                    set for 9/4/2019 at 10:00 AM (CDT) by telephone CONFERENCE LINE
                    1−888−363−4749 ACCESS CODE 5407703 before Magistrate Judge Kenneth
                    G. Gale. September 18, 2019 Scheduling Conference is CANCELLED. (This
                    is a TEXT ENTRY ONLY. There is no.pdf document associated with this
                    entry.) (aw) (Entered: 08/13/2019)
09/04/2019          MINUTE ENTRY for proceedings held before Magistrate Judge Kenneth G.
                    Gale: TELEPHONE STATUS CONFERENCE held on 9/4/2019. (This is a
                    TEXT ENTRY ONLY. There is no.pdf document associated with this entry.)
                    (aw) (Entered: 09/04/2019)
09/11/2019   69     NOTICE of Hearing: THIS IS AN OFFICIAL NOTICE FOR THIS
                    HEARING Telephone Conference set for 9/18/2019 at 03:00 PM (CDT)
                    before Magistrate Judge Kenneth G. Gale. Counsel who plan to participate
                    should call 888−363−4749 and enter access code 5407703 for the conference.
                    (This is a TEXT ENTRY ONLY. There is no.pdf document associated with
                    this entry.) (aw) (Entered: 09/11/2019)
09/18/2019   70     MINUTE ENTRY for proceedings held before Magistrate Judge Kenneth G.
                    Gale: TELEPHONE CONFERENCE held on 9/18/2019. Plaintiffs appeared
                    through counsel, Alex Brown, Cheryl Pilate, Emma Freudenberger, Michael
                    Abrams and Richard Sawyer. Defendant Unified Government of Wyandotte
                    County and Kansas City, Kansas appeared through counsel, David Cooper,
                    Lauren Laushman, Edward James Bain, Defendant Golubski appeared through
                    counsel, Morgan Roach; remaining defendants appeared through counsel,
                    Elizabeth Evers and Tracy Hayes. A separate entry will be filed with the
                    Orders of the Court. (Tape #3:00 − 3:33.) (This is a TEXT ENTRY ONLY.
                    There is no.pdf document associated with this entry.) (aw) (Entered:
                    09/18/2019)
09/19/2019   71     ORDER. The Magistrate Judge held an on−the−record teleconference with
                    counsel on September 18, 2019. The parties have met previously with
                    Magistrate Judge concerning the matters set forth in the District Judge's letter
                    (Doc. 66). As part of that process, Plaintiffs circulated a new proposed Second
                    Amended Complaint which defense counsel have reviewed. Plaintiffs made an
                    oral motion to file that Second Amended Complaint. Counsel for the separate
                    officers objected. The Court overruled the objection and GRANTED the
                    motion. Plaintiffs are ORDERED to file the Second Amended Complaint on or
                    before September 20, 2019. The defendants agreed to file new motions to
                    dismiss addressing the new Complaint, and the parties agreed that the pending
                    motions to dismiss (Doc. 30, 32, 34), and the pending motion to amend (Doc.
                    46) may be denied as moot by the District Judge. New Motions to Dismiss will
                    be filed on or before October 18, 2019. Responses will be due on or before
                    November 15, 2019. Replies will not be filed without leave of court.
                    Motions/Memoranda will be filed separately for each issue and shall not


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                    exceed five (5) pages in length, except for those addressing factual issues for
                    multiple defendants which may add an additional 2 pages for each defendant
                    in excess of one. Signed by Magistrate Judge Kenneth G. Gale on 9/18/19.
                    (This is a TEXT ENTRY ONLY. There is no.pdf document associated with
                    this entry.)(aw) (Entered: 09/19/2019)
09/19/2019   72     NOTICE of Hearing: THIS IS AN OFFICIAL NOTICE FOR THIS
                    HEARING Discovery Conference set for 9/18/2019 at 09:00 AM (CDT) in
                    Courtroom 643, U.S. Courthouse, 500 State Ave., Kansas City, Kansas before
                    Magistrate Judge Kenneth G. Gale. Counsel should appear IN PERSON for
                    the conference. Attorney David Cooper will be permitted to participate by
                    telephone. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.) (aw) (Entered: 09/19/2019)
09/19/2019   73     CORRECTED NOTICE of Hearing: THIS IS AN OFFICIAL NOTICE FOR
                    THIS HEARING Discovery Conference set for 10/18/2019 at 09:00 AM
                    (CDT) in Courtroom 643, U.S. Courthouse, 500 State Ave., Kansas City,
                    Kansas before Magistrate Judge Kenneth G. Gale. Counsel should APPEAR
                    IN PERSON for the conference. Attorney David Cooper will be permitted to
                    participate by telephone. (This is a TEXT ENTRY ONLY. There is no.pdf
                    document associated with this entry.)(aw) (Entered: 09/19/2019)
09/20/2019   74     AMENDED COMPLAINT (Second) against All Defendants, filed by Rose
                    Lee McIntyre, Lamonte McIntyre.(Abrams, Michael) (Entered: 09/20/2019)
09/20/2019   75     NOTICE OF VOLUNTARY DISMISSAL by All Plaintiffs as to Defendant
                    Michael Shomin (Abrams, Michael) (Entered: 09/20/2019)
09/20/2019   76     ORDER overruling as moot 30 Defendant Officers' Motion To Dismiss; 32
                    Defendant Golubski's Motion To Dismiss First Amended Complaint; 34
                    Motion to Dismiss and 46 Plaintiffs' Motion For Leave To File Second
                    Amended Complaint, in light of the filing of 74 Second Amended Complaint.
                    Signed by District Judge Kathryn H. Vratil on 9/20/2019. (This is a TEXT
                    ENTRY ONLY. There is no.pdf document associated with this entry.) (as)
                    (Entered: 09/20/2019)
10/17/2019   77     NOTICE OF WITHDRAWAL OF APPEARANCE by attorney Lauren E.
                    Laushman as to Unified Government of Wyandotte County and Kansas City,
                    Kansas (Laushman, Lauren) (Entered: 10/17/2019)
10/18/2019          MINUTE ENTRY for proceedings held before Magistrate Judge Kenneth G.
                    Gale: SCHEDULING CONFERENCE held on 10/18/2019. (Court Reporter
                    Kelli Stewart.) (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.) (aw) (Entered: 10/18/2019)
10/18/2019   78     MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by Defendant
                    Unified Government of Wyandotte County and Kansas City, Kansas (Cooper,
                    David) (Entered: 10/18/2019)
10/18/2019   79     MEMORANDUM IN SUPPORT of 78 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM Issue I by Defendant Unified Government
                    of Wyandotte County and Kansas City, Kansas(Cooper, David) (Entered:
                    10/18/2019)
10/18/2019   80


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                    MEMORANDUM IN SUPPORT of 78 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM Issue II by Defendant Unified Government
                    of Wyandotte County and Kansas City, Kansas(Cooper, David) (Entered:
                    10/18/2019)
10/18/2019   81     MEMORANDUM IN SUPPORT of 78 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM Issue III by Defendant Unified Government
                    of Wyandotte County and Kansas City, Kansas(Cooper, David) (Entered:
                    10/18/2019)
10/18/2019   82     MEMORANDUM IN SUPPORT of 78 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM Issue IV by Defendant Unified Government
                    of Wyandotte County and Kansas City, Kansas(Cooper, David) (Entered:
                    10/18/2019)
10/18/2019   83     MEMORANDUM IN SUPPORT of 78 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM Issue V by Defendant Unified Government
                    of Wyandotte County and Kansas City, Kansas(Cooper, David) (Entered:
                    10/18/2019)
10/18/2019   84     MEMORANDUM IN SUPPORT of 78 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM Issue VI by Defendant Unified Government
                    of Wyandotte County and Kansas City, Kansas(Cooper, David) (Entered:
                    10/18/2019)
10/18/2019   85     MEMORANDUM IN SUPPORT of 78 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM Issue VII (Final Memorandum In Support of
                    Doc. 78) by Defendant Unified Government of Wyandotte County and Kansas
                    City, Kansas(Cooper, David) (Entered: 10/18/2019)
10/18/2019   86     MOTION to Dismiss by Defendants Clyde Blood, James L. Brown, Daphne
                    R. Halderman, Daphne R. Halderman, Daphne R. Halderman, W. K. Smith,
                    Dennis Ware (Hayes, Tracy) (Entered: 10/18/2019)
10/18/2019   87     MEMORANDUM IN SUPPORT of 86 MOTION to Dismiss by Defendants
                    Clyde Blood, James L. Brown, Daphne R. Halderman, Daphne R. Halderman,
                    Daphne R. Halderman, W. K. Smith, Dennis Ware(Hayes, Tracy) (Entered:
                    10/18/2019)
10/18/2019   88     MEMORANDUM IN SUPPORT of 86 MOTION to Dismiss by Defendants
                    Clyde Blood, James L. Brown, Daphne R. Halderman, Daphne R. Halderman,
                    Daphne R. Halderman, W. K. Smith, Dennis Ware(Hayes, Tracy) (Entered:
                    10/18/2019)
10/18/2019   89     MEMORANDUM IN SUPPORT of 86 MOTION to Dismiss by Defendants
                    Clyde Blood, James L. Brown, Daphne R. Halderman, Daphne R. Halderman,
                    Daphne R. Halderman, W. K. Smith, Dennis Ware(Hayes, Tracy) (Entered:
                    10/18/2019)
10/18/2019   90     MEMORANDUM IN SUPPORT of 86 MOTION to Dismiss by Defendants
                    Clyde Blood, James L. Brown, Daphne R. Halderman, Daphne R. Halderman,
                    Daphne R. Halderman, W. K. Smith, Dennis Ware(Hayes, Tracy) (Entered:
                    10/18/2019)
10/18/2019   91     MEMORANDUM IN SUPPORT of 86 MOTION to Dismiss by Defendants
                    Clyde Blood, James L. Brown, Daphne R. Halderman, Daphne R. Halderman,

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                    Daphne R. Halderman, W. K. Smith, Dennis Ware (Attachments: # 1 Exhibit
                    A)(Hayes, Tracy) (Entered: 10/18/2019)
10/18/2019    92    MEMORANDUM IN SUPPORT of 86 MOTION to Dismiss by Defendants
                    Clyde Blood, James L. Brown, Daphne R. Halderman, Daphne R. Halderman,
                    Daphne R. Halderman, W. K. Smith, Dennis Ware(Hayes, Tracy) (Entered:
                    10/18/2019)
10/18/2019    93    MEMORANDUM IN SUPPORT of 86 MOTION to Dismiss by Defendants
                    Clyde Blood, James L. Brown, Daphne R. Halderman, Daphne R. Halderman,
                    Daphne R. Halderman, W. K. Smith, Dennis Ware(Hayes, Tracy) (Entered:
                    10/18/2019)
10/18/2019    94    MEMORANDUM IN SUPPORT of 86 MOTION to Dismiss by Defendants
                    Clyde Blood, James L. Brown, Daphne R. Halderman, Daphne R. Halderman,
                    Daphne R. Halderman, W. K. Smith, Dennis Ware(Hayes, Tracy) (Entered:
                    10/18/2019)
10/18/2019    95    MEMORANDUM IN SUPPORT of 86 MOTION to Dismiss by Defendants
                    Clyde Blood, James L. Brown, Daphne R. Halderman, Daphne R. Halderman,
                    Daphne R. Halderman, W. K. Smith, Dennis Ware(Hayes, Tracy) (Entered:
                    10/18/2019)
10/18/2019    96    MEMORANDUM IN SUPPORT of 86 MOTION to Dismiss by Defendants
                    Clyde Blood, James L. Brown, Daphne R. Halderman, Daphne R. Halderman,
                    Daphne R. Halderman, W. K. Smith, Dennis Ware(Hayes, Tracy) (Entered:
                    10/18/2019)
10/18/2019    97    MEMORANDUM IN SUPPORT of 86 MOTION to Dismiss by Defendants
                    Clyde Blood, James L. Brown, Daphne R. Halderman, Daphne R. Halderman,
                    Daphne R. Halderman, W. K. Smith, Dennis Ware(Hayes, Tracy) (Entered:
                    10/18/2019)
10/18/2019    98    MEMORANDUM IN SUPPORT of 86 MOTION to Dismiss by Defendants
                    Clyde Blood, James L. Brown, Daphne R. Halderman, Daphne R. Halderman,
                    Daphne R. Halderman, W. K. Smith, Dennis Ware(Hayes, Tracy) (Entered:
                    10/18/2019)
10/18/2019    99    MEMORANDUM IN SUPPORT of 86 MOTION to Dismiss by Defendants
                    Clyde Blood, James L. Brown, Daphne R. Halderman, Daphne R. Halderman,
                    Daphne R. Halderman, W. K. Smith, Dennis Ware(Hayes, Tracy) (Entered:
                    10/18/2019)
10/18/2019   100    MEMORANDUM IN SUPPORT of 86 MOTION to Dismiss by Defendants
                    Clyde Blood, James L. Brown, Daphne R. Halderman, Daphne R. Halderman,
                    Daphne R. Halderman, W. K. Smith, Dennis Ware(Hayes, Tracy) (Entered:
                    10/18/2019)
10/18/2019   101    MEMORANDUM IN SUPPORT of 86 MOTION to Dismiss by Defendants
                    Clyde Blood, James L. Brown, Daphne R. Halderman, Daphne R. Halderman,
                    Daphne R. Halderman, W. K. Smith, Dennis Ware(Hayes, Tracy) (Entered:
                    10/18/2019)
10/18/2019   102    MEMORANDUM IN SUPPORT of 86 MOTION to Dismiss by Defendants
                    Clyde Blood, James L. Brown, Daphne R. Halderman, Daphne R. Halderman,
                    Daphne R. Halderman, W. K. Smith, Dennis Ware (Attachments: # 1 Exhibit

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                    A)(Hayes, Tracy) (Entered: 10/18/2019)
10/18/2019   103    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by Defendant
                    Roger Golubski (Roach, Morgan) (Entered: 10/18/2019)
10/18/2019   104    MEMORANDUM IN SUPPORT of 103 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM (Introductory) by Defendant Roger
                    Golubski(Roach, Morgan) (Entered: 10/18/2019)
10/18/2019   105    MEMORANDUM IN SUPPORT of 103 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM (First) by Defendant Roger
                    Golubski(Roach, Morgan) (Entered: 10/18/2019)
10/18/2019   106    MEMORANDUM IN SUPPORT of 103 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM (Second) by Defendant Roger
                    Golubski(Roach, Morgan) (Entered: 10/18/2019)
10/18/2019   107    MEMORANDUM IN SUPPORT of 103 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM (Third) by Defendant Roger Golubski
                    (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Roach, Morgan) (Entered:
                    10/18/2019)
10/18/2019   108    MEMORANDUM IN SUPPORT of 103 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM (Fourth) by Defendant Roger
                    Golubski(Roach, Morgan) (Entered: 10/18/2019)
10/18/2019   109    MEMORANDUM IN SUPPORT of 103 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM (Fifth) by Defendant Roger
                    Golubski(Roach, Morgan) (Entered: 10/18/2019)
10/18/2019   110    MEMORANDUM IN SUPPORT of 103 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM (Sixth) by Defendant Roger
                    Golubski(Roach, Morgan) (Entered: 10/18/2019)
10/18/2019   111    MEMORANDUM IN SUPPORT of 103 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM (Seventh) by Defendant Roger Golubski
                    (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Roach, Morgan) (Entered:
                    10/18/2019)
10/18/2019   112    MEMORANDUM IN SUPPORT of 103 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM (Eighth) by Defendant Roger
                    Golubski(Roach, Morgan) (Entered: 10/18/2019)
10/18/2019   113    MEMORANDUM IN SUPPORT of 103 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM (Ninth) by Defendant Roger
                    Golubski(Roach, Morgan) (Entered: 10/18/2019)
10/18/2019   114    MEMORANDUM IN SUPPORT of 103 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM (Tenth) by Defendant Roger
                    Golubski(Roach, Morgan) (Entered: 10/18/2019)
10/18/2019   115    MEMORANDUM IN SUPPORT of 103 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM (Eleventh) by Defendant Roger
                    Golubski(Roach, Morgan) (Entered: 10/18/2019)
10/18/2019   116    MEMORANDUM IN SUPPORT of 103 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM (Twelfth) by Defendant Roger

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                    Golubski(Roach, Morgan) (Entered: 10/18/2019)
10/18/2019   117    MEMORANDUM IN SUPPORT of 103 MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM (Thirteenth and Final) by Defendant Roger
                    Golubski (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Roach, Morgan)
                    (Entered: 10/18/2019)
10/21/2019   118    SCHEDULING ORDER: Estimated trial time four weeks. Discovery deadline
                    10/23/2020. Dispositive motion deadline 1/8/2021. Mediation deadline
                    7/30/2020. Confidential Settlement Report Due to Magistrate Judge on
                    12/31/2019. Proposed Pretrial Order due by 11/11/2020. Jury Trial set for
                    8/30/2021 at 09:00 AM in KC Courtroom 440 (JWL/KHV) before District
                    Judge Kathryn H. Vratil. Final Pretrial Conference set for 11/18/2020 at 02:00
                    PM before Magistrate Judge Kenneth G. Gale. Status Conference set for
                    11/22/2019 at 11:00 AM in KC Courtroom (Unknown) before Magistrate
                    Judge Kenneth G. Gale. Second Status Conference set for 1/17/2020 at 11:00
                    AM in KC Courtroom (Unknown) before Magistrate Judge Kenneth G. Gale.
                    Counsel should appear IN PERSON for these two status conferences. See
                    attached Order for additional deadlines. Signed by Magistrate Judge Kenneth
                    G. Gale on 10/21/19. (aw) (Entered: 10/21/2019)
10/25/2019   119    CERTIFICATE OF SERVICE of Initial Rule 26 Disclosures by Clyde Blood,
                    James L. Brown, Daphne R. Halderman(as Special Administrator of), W. K.
                    Smith, Dennis Ware. (Hayes, Tracy) (Entered: 10/25/2019)
10/25/2019   120    NOTICE OF SERVICE by Roger Golubski of Rule 26(a)(1) Initial
                    Disclosures (Roach, Morgan) (Entered: 10/25/2019)
10/25/2019   121    CERTIFICATE OF SERVICE of Plaintiffs' Initial Disclosures by Lamonte
                    McIntyre, Rose Lee McIntyre. (Pilate, Cheryl) (Entered: 10/25/2019)
10/28/2019   122    NOTICE OF SERVICE by Unified Government of Wyandotte County and
                    Kansas City, Kansas of Rule 26(a)(1) initial disclosures (Cooper, David)
                    (Entered: 10/28/2019)
11/08/2019   123    MOTION for attorney Alana M. McMullin to appear pro hac vice ( Pro hac
                    vice fee $50, Internet Payment Receipt Number AKSDC−4976126.) by
                    Plaintiffs Lamonte McIntyre, Rose Lee McIntyre (referred to Magistrate Judge
                    Kenneth G. Gale) (Attachments: # 1 Affidavit of Alana M. McMullin, # 2 ECF
                    Registration Form)(Abrams, Michael) (Entered: 11/08/2019)
11/08/2019   124    PROTECTIVE ORDER. Signed by Magistrate Judge Kenneth G. Gale on
                    11/8/19. (aw) (Entered: 11/08/2019)
11/08/2019   125    ORDER granting 123 Motion to Appear Pro Hac Vice of attorney Alana M.
                    McMullin as counsel for Lamonte McIntyre and Rose Lee McIntyre pursuant
                    to D. Kan. Rule 83.5.4 for purposes of this case only. Signed by Magistrate
                    Judge Kenneth G. Gale on 11/8/19. (This is a TEXT ENTRY ONLY. There is
                    no.pdf document associated with this entry.) (aw) (Entered: 11/08/2019)
11/08/2019   126    Unopposed MOTION for Extension of Time to File Response as to 103
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM , 86
                    MOTION to Dismiss , 78 MOTION TO DISMISS FOR FAILURE TO
                    STATE A CLAIM by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre
                    (Abrams, Michael) (Entered: 11/08/2019)


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11/08/2019          MOTION REFERRAL to Magistrate Judge REMOVED as to: 126
                    Unopposed MOTION for Extension of Time to File Response as to 103
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM , 86
                    MOTION to Dismiss , 78 MOTION TO DISMISS FOR FAILURE TO
                    STATE A CLAIM . The motion will be resolved by the District
                    Judge.(aw) (Entered: 11/08/2019)
11/08/2019   127    ORDER sustaining, for substantially the reasons stated in the motion, 126
                    Unopposed Motion For Extension Of Time To File Responses To Defendants'
                    Motions To Dismiss. Plaintiffs now have until December 20, 2019 to respond
                    to 103 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM , 78
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM , 86
                    MOTION to Dismiss . Signed by District Judge Kathryn H. Vratil on
                    11/8/2019. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.) (as) (Entered: 11/08/2019)
11/13/2019   128    NOTICE OF COURTROOM ASSIGNMENT. Status Conference set
                    11/22/2019 at 11:00 a.m. (CST) will be held in Courtroom 223, U.S.
                    Courthouse, 500 State Ave., Kansas City, Kansas. (This is a TEXT ENTRY
                    ONLY. There is no.pdf document associated with this entry.) (aw) (Entered:
                    11/13/2019)
11/18/2019   129    CERTIFICATE OF SERVICE of Discovery Requests to Defendants by
                    Lamonte McIntyre, Rose Lee McIntyre. (Abrams, Michael) (Entered:
                    11/18/2019)
11/22/2019   130    MINUTE ENTRY for proceedings held before Magistrate Judge Kenneth G.
                    Gale: STATUS CONFERENCE held on 11/22/2019 n Kansas City. Plaintiff
                    appears through counsel, Alana McMullin, Alex Brown, Cheryl Pilate.
                    Defendant United Govt Wyandotte Co. appears through counsel, David
                    Cooper and Edward Bain. Defendant Golubski appears through counsel,
                    Morgan Roach. Remaining defendants appear through counsel, Tracy Hayes.
                    (Tape #11:00 − 11:23 (KC Courtroom 223.) (This is a TEXT ENTRY ONLY.
                    There is no.pdf document associated with this entry.) (aw) (Entered:
                    11/22/2019)
11/22/2019   131    NOTICE OF SERVICE by Unified Government of Wyandotte County and
                    Kansas City, Kansas of Rule 26(a)(1) Disclosure Documents (Cooper, David)
                    (Entered: 11/22/2019)
12/10/2019   132    NOTICE OF INTENT TO ISSUE SUBPOENA by Lamonte McIntyre, Rose
                    Lee McIntyre Subpoena to be issued to: Wyandotte County District Attorney's
                    Office (Attachments: # 1 Exhibit Subpoena Duces Tecum to Wyandotte
                    County District Attorney's Office)(Abrams, Michael) (Entered: 12/10/2019)
12/20/2019   133    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 103
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM , 86
                    MOTION to Dismiss , 78 MOTION TO DISMISS FOR FAILURE TO
                    STATE A CLAIM (Abrams, Michael) (Entered: 12/20/2019)
12/20/2019   134    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 78
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM on Issue 1
                    (Doc 79) (Abrams, Michael) (Entered: 12/20/2019)
12/20/2019   135


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                    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 78
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM on Issue 2
                    (Doc 80) (Abrams, Michael) (Entered: 12/20/2019)
12/20/2019   136    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 78
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM on Issue 3
                    (Doc 81) (Abrams, Michael) (Entered: 12/20/2019)
12/20/2019   137    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 78
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM on Issue 4
                    (Doc 82) (Abrams, Michael) (Entered: 12/20/2019)
12/20/2019   138    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 78
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM on Issue 5
                    (Doc 83) (Abrams, Michael) (Entered: 12/20/2019)
12/20/2019   139    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 78
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM on Issue 6
                    (Doc 84) (Abrams, Michael) (Entered: 12/20/2019)
12/20/2019   140    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 78
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM on Issue 7
                    (Doc 85) (Abrams, Michael) (Entered: 12/20/2019)
12/20/2019   141    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 86
                    MOTION to Dismiss on Issue 1 (Doc 88) (Abrams, Michael) (Entered:
                    12/20/2019)
12/20/2019   142    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 86
                    MOTION to Dismiss on Issue 2 (Doc 89) (Abrams, Michael) (Entered:
                    12/20/2019)
12/20/2019   143    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 86
                    MOTION to Dismiss on Issue 3 (Doc 90) (Abrams, Michael) (Entered:
                    12/20/2019)
12/20/2019   144    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 86
                    MOTION to Dismiss on Issue 4 (Doc 91) (Abrams, Michael) (Entered:
                    12/20/2019)
12/20/2019   145    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 86
                    MOTION to Dismiss on Issue 5 (Doc 92) (Abrams, Michael) (Entered:
                    12/20/2019)
12/20/2019   146    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 86
                    MOTION to Dismiss on Issue 6 (Doc 93) (Abrams, Michael) (Entered:
                    12/20/2019)
12/20/2019   147    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 86
                    MOTION to Dismiss on Issue 7 (Doc 94) (Abrams, Michael) (Entered:
                    12/20/2019)
12/20/2019   148    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 86
                    MOTION to Dismiss on Issue 8 (Doc 95) (Abrams, Michael) (Entered:
                    12/20/2019)
12/20/2019   149

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                    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 86
                    MOTION to Dismiss on Issue 9 (Doc 96) (Abrams, Michael) (Entered:
                    12/20/2019)
12/20/2019   150    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 86
                    MOTION to Dismiss on Issue 10 (Doc 97) (Abrams, Michael) (Entered:
                    12/20/2019)
12/20/2019   151    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 86
                    MOTION to Dismiss on Issue 11 (Doc 98) (Abrams, Michael) (Entered:
                    12/20/2019)
12/20/2019   152    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 86
                    MOTION to Dismiss on Issue 12 (Doc 99) (Abrams, Michael) (Entered:
                    12/20/2019)
12/20/2019   153    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 86
                    MOTION to Dismiss on Issue 13 (Doc 100) (Abrams, Michael) (Entered:
                    12/20/2019)
12/20/2019   154    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 86
                    MOTION to Dismiss on Issue 14 (Doc 101) (Abrams, Michael) (Entered:
                    12/20/2019)
12/20/2019   155    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 86
                    MOTION to Dismiss on Issue 15 (Doc 102) (Abrams, Michael) (Entered:
                    12/20/2019)
12/20/2019   156    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 103
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM on 1st Issue
                    (Doc 105) (Abrams, Michael) (Entered: 12/20/2019)
12/20/2019   157    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 103
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM on 2nd Issue
                    (Doc 106) (Abrams, Michael) (Entered: 12/20/2019)
12/20/2019   158    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 103
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM on 3rd Issue
                    (Doc 107) (Abrams, Michael) (Entered: 12/20/2019)
12/20/2019   159    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 103
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM on 4th Issue
                    (Doc 108) (Abrams, Michael) (Entered: 12/20/2019)
12/20/2019   160    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 103
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM on 5th Issue
                    (Doc 109) (Abrams, Michael) (Entered: 12/20/2019)
12/20/2019   161    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 103
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM on 6th Issue
                    (Doc 110) (Abrams, Michael) (Entered: 12/20/2019)
12/20/2019   162    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 103
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM on 7th Issue
                    (Doc 111) (Abrams, Michael) (Entered: 12/20/2019)
12/20/2019   163

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                    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 103
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM on 8th Issue
                    (Doc 112) (Abrams, Michael) (Entered: 12/20/2019)
12/20/2019   164    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 103
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM on 9th Issue
                    (Doc 113) (Abrams, Michael) (Entered: 12/20/2019)
12/20/2019   165    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 103
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM on 10th Issue
                    (Doc 114) (Abrams, Michael) (Entered: 12/20/2019)
12/20/2019   166    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 103
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM on 11th Issue
                    (Doc 115) (Abrams, Michael) (Entered: 12/20/2019)
12/20/2019   167    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 103
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM on 12th Issue
                    (Doc 116) (Abrams, Michael) (Entered: 12/20/2019)
12/20/2019   168    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 103
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM on 13th Issue
                    (Doc 117) (Abrams, Michael) (Entered: 12/20/2019)
01/03/2020   169    RETURN OF SERVICE of subpoena(s) filed by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre executed upon Wyandotte County District Attorney's
                    Office on January 2, 2020 by Personal Service (Pilate, Cheryl) (Entered:
                    01/03/2020)
01/07/2020   170    NOTICE OF COURTROOM ASSIGNMENT. January 17, 2020 Status
                    Conference set for 11:00 a.m. (CST) will be held in Courtroom 440, U.S.
                    Courthouse, 500 State Ave., Kansas City, Kansas. Counsel will appear IN
                    PERSON for the conference. (This is a TEXT ENTRY ONLY. There is no.pdf
                    document associated with this entry.) (aw) (Entered: 01/07/2020)
01/08/2020          MINUTE ENTRY TO Reset Hearings: At the direction of Magistrate Judge
                    Gale, the Status Conference is RESET for 2/27/2020 at 01:30 PM (CST) in
                    Courtroom 643, U.S. Courthouse, 500 State Ave., Kansas City, Kansas.
                    Counsel will appear in person for the conference. (This is a TEXT ENTRY
                    ONLY. There is no.pdf document associated with this entry.) (aw) (Entered:
                    01/08/2020)
01/13/2020   171    NOTICE OF CHANGE OF FIRM NAME OR ADDRESS by Michael J.
                    Abrams (Abrams, Michael) (Entered: 01/13/2020)
01/13/2020   172    NOTICE OF INTENT TO ISSUE SUBPOENA by Lamonte McIntyre, Rose
                    Lee McIntyre Subpoena to be issued to: Edwardsville Police Department
                    (Attachments: # 1 Exhibit 1)(Abrams, Michael) (Entered: 01/13/2020)
01/13/2020   173    NOTICE OF INTENT TO ISSUE SUBPOENA by Lamonte McIntyre, Rose
                    Lee McIntyre Subpoena to be issued to: Kansas City, Kansas Housing
                    Authority (Attachments: # 1 Exhibit 1)(Abrams, Michael) (Entered:
                    01/13/2020)
01/13/2020   174    NOTICE OF INTENT TO ISSUE SUBPOENA by Lamonte McIntyre, Rose
                    Lee McIntyre Subpoena to be issued to: Providence Medical Center


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                    (Attachments: # 1 Exhibit 1)(Abrams, Michael) (Entered: 01/13/2020)
01/13/2020   175    NOTICE OF INTENT TO ISSUE SUBPOENA by Lamonte McIntyre, Rose
                    Lee McIntyre Subpoena to be issued to: Walgreens Human Resources
                    (Attachments: # 1 Exhibit 1)(Abrams, Michael) (Entered: 01/13/2020)
01/22/2020   176    NOTICE OF SERVICE by Clyde Blood, James L. Brown, Daphne R.
                    Halderman(as Special Administrator of), W. K. Smith, Dennis Ware of
                    Defendant Officers Discovery Responses (Hayes, Tracy) (Entered:
                    01/22/2020)
01/22/2020   177    NOTICE OF SERVICE by Roger Golubski of Discovery Responses (Roach,
                    Morgan) (Entered: 01/22/2020)
01/22/2020   178    NOTICE OF SERVICE by Unified Government of Wyandotte County and
                    Kansas City, Kansas of Responses to Plaintiff's 1st Discovery Requests
                    (Cooper, David) (Entered: 01/22/2020)
01/24/2020   179    ENTRY OF APPEARANCE by Jacob Donald Bielenberg on behalf of Clyde
                    Blood, James L. Brown, Steven Culp, Daphne R. Halderman(as Special
                    Administrator of), Michael Shomin, W. K. Smith, Dennis Ware. (Bielenberg,
                    Jacob) (Entered: 01/24/2020)
02/11/2020   180    RETURN OF SERVICE of subpoena(s) filed by Plaintiff Lamonte McIntyre
                    executed upon Walgreens on 2/6/2020 by Facsimile Service (Pilate, Cheryl)
                    (Entered: 02/11/2020)
02/11/2020   181    RETURN OF SERVICE of subpoena(s) filed by Plaintiff Lamonte McIntyre
                    executed upon Edwardsville Police Department on 2/7/2020 by Personal
                    Service (Pilate, Cheryl) (Entered: 02/11/2020)
02/11/2020   182    RETURN OF SERVICE of subpoena(s) filed by Plaintiff Lamonte McIntyre
                    executed upon Kansas City, Kansas Housing Authority on 2/7/2020 by
                    Personal Service (Pilate, Cheryl) (Entered: 02/11/2020)
02/11/2020   183    RETURN OF SERVICE of subpoena(s) filed by Plaintiff Lamonte McIntyre
                    executed upon Providence Medical Center on 2/7/2020 by Personal Service
                    (Pilate, Cheryl) (Entered: 02/11/2020)
02/19/2020   184    NOTICE OF SERVICE by Unified Government of Wyandotte County and
                    Kansas City, Kansas of First Supplemental Responses to Plaintiff's First Set of
                    Requests for Production of Documents (Cooper, David) (Entered: 02/19/2020)
02/21/2020   185    Joint MOTION for extension of time to File a Motion to Compel by Plaintiffs
                    Lamonte McIntyre, Rose Lee McIntyre (referred to Magistrate Judge Kenneth
                    G. Gale) (Abrams, Michael) (Entered: 02/21/2020)
02/24/2020   186    ORDER granting, for good cause shown, 185 Joint Motion for Extension of
                    Time to File Motion to Compel. Any such motion, if deemed necessary, shall
                    be filed on or before March 23, 2020. Signed by Magistrate Judge Kenneth G.
                    Gale on 2/24/20. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.) (df) (Entered: 02/24/2020)
02/26/2020   187    NOTICE OF ADDITIONAL AUTHORITIES by Lamonte McIntyre, Rose
                    Lee McIntyre re 135 Response to Motion, 162 Response to Motion, 155
                    Response to Motion, 143 Response to Motion, 158 Response to Motion, 168


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                    Response to Motion, 140 Response to Motion (Attachments: # 1 Ex A−Journal
                    Entry of Judgment, # 2 Ex B−Certificate of Innocence, # 3 Ex C−Order for
                    Expungement)(Abrams, Michael) (Entered: 02/26/2020)
02/27/2020   188    MINUTE ENTRY for proceedings held before Magistrate Judge Kenneth G.
                    Gale: STATUS CONFERENCE held on 2/27/2020. Plaintiffs appeared
                    through counsel, Cheryl Pilate and Landsay Runnels. Defendant, Unified
                    Government Wyandotte County appeared through counsel, David Cooper and
                    Edward Bain. Defendant, Golubski appeared through counsel, Morgan Roach.
                    All other defendants appeared through counsel, Sean Sturdivan. Telephone
                    Conference set for May 4, 2020 at 10:00 a.m. Dial−in information will be sent
                    separately. (Court Reporter Kelli Stewart.) (This is a TEXT ENTRY ONLY.
                    There is no.pdf document associated with this entry.) (yh) (Entered:
                    02/27/2020)
02/27/2020   189    NOTICE of Hearing: THIS IS AN OFFICIAL NOTICE FOR THIS
                    HEARING Telephone Status Conference set for 5/4/2020 at 10:00 AM before
                    Magistrate Judge Kenneth G. Gale. Counsel who plan to participate should
                    call 888−363−4749 and enter access code 5407703 for the conference. (aw)
                    (Entered: 02/27/2020)
03/03/2020   190    MEMORANDUM AND ORDER sustaining in part and overruling in part 78
                    Motion to Dismiss for Failure to State a Claim; sustaining in part and
                    overruling in part 86 Motion to Dismiss; sustaining in part and overruling in
                    part 103 Motion to Dismiss Plaintiff's Second Amended Complaint. See Order
                    for further details. Signed by District Judge Kathryn H. Vratil on 3/3/2020.
                    (smc) (Entered: 03/03/2020)
03/11/2020   191    Joint MOTION for Extension of Time to File Answer by Defendants Clyde
                    Blood, James L. Brown, Steven Culp, W. K. Smith, Dennis Ware (referred to
                    Magistrate Judge Kenneth G. Gale) (Hayes, Tracy) (Entered: 03/11/2020)
03/11/2020   192    ORDER granting for good cause 191 Defendants' Joint Unopposed Motion for
                    Extension of Time to Answer re 74 Second Amended Complaint. Clyde Blood
                    answer due 4/16/2020; James L. Brown answer due 4/16/2020; Roger
                    Golubski answer due 4/16/2020; Daphne R. Halderman(as Special
                    Administrator of) answer due 4/16/2020; W. K. Smith answer due 4/16/2020;
                    Unified Government of Wyandotte County and Kansas City, Kansas answer
                    due 4/16/2020; Dennis Ware answer due 4/16/2020. Signed by Magistrate
                    Judge Kenneth G. Gale on 3/11/20. (This is a TEXT ENTRY ONLY. There is
                    no.pdf document associated with this entry.) (aw) (Entered: 03/11/2020)
03/20/2020   193    Second MOTION for extension of time (jointly filed) to file a motion to
                    compel by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre (referred to
                    Magistrate Judge Kenneth G. Gale) (Abrams, Michael) (Entered: 03/20/2020)
03/20/2020   194    ORDER granting 193 Second Joint Motion for Extension of Time to File
                    Motion to Compel. Any such motion, if deemed necessary, shall be filed on or
                    before April 23, 2020. Signed by Magistrate Judge Kenneth G. Gale on
                    3/20/20. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.) (df) (Entered: 03/20/2020)
03/30/2020   195    CERTIFICATE OF SERVICE of Documents Produced by Plaintiffs by
                    Lamonte McIntyre, Rose Lee McIntyre. (Abrams, Michael) (Entered:
                    03/30/2020)

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04/13/2020   196    Joint MOTION for extension of time to extend deadlines for discovery and
                    trial by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre (referred to
                    Magistrate Judge Kenneth G. Gale) (Abrams, Michael) (Entered: 04/13/2020)
04/14/2020   197    Unopposed MOTION for Extension of Time to File Answer by Defendants
                    Clyde Blood, James L. Brown, Steven Culp, W. K. Smith, Dennis Ware
                    (referred to Magistrate Judge Kenneth G. Gale) (Hayes, Tracy) (Entered:
                    04/14/2020)
04/14/2020   198    ORDER granting 197 Unopposed Motion for Extension of Time to Answer re
                    74 Amended Complaint. Answer of all Defendants due on or before
                    4/30/2020. Signed by Magistrate Judge Kenneth G. Gale on 4/14/2020. (This
                    is a TEXT ENTRY ONLY. There is no.pdf document associated with this
                    entry.) (df) (Entered: 04/14/2020)
04/21/2020          MINUTE ENTRY to Reset Hearings: Due to the high volume of calls on the
                    AT&T nationwide conference bridge used by the U.S. Courts, the Telephone
                    Status Conference is reset from 10:00 AM to 10:20 AM on 5/4/2020 before
                    Magistrate Judge Kenneth G. Gale. Counsel should call CONFERENCE LINE
                    1−888−363−4749, enter ACCESS CODE 5407703. PLEASE NOTE THIS IS
                    A CHANGE IN THE TIME ONLY. (This is a TEXT ENTRY ONLY. There
                    is no.pdf document associated with this entry.) (aw) (Entered: 04/21/2020)
04/21/2020   199    Third MOTION for extension of time (jointly filed) to file a motion to compel
                    by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre (referred to Magistrate
                    Judge Kenneth G. Gale) (Abrams, Michael) (Entered: 04/21/2020)
04/22/2020   200    ORDER granting, for good cause shown, 199 Joint Motion for Extension of
                    time for Plaintiffs to file a Motion to Compel documents from Defendant
                    Unified Government. Any such motion, if deemed necessary, shall be filed on
                    or before June 15, 2020. Signed by Magistrate Judge Kenneth G. Gale on
                    4/22/2020. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.) (df) (Entered: 04/22/2020)
04/22/2020   201    NOTICE OF SERVICE by Unified Government of Wyandotte County and
                    Kansas City, Kansas of Second Supplemental Response to Plaintiff's First Set
                    of Requests for Production of Documents (Cooper, David) (Entered:
                    04/22/2020)
04/28/2020   202    Joint MOTION for Extension of Time to File Answer re 74 Amended
                    Complaint (Third Joint Motion) by Defendant Unified Government of
                    Wyandotte County and Kansas City, Kansas (referred to Magistrate Judge
                    Kenneth G. Gale) (Cooper, David) (Entered: 04/28/2020)
04/28/2020   203    ORDER granting, as unopposed, 202 Motion for Extension of Time to Answer
                    re 74 Amended Complaint. Deadline for all Defendants to file their responsive
                    pleadings is hereby extended until May 14, 2020. Signed by Magistrate Judge
                    Kenneth G. Gale on 4/28/2020. (This is a TEXT ENTRY ONLY. There is
                    no.pdf document associated with this entry.) (df) (Entered: 04/28/2020)
05/04/2020   204    MINUTE ENTRY for proceedings held before Magistrate Judge Kenneth G.
                    Gale: TELEPHONE CONFERENCE held on 5/4/2020. (Court Reporter Jo
                    Wilkinson.) (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.) (aw) (Entered: 05/04/2020)



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05/04/2020   205    REVISED SCHEDULING ORDER: Discovery deadline 5/28/2021.
                    Dispositive motion deadline 7/16/2021. Supplemental Confidential Settlement
                    Reports Due to Magistrate Judge on 10/30/2020. Proposed Pretrial Order due
                    by 6/16/2021. Jury Trial reset for 3/7/2022 at 09:00 AM in KC Courtroom 440
                    (JWL/KHV) before District Judge Kathryn H. Vratil. Final Pretrial Conference
                    reset for 6/22/2021 at 02:00 PM before Magistrate Judge Kenneth G. Gale.
                    Status Conference set for 8/20/2020 at 11:00 AM by telephone before
                    Magistrate Judge Kenneth G. Gale. Granting 196 Joint Motion to Extend
                    Deadlines for Discovery and Trial. See attached Order for additional
                    deadlines. Signed by Magistrate Judge Kenneth G. Gale on 5/4/20. (aw)
                    (Entered: 05/04/2020)
05/14/2020   206    ANSWER to 74 Amended Complaint (Second Amended Complaint), with Jury
                    Demand and Designation of Place of Trial by Unified Government of
                    Wyandotte County and Kansas City, Kansas.(Cooper, David) (Entered:
                    05/14/2020)
05/14/2020   207    ANSWER to 74 Amended Complaint by Clyde Blood, James L. Brown,
                    Daphne R. Halderman(as Special Administrator of), W. K. Smith, Dennis
                    Ware.(Hayes, Tracy) (Entered: 05/14/2020)
05/14/2020   208    ANSWER to 74 Amended Complaint by Roger Golubski.(Roach, Morgan)
                    (Entered: 05/14/2020)
05/26/2020   209    ENTRY OF APPEARANCE by Jeffrey S. Kratofil on behalf of Roger
                    Golubski (Kratofil, Jeffrey) (Entered: 05/26/2020)
06/11/2020   210    NOTICE OF SERVICE by Unified Government of Wyandotte County and
                    Kansas City, Kansas of Third Supplemental Response to Plaintiff's First Set of
                    Requests for Production of Documents (Cooper, David) (Entered: 06/11/2020)
06/12/2020   211    Fourth MOTION for extension of time (jointly filed) to file a motion to compel
                    by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre (referred to Magistrate
                    Judge Kenneth G. Gale) (Abrams, Michael) (Entered: 06/12/2020)
06/15/2020   212    ORDER granting 211 Joint Motion for Extension of Time to File Motion to
                    Compel. Any such motion, if deemed necessary, shall be filed on or before
                    June 26, 2020. Signed by Magistrate Judge Kenneth G. Gale on 6/15/2020.
                    (This is a TEXT ENTRY ONLY. There is no.pdf document associated with
                    this entry.) (df) (Entered: 06/15/2020)
06/24/2020   213    NOTICE OF SERVICE by Unified Government of Wyandotte County and
                    Kansas City, Kansas of Fourth Supplemental Response to Plaintiff's First Set
                    of Requests for Production of Documents (Cooper, David) (Attachment added:
                    # 1 Correct Document) (mls) (Entered: 06/24/2020)
07/02/2020   214    CERTIFICATE OF SERVICE of Additional Documents Disclosed Under
                    Rule 26 by Lamonte McIntyre, Rose Lee McIntyre. (Abrams, Michael)
                    (Entered: 07/02/2020)
07/17/2020   215    CERTIFICATE OF SERVICE of Additional Documents Disclosed Under
                    Rule 26 by Lamonte McIntyre, Rose Lee McIntyre. (Abrams, Michael)
                    (Entered: 07/17/2020)
07/23/2020   216    CERTIFICATE OF SERVICE of Plaintiffs' Second Set of Requests for
                    Production of Documents and Things to All Defendants by Lamonte McIntyre,

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                    Rose Lee McIntyre. (Abrams, Michael) (Entered: 07/23/2020)
08/13/2020   217    NOTICE OF SERVICE by Unified Government of Wyandotte County and
                    Kansas City, Kansas of Fifth Supplemental Response to Plaintiff's First Set of
                    Requests for Production of Documents (Cooper, David) (Entered: 08/13/2020)
08/20/2020          MINUTE ENTRY for proceedings held before Magistrate Judge Kenneth G.
                    Gale: STATUS CONFERENCE held by telephone on 8/20/2020. (This is a
                    TEXT ENTRY ONLY. There is no.pdf document associated with this entry.)
                    (aw) (Entered: 08/20/2020)
08/24/2020   218    CERTIFICATE OF SERVICE of Defendant Officers' Responses To Plaintiff's
                    Second Set of Request For Production of Docments by Clyde Blood, James L.
                    Brown, Steven Culp, W. K. Smith, Dennis Ware. (Hayes, Tracy) (Entered:
                    08/24/2020)
08/24/2020   219    NOTICE OF SERVICE by Roger Golubski of Defendant Golubski's
                    Responses To Plaintiffs' Second Set of Requests For Production of Documents
                    (Roach, Morgan) (Entered: 08/24/2020)
08/25/2020   220    NOTICE OF SERVICE by Unified Government of Wyandotte County and
                    Kansas City, Kansas of Response to Plaintiffs' Second Request for Production
                    of Documents (Cooper, David) (Entered: 08/25/2020)
08/28/2020   221    CERTIFICATE OF SERVICE of Documents Produced by Plaintiffs by
                    Lamonte McIntyre, Rose Lee McIntyre. (Abrams, Michael) (Entered:
                    08/28/2020)
09/03/2020   222    MOTION for attorney Yasmin Dagne to appear pro hac vice ( Pro hac vice fee
                    $50, Internet Payment Receipt Number AKSDC−5246574.) by Plaintiffs
                    Lamonte McIntyre, Rose Lee McIntyre (referred to Magistrate Judge Kenneth
                    G. Gale) (Attachments: # 1 Affidavit of Yasmin Dagne, # 2 ECF Registration
                    Form)(Abrams, Michael) (Entered: 09/03/2020)
09/03/2020   223    ORDER granting 222 Motion to Appear Pro Hac Vice of attorney Yasmin
                    Dagne as counsel for Lamonte McIntyre and Rose Lee McIntyre pursuant to
                    D. Kan. Rule 83.5.4 for purposes of this case only. Signed by Magistrate Judge
                    Kenneth G. Gale on 9/3/20. (This is a TEXT ENTRY ONLY. There is no.pdf
                    document associated with this entry.) (aw) (Entered: 09/03/2020)
11/04/2020   224    NOTICE OF SERVICE by Unified Government of Wyandotte County and
                    Kansas City, Kansas of Responses to Plaintiffs' Discovery Requests (Cooper,
                    David) (Entered: 11/04/2020)
11/06/2020   225    CERTIFICATE OF SERVICE of Documents Produced by Plaintiffs by
                    Lamonte McIntyre, Rose Lee McIntyre. (Abrams, Michael) (Entered:
                    11/06/2020)
11/09/2020   226    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of Roger Golubski on November 19, 2020 (Abrams, Michael)
                    (Entered: 11/09/2020)
11/11/2020   227    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of Ophelia Williams on November 18, 2020 (Abrams, Michael)
                    (Entered: 11/11/2020)



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11/11/2020   228    CERTIFICATE OF SERVICE of Plaintiff's First Amended Rule 26
                    Disclosures to All Defendants by Lamonte McIntyre, Rose Lee McIntyre
                    (Pilate, Cheryl) (Entered: 11/11/2020)
11/12/2020   229    NOTICE OF SERVICE by Unified Government of Wyandotte County and
                    Kansas City, Kansas of Third Supplemental Response to Plaintiff's Second
                    Requests for Production of Documents and Things (Cooper, David) (Entered:
                    11/12/2020)
11/17/2020   230    CERTIFICATE OF SERVICE of Documents Produced by Plaintiffs by
                    Lamonte McIntyre, Rose Lee McIntyre. (Abrams, Michael) (Entered:
                    11/17/2020)
11/20/2020   231    MINUTE ORDER. The Magistrate Judge has reviewed the parties'
                    confidential settlement statements. No alternative dispute process is ordered at
                    this time. Counsel should confer and be prepared to discuss ADR at the
                    Pretrial Conference. Signed by Magistrate Judge Kenneth G. Gale on
                    November 20, 2020. (This is a TEXT ENTRY ONLY. There is no.pdf
                    document associated with this entry.)(Gale, Kenneth) (Entered: 11/20/2020)
11/25/2020   232    NOTICE OF SERVICE by Unified Government of Wyandotte County and
                    Kansas City, Kansas of Fourth Supplemental Response to Plaintiffs Second
                    Set of Requests for Production of Documents (Cooper, David) (Entered:
                    11/25/2020)
12/02/2020   233    WITHDRAWAL OF COUNSEL by Jacob D. Bielenberg and ENTRY OF
                    APPEARANCE OF SUBSTITUTED COUNSEL by Tracy M. Hayes on
                    behalf of Clyde Blood, James L. Brown, W. K. Smith, Dennis Ware (Hayes,
                    Tracy) (Entered: 12/02/2020)
12/04/2020   234    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of Shanaya Kane on December 18, 2020 (Abrams, Michael)
                    (Entered: 12/04/2020)
12/07/2020   235    NOTICE OF SERVICE by Lamonte McIntyre, Rose Lee McIntyre of
                    Plaintiffs' Second Amended Rule 26(a) Disclosures (Pilate, Cheryl) (Entered:
                    12/07/2020)
12/08/2020   236    NOTICE OF SERVICE by Unified Government of Wyandotte County and
                    Kansas City, Kansas of Fifth Supplemental Response to Plaintiffs Second Set
                    of Requests for Production of Documents and Eighth Supplemental Response
                    to Plaintiff's First Set of Requests for Production of Documents (Cooper,
                    David) (Entered: 12/08/2020)
12/10/2020   237    AMENDED NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of
                    taking deposition of Shanaya Kane on December 18, 2020 (Abrams, Michael)
                    (Entered: 12/10/2020)
12/15/2020   238    NOTICE OF INTENT TO ISSUE SUBPOENA by Lamonte McIntyre, Rose
                    Lee McIntyre Subpoena to be issued to: Wyandotte County District Attorney's
                    Office (Attachments: # 1 Exhibit 1)(Abrams, Michael) (Entered: 12/15/2020)
12/16/2020   239    NOTICE OF SERVICE by Roger Golubski of Defendant Golubski's First
                    Requests For Production of Documents and Things (Roach, Morgan) (Entered:
                    12/16/2020)


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12/23/2020   240    NOTICE OF INTENT TO ISSUE SUBPOENA by Lamonte McIntyre, Rose
                    Lee McIntyre Subpoena to be issued to: United States Attorney for the District
                    of Kansas (Attachments: # 1 Exhibit 1)(Runnels, Lindsay) (Entered:
                    12/23/2020)
01/05/2021   241    RETURN OF SERVICE of subpoena(s) filed by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre executed upon Wyandotte County District Attorney's
                    Office on 2021−01−04 by Personal (Runnels, Lindsay) (Entered: 01/05/2021)
01/05/2021   242    Consent MOTION for extension of time On All Discovery Deadlines by
                    Plaintiffs Lamonte McIntyre, Rose Lee McIntyre (referred to Magistrate Judge
                    Kenneth G. Gale) (Pilate, Cheryl) (Entered: 01/05/2021)
01/08/2021   243    SECOND REVISED SCHEDULING ORDER: Discovery deadline 8/27/2021.
                    Dispositive motion deadline 11/5/2021. Mediation deadline 5/28/2021.
                    Mediation Notice or Confidential Settlement Report Due to Magistrate Judge
                    on 4/23/2021. Proposed Pretrial Order due by 9/13/2021. Jury Trial set for
                    6/27/2022 at 09:00 AM in KC Courtroom 440 (JWL/KHV) before District
                    Judge Kathryn H. Vratil. Final Pretrial Conference set for 9/23/2021 at 10:00
                    AM before Magistrate Judge Kenneth G. Gale. Granting 242 Consent Motion
                    to Extend Deadlines. See attached Order. Signed by Magistrate Judge Kenneth
                    G. Gale on 1/7/21. (aw) (Entered: 01/08/2021)
01/15/2021   244    CERTIFICATE OF SERVICE of Plaintiffs' Responses and Objections to
                    Defendant Golubski's First Requests for Production of Documents and Things
                    by Lamonte McIntyre, Rose Lee McIntyre. (Abrams, Michael) (Entered:
                    01/15/2021)
01/22/2021   245    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of Clyde Blood on February 3, 2021 (Abrams, Michael) (Entered:
                    01/22/2021)
01/28/2021   246    NOTICE OF CHANGE OF ADDRESS by Tracy M. Hayes (Hayes, Tracy)
                    (Entered: 01/28/2021)
02/02/2021   247    NOTICE OF SERVICE by Lamonte McIntyre, Rose Lee McIntyre of
                    Plaintiffs' Third Amended Rule 26 Disclosures to All Defendants (Abrams,
                    Michael) (Entered: 02/02/2021)
02/02/2021   248    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of Dennis Ware on February 12, 2021 (Abrams, Michael) (Entered:
                    02/02/2021)
02/02/2021   249    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of W.K. Smith on February 25, 2021 (Abrams, Michael) (Entered:
                    02/02/2021)
02/02/2021   250    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of James Brown on March 29, 2021 (Abrams, Michael) (Entered:
                    02/02/2021)
02/10/2021   251    Consent MOTION for extension of time to file a motion to compel by
                    Defendant Roger Golubski (referred to Magistrate Judge Kenneth G. Gale)
                    (Roach, Morgan) (Entered: 02/10/2021)
02/11/2021   252


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                    ORDER granting, for good cause shown and as uncontested, 251 Motion
                    extending time to file a Motion to Compel Discovery from Plaintiffs until
                    March 16, 2021. Signed by Magistrate Judge Kenneth G. Gale on 2/11/21.
                    (This is a TEXT ENTRY ONLY. There is no.pdf document associated with
                    this entry.) (df) (Entered: 02/11/2021)
02/16/2021   253    NOTICE OF WITHDRAWAL OF APPEARANCE by attorney Rick Sawyer
                    as to All Plaintiffs (Abrams, Michael) (Entered: 02/16/2021)
02/16/2021   254    NOTICE OF INTENT TO ISSUE SUBPOENA by Lamonte McIntyre, Rose
                    Lee McIntyre Subpoena to be issued to: FBI (Attachments: # 1 Exhibit 1 −
                    Subpoena to Federal Bureau of Investigation)(Pilate, Cheryl) (Entered:
                    02/16/2021)
02/18/2021   255    CERTIFICATE OF SERVICE of Plaintiffs' Third Set of Requests for
                    Production of Documents and Things to All Defendants and Plaintiffs' Second
                    Set of Interrogatories to Defendant Golubski by Lamonte McIntyre, Rose Lee
                    McIntyre. (Abrams, Michael) (Entered: 02/18/2021)
02/19/2021   256    NOTICE OF INTENT TO ISSUE SUBPOENA by Lamonte McIntyre, Rose
                    Lee McIntyre Subpoena to be issued to: Kansas City, Kansas Housing
                    Authority (Attachments: # 1 Exhibit 1)(Abrams, Michael) (Entered:
                    02/19/2021)
03/05/2021   257    RETURN OF SERVICE of subpoena(s) filed by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre executed upon Kansas City, Kansas Housing Authority on
                    March 5, 2021 by Personal Service (Pilate, Cheryl) (Entered: 03/05/2021)
03/09/2021   258    RETURN OF SERVICE of subpoena(s) filed by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre executed upon Federal Bureau of Investigation on
                    3/3/2021 by Personal Service (Abrams, Michael) (Entered: 03/09/2021)
03/10/2021   259    CERTIFICATE OF SERVICE of Additional Documents Disclosed Under
                    Rule 26 and Documents Obtained Via Subpoena by Lamonte McIntyre, Rose
                    Lee McIntyre. (Abrams, Michael) (Entered: 03/10/2021)
03/11/2021   260    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of Michael Kobe on April 19, 2021 (Abrams, Michael) (Entered:
                    03/11/2021)
03/12/2021   261    Second MOTION for extension of time to file a motion to compel by
                    Defendant Roger Golubski (referred to Magistrate Judge Kenneth G. Gale)
                    (Roach, Morgan) (Entered: 03/12/2021)
03/12/2021   262    ORDER granting, as unopposed and for good cause shown, 261 Motion for
                    extension of time to file a motion to compel discovery from Plaintiffs until
                    April 15, 2021. Signed by Magistrate Judge Kenneth G. Gale on 3/12/21. (This
                    is a TEXT ENTRY ONLY. There is no.pdf document associated with this
                    entry.) (df) (Entered: 03/12/2021)
03/17/2021   263    RETURN OF SERVICE of subpoena(s) filed by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre executed upon Michael Kobe on 3/15/2021 by Personal
                    Service (Abrams, Michael) (Entered: 03/17/2021)
03/24/2021   264    NOTICE OF INTENT TO ISSUE SUBPOENA by Lamonte McIntyre, Rose
                    Lee McIntyre Subpoena to be issued to: Wyandotte County District Court,


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                    Juvenile Division (Attachments: # 1 Exhibit 1 − Subpoena to Wyandotte
                    County District Court, Juvenile Division)(Abrams, Michael) (Entered:
                    03/24/2021)
03/26/2021   265    NOTICE OF WITHDRAWAL OF APPEARANCE by attorney Nicholas S.
                    Ruble as to Roger Golubski (Ruble, Nicholas) (Entered: 03/26/2021)
03/26/2021   266    CERTIFICATE OF SERVICE of documents obtained via subpoena from
                    KCKHA by Lamonte McIntyre, Rose Lee McIntyre. (Abrams, Michael)
                    (Entered: 03/26/2021)
03/29/2021   267    ENTRY OF APPEARANCE by Charles Edward Branson on behalf of Unified
                    Government of Wyandotte County and Kansas City, Kansas. (Branson,
                    Charles) (Entered: 03/29/2021)
03/29/2021   268    ENTRY OF APPEARANCE by Matthew J. Gist on behalf of Roger Golubski
                    (Gist, Matthew) (Entered: 03/29/2021)
04/05/2021   269    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of Shanaya Kane on April 14, 2021 (Abrams, Michael) (Entered:
                    04/05/2021)
04/05/2021   270    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of Dennis Ware on April 23, 2021 (Abrams, Michael) (Entered:
                    04/05/2021)
04/05/2021   271    AMENDED NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of
                    taking deposition of Shanaya Kane on April 14, 2021 (Abrams, Michael)
                    (Entered: 04/05/2021)
04/05/2021   272    CERTIFICATE OF SERVICE of Responses to Third Set of Requests for
                    Production by Clyde Blood, James L. Brown, Steven Culp, W. K. Smith,
                    Dennis Ware. (Hayes, Tracy) (Entered: 04/05/2021)
04/05/2021   273    NOTICE OF SERVICE by Unified Government of Wyandotte County and
                    Kansas City, Kansas of Unified Gov't Response to Third Request for
                    Production (Cooper, David) (Entered: 04/05/2021)
04/06/2021   274    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of Terra Morehead on April 27, 2021 (Abrams, Michael) (Entered:
                    04/06/2021)
04/06/2021   275    NOTICE OF SERVICE by Roger Golubski of Responses to Third Set of
                    Requests For Production and Second Set of Interrogatories (Roach, Morgan)
                    (Entered: 04/06/2021)
04/06/2021   276    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of 30(b)(6) of Unified Government of Wyandotte County and
                    Kansas City, Kansas on April 26, 2021 (Abrams, Michael) (Entered:
                    04/06/2021)
04/07/2021   277    CERTIFICATE OF SERVICE of Additional Documents Disclosed Under
                    Rule 26 by Lamonte McIntyre, Rose Lee McIntyre. (Abrams, Michael)
                    (Entered: 04/07/2021)
04/13/2021   278    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of Roger Golubski on April 20, 2021 (Abrams, Michael) (Entered:

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                    04/13/2021)
04/13/2021   279    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of Niko Quinn on June 2, 2021 (Abrams, Michael) (Entered:
                    04/13/2021)
04/13/2021   280    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of Ruby Mitchell on June 3, 2021 (Abrams, Michael) (Entered:
                    04/13/2021)
04/14/2021   281    Consent MOTION for extension of time to file a motion to compel by
                    Defendant Roger Golubski (referred to Magistrate Judge Kenneth G. Gale)
                    (Roach, Morgan) (Entered: 04/14/2021)
04/14/2021   282    ORDER granting, for good cause and as unopposed, 281 Motion extending
                    deadline to file a Motion to Compel Discovery from Plaintiffs until May 15,
                    2021. Signed by Magistrate Judge Kenneth G. Gale on 4/14/21. (This is a
                    TEXT ENTRY ONLY. There is no.pdf document associated with this entry.)
                    (df) (Entered: 04/14/2021)
04/16/2021   283    Consent MOTION to Amend Scheduling Order (Second Revised) − Extend
                    Deadlines to Discovery by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre
                    (referred to Magistrate Judge Kenneth G. Gale) (Abrams, Michael) (Entered:
                    04/16/2021)
04/20/2021   284    REVISED SCHEDULING ORDER: Discovery deadline 9/24/2021.
                    Dispositive motion deadline 12/3/2021. Mediation deadline 6/25/2021.
                    Mediation Notice or Confidential Settlement Report Due to Magistrate Judge
                    on 5/21/2021. Proposed Pretrial Order due by 10/15/2021. Jury Trial reset for
                    8/1/2022 at 09:00 AM in KC Courtroom 440 (JWL/KHV) before District
                    Judge Kathryn H. Vratil., Final Pretrial Conference reset for 10/26/2021 at
                    02:00 PM (CDT) before Magistrate Judge Kenneth G. Gale. Granting 283
                    Consent Motion to Extend Deadlines for Discovery. See attached Order.
                    Signed by Magistrate Judge Kenneth G. Gale on 4/20/21. (aw) (Entered:
                    04/20/2021)
04/21/2021   285    AMENDED NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of
                    taking deposition of Michael Kobe on May 12, 2021 (Abrams, Michael)
                    (Entered: 04/21/2021)
04/22/2021   286    JOINT MEDIATION NOTICE − Mediation to be held 5/13/2021 by Clyde
                    Blood, James L. Brown, Daphne R. Halderman(as Special Administrator of),
                    W. K. Smith, Dennis Ware (Hayes, Tracy) (Entered: 04/22/2021)
04/22/2021   287    NOTICE OF SERVICE by Roger Golubski of First Supplement to Responses
                    and Objections to Third Requests For Production (Roach, Morgan) (Entered:
                    04/22/2021)
04/29/2021   288    RETURN OF SERVICE of subpoena(s) filed by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre executed upon Terra Morehead on 3/24/2021 by Personal
                    Service (Abrams, Michael) (Entered: 04/29/2021)
04/29/2021   289    RETURN OF SERVICE of subpoena(s) filed by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre executed upon Wyandotte County District Court, Juvenile
                    Division on 3/26/2021 by Personal Service (Abrams, Michael) (Entered:
                    04/29/2021)

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04/30/2021   290    Consent MOTION for extension of time to file a motion to compel by
                    Plaintiffs Lamonte McIntyre, Rose Lee McIntyre (referred to Magistrate Judge
                    Kenneth G. Gale) (Abrams, Michael) (Entered: 04/30/2021)
04/30/2021   291    ORDER granting, for good cause shown, 290 Consent Motion for extension of
                    time for Plaintiffs to file a Motion to Compel until June 4, 2021. Signed by
                    Magistrate Judge Kenneth G. Gale on 4/30/21. (This is a TEXT ENTRY
                    ONLY. There is no.pdf document associated with this entry.) (df) (Entered:
                    04/30/2021)
05/03/2021   292    AGREED ORDER for Juvenile Court Records. Signed by Magistrate Judge
                    Kenneth G. Gale on 5/3/21. (df) (Entered: 05/03/2021)
05/03/2021   293    NOTICE OF SERVICE by Unified Government of Wyandotte County and
                    Kansas City, Kansas of (1) Sixth Supplemental Response to Plaintiff's Second
                    Set of Requests for Production of Documents and Things to All Defendants;
                    (2) Ninth Supplemental Response to Plaintiff's First Set of Requests for
                    Production of Documents; and, (3) a Supplemental Rule 26 Disclosure
                    (Cooper, David) (Entered: 05/03/2021)
05/10/2021   294    CERTIFICATE OF SERVICE of Documents Produced by Plaintiffs by
                    Lamonte McIntyre, Rose Lee McIntyre. (Abrams, Michael) (Entered:
                    05/10/2021)
05/11/2021   295    CERTIFICATE OF SERVICE of Defendant Golubski's First Interrogatories to
                    Plaintiff Lamonte McIntyre and Second Requests for Production to Plaintiffs
                    by Roger Golubski. (Gist, Matthew) (Entered: 05/11/2021)
05/13/2021   296    Consent MOTION for extension of time to file motion to compel by Defendant
                    Roger Golubski (referred to Magistrate Judge Kenneth G. Gale) (Roach,
                    Morgan) (Entered: 05/13/2021)
05/14/2021   297    ORDER granting, for good cause shown and as unopposed, 296 Motion for
                    Extension of Time to File Motion to Compel. Any such motion, if deemed
                    necessary, shall be filed on or before June 14, 2021. Signed by Magistrate
                    Judge Kenneth G. Gale on 5/14/21. (This is a TEXT ENTRY ONLY. There is
                    no.pdf document associated with this entry.) (df) (Entered: 05/14/2021)
05/17/2021   298    AMENDED NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of
                    taking deposition of Rule 30(b)(6) of Unified Government of Wyandotte
                    County and Kansas City, Kansas on May 25, 2021 (Abrams, Michael)
                    (Entered: 05/17/2021)
05/19/2021   299    Consent MOTION for extension of time to disclose plaintiffs' expert report by
                    Plaintiffs Lamonte McIntyre, Rose Lee McIntyre (referred to Magistrate Judge
                    Kenneth G. Gale) (Abrams, Michael) (Entered: 05/19/2021)
05/19/2021   300    ORDER granting, for good cause shown, 299 Consent Motion for Extension
                    (one week) of deadline to serve Plaintiffs' expert disclosure and report of Dr.
                    Woods until May 27, 2021. Signed by Magistrate Judge Kenneth G. Gale on
                    5/19/21. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.) (df) (Entered: 05/19/2021)
05/20/2021   301    EXPERT WITNESS DESIGNATION by Lamonte McIntyre, Rose Lee
                    McIntyre.(Abrams, Michael) (Entered: 05/20/2021)


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05/25/2021   302    ADR REPORT by Unified Government of Wyandotte County and Kansas
                    City, Kansas. ADR session held on: May 13, 2021 and conducted by Dennis
                    Gillen. Results of ADR: Case did not settle. Status of litigation at time of
                    ADR: Partial Discovery(Cooper, David) (Entered: 05/25/2021)
05/27/2021   303    Supplemental EXPERT WITNESS DESIGNATION by Lamonte McIntyre,
                    Rose Lee McIntyre.(Abrams, Michael) (Entered: 05/27/2021)
06/04/2021   304    Second MOTION for extension of time to File a Motion to Compel by
                    Plaintiffs Lamonte McIntyre, Rose Lee McIntyre (referred to Magistrate Judge
                    Kenneth G. Gale) (McMullin, Alana) (Entered: 06/04/2021)
06/04/2021   305    ORDER granting, for good cause and as unopposed, 304 Motion for Extension
                    of Time extending the deadline for Plaintiffs to file, if deemed necessary, a
                    Motion to Compel responses to Plaintiffs' Third Request for Production and
                    Second Interrogatories up to and including July 6, 2021. Signed by Magistrate
                    Judge Kenneth G. Gale on 6/4/21. (This is a TEXT ENTRY ONLY. There is
                    no.pdf document associated with this entry.) (df) (Entered: 06/04/2021)
06/04/2021   306    NOTICE by Defendant Roger Golubski of taking deposition of Lamonte
                    McIntyre on June 16, 2021 (Roach, Morgan) (Entered: 06/04/2021)
06/04/2021   307    NOTICE by Defendant Roger Golubski of taking deposition of Rose Lee
                    McIntyre on June 17, 2021 (Roach, Morgan) (Entered: 06/04/2021)
06/04/2021   308    MOTION to Compel Production of Documents from Defendant Unified
                    Government of Wyandotte County and Kansas City, Kansas by Plaintiffs
                    Lamonte McIntyre, Rose Lee McIntyre (referred to Magistrate Judge Kenneth
                    G. Gale) (McMullin, Alana) (Entered: 06/04/2021)
06/04/2021   309    MEMORANDUM IN SUPPORT of 308 MOTION to Compel Production of
                    Documents from Defendant Unified Government of Wyandotte County and
                    Kansas City, Kansas by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre
                    (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(McMullin, Alana)
                    (Entered: 06/04/2021)
06/07/2021   310    AMENDED NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of
                    taking deposition of Rule 30(b)(6) of Unified Government of Wyandotte
                    County and Kansas City, Kansas on June 15, 2021 (Abrams, Michael)
                    (Entered: 06/07/2021)
06/10/2021   311    CERTIFICATE OF SERVICE of Plaintiffs' Discovery Responses by Lamonte
                    McIntyre, Rose Lee McIntyre. (Abrams, Michael) (Entered: 06/10/2021)
06/15/2021   312    NOTICE OF INTENT TO ISSUE SUBPOENA by Lamonte McIntyre, Rose
                    Lee McIntyre Subpoena to be issued to: Kansas Commission on Peace
                    Officers' Standards and Training (Attachments: # 1 Exhibit 1)(Pilate, Cheryl)
                    (Entered: 06/15/2021)
06/16/2021   313    ENTRY OF APPEARANCE by Christopher M. Napolitano on behalf of
                    Roger Golubski (Napolitano, Christopher) (Entered: 06/16/2021)
06/16/2021   314    CERTIFICATE OF SERVICE of Defendant Golubski's First Interrogatories to
                    Plaintiff Rose McIntyre and Third Requests for Production to Plaintiffs by
                    Roger Golubski. (Napolitano, Christopher) (Entered: 06/16/2021)



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06/17/2021   315    Unopposed MOTION for Extension of Time to File Response as to 308
                    MOTION to Compel Production of Documents from Defendant Unified
                    Government of Wyandotte County and Kansas City, Kansas by Defendant
                    Unified Government of Wyandotte County and Kansas City, Kansas (referred
                    to Magistrate Judge Kenneth G. Gale) (Cooper, David) (Entered: 06/17/2021)
06/21/2021   316    ORDER granting 315 Motion for Extension of Time to File Response re 308
                    MOTION to Compel. Response deadline 6/25/2021. Signed by Magistrate
                    Judge Kenneth G. Gale on 6/21/21. (This is a TEXT ENTRY ONLY. There is
                    no.pdf document associated with this entry.) (df) (Entered: 06/21/2021)
06/25/2021   317    RESPONSE by Defendant Unified Government of Wyandotte County and
                    Kansas City, Kansas re 308 Motion to Compel (Cooper, David) (Entered:
                    06/25/2021)
06/28/2021   318    NOTICE by Defendant Roger Golubski of taking deposition of Kristine
                    Skahan on July 28, 2021 (Gist, Matthew) (Entered: 06/28/2021)
06/28/2021   319    NOTICE by Defendant Roger Golubski of taking deposition of Kurt Krueger
                    on July 20, 2021 (Gist, Matthew) (Entered: 06/28/2021)
06/28/2021   320    NOTICE by Defendant Roger Golubski of taking deposition of Blackberry
                    Corporation on August 17, 2021 (Attachments: # 1 Exhibit A, # 2 Exhibit
                    B)(Napolitano, Christopher) (Entered: 06/28/2021)
06/29/2021   321    AMENDED NOTICE by Defendant Roger Golubski of taking deposition of
                    Blackberry Corporation on August 17, 2021 (Attachments: # 1 Exhibit A, # 2
                    Exhibit B)(Napolitano, Christopher) (Entered: 06/29/2021)
06/29/2021   322    NOTICE OF INTENT TO ISSUE SUBPOENA by Roger Golubski Subpoena
                    to be issued to: Centurion Ministries, Inc. (Attachments: # 1 Exhibit
                    A)(Napolitano, Christopher) (Entered: 06/29/2021)
06/29/2021   323    NOTICE OF INTENT TO ISSUE SUBPOENA by Roger Golubski Subpoena
                    to be issued to: Kansas City Kansas Public Schools (Attachments: # 1 Exhibit
                    A)(Napolitano, Christopher) (Entered: 06/29/2021)
06/29/2021   324    NOTICE OF INTENT TO ISSUE SUBPOENA by Roger Golubski Subpoena
                    to be issued to: Kansas Department for Children and Families (Attachments: #
                    1 Exhibit A)(Napolitano, Christopher) (Entered: 06/29/2021)
06/29/2021   325    NOTICE OF INTENT TO ISSUE SUBPOENA by Roger Golubski Subpoena
                    to be issued to: Sisters of Charity of Leavenworth (Attachments: # 1 Exhibit
                    A)(Napolitano, Christopher) (Entered: 06/29/2021)
07/01/2021   326    NOTICE OF INTENT TO ISSUE SUBPOENA by Roger Golubski Subpoena
                    to be issued to: SCL Health (Attachments: # 1 Exhibit A)(Napolitano,
                    Christopher) (Entered: 07/01/2021)
07/01/2021   327    NOTICE OF INTENT TO ISSUE SUBPOENA by Lamonte McIntyre, Rose
                    Lee McIntyre Subpoena to be issued to: Dave & Buster's of Kansas, Inc.
                    (Attachments: # 1 Exhibit 1)(Pilate, Cheryl) (Entered: 07/01/2021)
07/02/2021   328    NOTICE OF SERVICE by Roger Golubski of Supplements to Second
                    Interrogatories and Third Requests For Production (Roach, Morgan) (Entered:
                    07/02/2021)


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07/06/2021   329    Consent MOTION for extension of time to file a motion to compel by
                    Plaintiffs Lamonte McIntyre, Rose Lee McIntyre (referred to Magistrate Judge
                    Kenneth G. Gale) (Abrams, Michael) (Entered: 07/06/2021)
07/06/2021   330    ORDER granting, for good cause, 329 Consent Motion for Extension of Time
                    to File Motion to Compel. Any such motion, if deemed necessary, shall be
                    filed on or before August 3, 2021. Signed by Magistrate Judge Kenneth G.
                    Gale on 7/6/21. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.) (df) (Entered: 07/06/2021)
07/07/2021   331    Unopposed MOTION for extension of time to file a Motion to Compel by
                    Defendant Roger Golubski (referred to Magistrate Judge Kenneth G. Gale)
                    (Napolitano, Christopher) (Entered: 07/07/2021)
07/07/2021   332    ORDER granting in part, for good cause, 331 Unopposed Motion for
                    Extension of Time to File Motion to Compel. Any such motion, if deemed
                    necessary, shall be filed on or before August 12, 2021. Signed by Magistrate
                    Judge Kenneth G. Gale on 7/7/21. (This is a TEXT ENTRY ONLY. There is
                    no.pdf document associated with this entry.) (df) (Entered: 07/07/2021)
07/08/2021   333    AMENDED NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of
                    taking deposition of Ruby Mitchell on July 21, 2021 (Abrams, Michael)
                    (Entered: 07/08/2021)
07/09/2021   334    Unopposed MOTION for extension of time for seven days to File Reply in
                    Support of Plaintiffs' Motion to Compel the Production of Documents from
                    Defendant Unified Government [Doc 308] by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre (referred to Magistrate Judge Kenneth G. Gale) (Pilate,
                    Cheryl) (Entered: 07/09/2021)
07/09/2021   335    ORDER granting, for good cause shown and as unopposed, 334 Motion for
                    Extension of Time until July 16, 2021, for Plaintiffs to file their Reply in
                    support of their 308 Motion to Compel the Production of Documents from
                    Defendant Unified Government. Signed by Magistrate Judge Kenneth G. Gale
                    on 7/9/21. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.) (df) (Entered: 07/09/2021)
07/12/2021   336    AMENDED NOTICE by Defendant Roger Golubski of taking deposition of
                    Kurt Krueger on July 20, 2021 (Gist, Matthew) (Entered: 07/12/2021)
07/13/2021   337    OBJECTION(S) to 322 Notice of Intent to Issue Subpoena to Centurion
                    Ministries, Inc. by Lamonte McIntyre, Rose Lee McIntyre. (Abrams, Michael)
                    (Entered: 07/13/2021)
07/14/2021   338    NOTICE by Defendant Roger Golubski of taking deposition of Niko Quinn on
                    August 31, 2021 (Gist, Matthew) (Entered: 07/14/2021)
07/14/2021   339    MOTION for Leave to file Issue Subpoena and Take the Deposition of Cecil
                    Brooks by Defendant Roger Golubski (referred to Magistrate Judge Kenneth
                    G. Gale) (Attachments: # 1 Exhibit 1)(Napolitano, Christopher) (Entered:
                    07/14/2021)
07/14/2021   340    Consent MOTION to Modify (Joint Motion) by Defendant Unified
                    Government of Wyandotte County and Kansas City, Kansas (referred to
                    Magistrate Judge Kenneth G. Gale) (Cooper, David) (Entered: 07/14/2021)


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07/15/2021   341    NOTICE OF SERVICE by Roger Golubski of Subpoena to Produce
                    Documents on SCL Health (Napolitano, Christopher) (Entered: 07/15/2021)
07/15/2021   342    NOTICE OF SERVICE by Roger Golubski of Subpoena to Produce
                    Documents on Centurion Ministries, Inc. (Napolitano, Christopher) (Entered:
                    07/15/2021)
07/15/2021   343    NOTICE OF SERVICE by Roger Golubski of Subpoena to Produce
                    Documents on Kansas City Kansas Public Schools (Napolitano, Christopher)
                    (Entered: 07/15/2021)
07/15/2021   344    NOTICE of Hearing: THIS IS AN OFFICIAL NOTICE FOR THIS
                    HEARING. 340 MOTION to Amend Scheduling Order. (This is a TEXT
                    ENTRY ONLY. There is no.pdf document associated with this entry.) Motion
                    Hearing set for 8/20/2021 at 10:00 AM in KC Courtroom (to be determined)
                    before Magistrate Judge Kenneth G. Gale. (df) (Entered: 07/15/2021)
07/15/2021   345    ORDER granting 339 Motion for leave to issue subpoena and depose Cecil
                    Brooks. Signed by Magistrate Judge Kenneth G. Gale on 7/15/21. (df)
                    (Entered: 07/15/2021)
07/15/2021   346    NOTICE by Defendant Roger Golubski of taking deposition of Cecil Brooks
                    on August 12, 2021 (Napolitano, Christopher) (Entered: 07/15/2021)
07/16/2021   347    EXHIBIT(S) IN SUPPORT of 340 MOTION to Amend Scheduling Order by
                    Defendant Unified Government of Wyandotte County and Kansas City,
                    Kansas (CORRECTION) (Cooper, David) (Entered: 07/16/2021)
07/16/2021   348    JOINT MOTION to Modify Scheduling Order by Defendant Unified
                    Government of Wyandotte County and Kansas City, Kansas. (referred to
                    Magistrate Judge Kenneth G. Gale) (Cooper, David) Modified on 7/16/2021 to
                    remove the second motion type. (mam) (Entered: 07/16/2021)
07/16/2021   349    ORDER finding as moot 340 Motion to Amend 284 Scheduling Order. An
                    amended motion has been filed. Signed by Magistrate Judge Kenneth G. Gale
                    on 7/16/21. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.) (df) (Entered: 07/16/2021)
07/16/2021   350    RETURN OF SERVICE of subpoena(s) filed by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre executed upon Kansas Commission on Peace Officers'
                    Standards and Training on 7/9/2021 by Personal Service (Abrams, Michael)
                    (Entered: 07/16/2021)
07/16/2021   351    Consent MOTION for extension of time to answer, object, or otherwise
                    respond to Defendant Golubski's discovery requests by Plaintiffs Lamonte
                    McIntyre, Rose Lee McIntyre (referred to Magistrate Judge Kenneth G. Gale)
                    (McMullin, Alana) (Entered: 07/16/2021)
07/16/2021   352    REPLY TO RESPONSE TO MOTION by Plaintiffs Lamonte McIntyre, Rose
                    Lee McIntyre re: 308 Motion to Compel (McMullin, Alana) (Entered:
                    07/16/2021)
07/16/2021   353    ORDER granting 351 Motion for Extension of Time to Answer, Object, or
                    Otherwise Respond to Discovery. Deadline extended until and including July
                    30, 2021. Signed by Magistrate Judge Kenneth G. Gale on 7/16/21. (This is a
                    TEXT ENTRY ONLY. There is no.pdf document associated with this entry.)


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                    (df) (Entered: 07/16/2021)
07/19/2021   354    NOTICE of Hearing: THIS IS AN OFFICIAL NOTICE FOR THIS
                    HEARING 348 MOTION to Amend Scheduling Order: (This is a TEXT
                    ENTRY ONLY. There is no.pdf document associated with this entry.) Motion
                    Hearing set for 8/20/2021 at 10:00 AM in KC Courtroom 440 before
                    Magistrate Judge Kenneth G. Gale. The Court notes that this hearing date/time
                    was previously set for the original 340 Joint Motion to Amend Scheduling
                    Order. That motion was found moot upon the filing of 348 the revised motion.
                    The hearing will, however, still be necessary as originally scheduled. (df)
                    (Entered: 07/19/2021)
07/19/2021   355    NOTICE of Deposition Duces Tecum by Unified Government of Wyandotte
                    County and Kansas City, Kansas (Cooper, David) (Attachment added: # 1
                    Subpoena to Testify at Deposition − Russell Fischer) (mls). (Entered:
                    07/19/2021)
07/20/2021   356    Amended NOTICE of Deposition Duces Tecum of Russell Fischer by Unified
                    Government of Wyandotte County and Kansas City, Kansas (Attachments: # 1
                    Subpoena − Russell Fischer)(Cooper, David) (Entered: 07/20/2021)
07/21/2021   357    RESPONSE to 337 Objection(s) by Plaintiffs to Non−Party Subpoena to
                    Centurion Ministries by Defendant Roger Golubski. (Attachments: # 1 Exhibit
                    1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(Napolitano, Christopher)
                    (Entered: 07/21/2021)
07/22/2021   358    AMENDED NOTICE by Defendant Roger Golubski of taking deposition of
                    Kristine Skahan on July 28, 2021 (Gist, Matthew) (Entered: 07/22/2021)
07/23/2021   359    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of Joe Robinson on August 30, 2021 (Pilate, Cheryl) (Entered:
                    07/23/2021)
07/23/2021   360    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of Terry Zeigler on September 10, 2021 (Pilate, Cheryl) (Entered:
                    07/23/2021)
07/26/2021   361    NOTICE OF INTENT TO ISSUE SUBPOENA by Unified Government of
                    Wyandotte County and Kansas City, Kansas Subpoena to be issued to:
                    Custodian of Records, Wyandotte County District Attorneys Office (Cooper,
                    David) (Entered: 07/26/2021)
07/26/2021   362    NOTICE of Deposition Duces Tecum of Dr. Jennifer Dysart and Notice of
                    Intent to Issue Subpoena Duces Tecum by Unified Government of Wyandotte
                    County and Kansas City, Kansas (Branson, Charles) (Entered: 07/26/2021)
07/26/2021   363    NOTICE OF INTENT TO ISSUE SUBPOENA by Lamonte McIntyre, Rose
                    Lee McIntyre Subpoena to be issued to: Rockhurst University (Attachments: #
                    1 Exhibit 1)(Pilate, Cheryl) (Entered: 07/26/2021)
07/27/2021   364    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of Neil Edgar, Jr. on September 13, 2021 (Pilate, Cheryl) (Entered:
                    07/27/2021)
07/28/2021   365    MEMORANDUM AND ORDER granting in part and denying in part 308
                    Motion to Compel. Signed by Magistrate Judge Kenneth G. Gale on 7/28/21.


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                    (df) (Entered: 07/28/2021)
07/30/2021   366    AMENDED NOTICE by Defendant Roger Golubski of taking deposition of
                    Kurt Krueger on August 26, 2021 (Attachments: # 1 Exhibit A)(Napolitano,
                    Christopher) (Entered: 07/30/2021)
07/30/2021   367    NOTICE by Defendant Roger Golubski of taking deposition of Rose McIntyre
                    on August 25, 2021 (Gist, Matthew) (Entered: 07/30/2021)
07/30/2021   368    NOTICE OF SERVICE by Lamonte McIntyre, Rose Lee McIntyre of Fourth
                    Amended Rule 26 Disclosures (Pilate, Cheryl) (Entered: 07/30/2021)
07/30/2021   369    CERTIFICATE OF SERVICE of Plaintiffs' Discovery Responses by Lamonte
                    McIntyre, Rose Lee McIntyre. (Abrams, Michael) (Entered: 07/30/2021)
08/02/2021   370    NOTICE OF INTENT TO ISSUE SUBPOENA by Lamonte McIntyre, Rose
                    Lee McIntyre Subpoena to be issued to: Savior of the World Seminary
                    (Attachments: # 1 Exhibit 1)(Pilate, Cheryl) (Entered: 08/02/2021)
08/03/2021   371    NOTICE by Defendant Roger Golubski of taking deposition of Dr. George
                    Woods on August 11, 2021 (Attachments: # 1 Exhibit A)(Napolitano,
                    Christopher) (Entered: 08/03/2021)
08/03/2021   372    Consent MOTION for extension of time to file a motion to compel by
                    Plaintiffs Lamonte McIntyre, Rose Lee McIntyre (referred to Magistrate Judge
                    Kenneth G. Gale) (Abrams, Michael) (Entered: 08/03/2021)
08/03/2021   373    RETURN OF SERVICE of subpoena(s) filed by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre executed upon Dave & Buster's of Kansas, Inc. on July 26,
                    2021 by Personal Service (Abrams, Michael) (Entered: 08/03/2021)
08/03/2021   374    NOTICE OF INTENT TO ISSUE SUBPOENA by Lamonte McIntyre, Rose
                    Lee McIntyre Subpoena to be issued to: Overland Park Police Department
                    (Attachments: # 1 Exhibit 1)(Pilate, Cheryl) (Entered: 08/03/2021)
08/03/2021   375    NOTICE OF INTENT TO ISSUE SUBPOENA by Lamonte McIntyre, Rose
                    Lee McIntyre Subpoena to be issued to: Wyandotte County District Attorney's
                    Office (Attachments: # 1 Exhibit 1)(Pilate, Cheryl) (Entered: 08/03/2021)
08/04/2021   376    ORDER granting, for good cause shown, 372 Consent Motion for Extension
                    of Time to File Motion to Compel. Any such motion, if deemed necessary,
                    shall be filed on or before August 13, 2021. Signed by Magistrate Judge
                    Kenneth G. Gale on 8/4/21. (This is a TEXT ENTRY ONLY. There is no.pdf
                    document associated with this entry.) (df) (Entered: 08/04/2021)
08/04/2021   377    NOTICE OF INTENT TO ISSUE SUBPOENA by Lamonte McIntyre, Rose
                    Lee McIntyre Subpoena to be issued to: Edwardsville Police Department
                    (Attachments: # 1 Exhibit 1)(Pilate, Cheryl) (Entered: 08/04/2021)
08/04/2021   378    NOTICE OF INTENT TO ISSUE SUBPOENA by Lamonte McIntyre, Rose
                    Lee McIntyre Subpoena to be issued to: Kansas Department of Labor
                    (Attachments: # 1 Exhibit 1)(Pilate, Cheryl) (Entered: 08/04/2021)
08/05/2021   379    RETURN OF SERVICE of subpoena(s) filed by Defendant Unified
                    Government of Wyandotte County and Kansas City, Kansas executed upon
                    Wyandotte County District Attorney's Office on August 2, 2021 by Certified
                    Mail (Branson, Charles) (Entered: 08/05/2021)

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08/05/2021   380    RETURN OF SERVICE of subpoena(s) filed by Defendant Unified
                    Government of Wyandotte County and Kansas City, Kansas executed upon
                    Russell Fischer, c/o Emma Freudenberger on July 26, 2021 by Certified Mail
                    (Branson, Charles) (Entered: 08/05/2021)
08/09/2021   381    NOTICE by Defendant Roger Golubski of taking deposition of Dan Clark on
                    September 9, 2021 (Napolitano, Christopher) (Entered: 08/09/2021)
08/09/2021   382    Unopposed MOTION for extension of time to file a Motion to Compel
                    Discovery by Defendant Roger Golubski (referred to Magistrate Judge
                    Kenneth G. Gale) (Napolitano, Christopher) (Entered: 08/09/2021)
08/09/2021   383    ORDER granting, for good cause shown, 382 Unopposed Motion for
                    Extension of Time to File Motion to Compel Discovery. Any such motion, if
                    deemed necessary, shall be filed on or before September 12, 2021. Signed by
                    Magistrate Judge Kenneth G. Gale on 8/9/21. (This is a TEXT ENTRY
                    ONLY. There is no.pdf document associated with this entry.) (df) (Entered:
                    08/09/2021)
08/13/2021   384    RETURN OF SERVICE of subpoena(s) filed by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre executed upon Joe D. Robinson on August 5, 2021 by
                    Personal Service (Abrams, Michael) (Entered: 08/13/2021)
08/13/2021   385    Consent MOTION for extension of time to file a motion to compel by
                    Plaintiffs Lamonte McIntyre, Rose Lee McIntyre (referred to Magistrate Judge
                    Kenneth G. Gale) (Abrams, Michael) (Entered: 08/13/2021)
08/13/2021   386    ORDER granting, for good cause and as unopposed, 385 Motion for Extension
                    of Time to File Motion to Compel. Any such motion, if deemed necessary,
                    shall be filed on or before August 30, 2021. Signed by Magistrate Judge
                    Kenneth G. Gale on 8/13/21. (This is a TEXT ENTRY ONLY. There is no.pdf
                    document associated with this entry.) (df) (Entered: 08/13/2021)
08/13/2021   387    CERTIFICATE OF SERVICE of Rule 26 Disclosures by Clyde Blood, James
                    L. Brown, Daphne R. Halderman(as Special Administrator of), W. K. Smith,
                    Dennis Ware. (Hayes, Tracy) (Entered: 08/13/2021)
08/13/2021   388    NOTICE OF SERVICE by Lamonte McIntyre, Rose Lee McIntyre of
                    Plaintiffs' Fifth Amended Rule 26 Disclosures (Pilate, Cheryl) (Entered:
                    08/13/2021)
08/17/2021   389    NOTICE OF SERVICE by Roger Golubski of Fourth Requests for Production
                    of Documents to Plaintiffs (Napolitano, Christopher) (Entered: 08/17/2021)
08/17/2021   390    NOTICE OF SERVICE by Lamonte McIntyre, Rose Lee McIntyre of
                    Plaintiffs' Sixth Amended Rule 26 Disclosures (Pilate, Cheryl) (Entered:
                    08/17/2021)
08/19/2021   391    NOTICE by Defendant Roger Golubski of taking deposition of Cecil Brooks
                    on September 7, 2021 (Napolitano, Christopher) (Entered: 08/19/2021)
08/19/2021   392    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 348
                    Motion to Modify, Motion to Amend Scheduling Order (Abrams, Michael)
                    (Entered: 08/19/2021)
08/19/2021   393


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                    MOTION for Writ of Habeas Corpus ad testificandum by Plaintiffs Lamonte
                    McIntyre, Rose Lee McIntyre (referred to Magistrate Judge Kenneth G. Gale)
                    (Attachments: # 1 Ex. 1)(Pilate, Cheryl) (Entered: 08/19/2021)
08/20/2021   394    MOTION for Order Directing United States Marshalls to Serve Subpoena by
                    Defendant Roger Golubski (referred to Magistrate Judge Kenneth G. Gale)
                    (Napolitano, Christopher) (Entered: 08/20/2021)
08/20/2021   395    ORDER granting 394 Motion for Order Directing Service. Signed by
                    Magistrate Judge Kenneth G. Gale on 8/20/21. (This is a TEXT ENTRY
                    ONLY. There is no.pdf document associated with this entry.) (df) (Entered:
                    08/20/2021)
08/20/2021          MINUTE ENTRY for proceedings held before Magistrate Judge Kenneth G.
                    Gale: MOTION HEARING held on 8/20/2021 re 348 Joint MOTION to
                    Modify Scheduling Order filed by Unified Government of Wyandotte County
                    and Kansas City, Kansas. (Court Reporter Nancy Wiss.) (This is a TEXT
                    ENTRY ONLY. There is no.pdf document associated with this entry.) (df)
                    (Entered: 08/20/2021)
08/20/2021   396    *** PLEASE DISREGARD. SEE 397 FOR COMPLETE FILING***
                    SUPPLEMENT to 394 MOTION for Order Directing United States Marshalls
                    to Serve Subpoena by Defendant Roger Golubski. (Napolitano, Christopher)
                    Modified on 8/20/2021 (ca). (Entered: 08/20/2021)
08/20/2021   397    SUPPLEMENT to 394 MOTION for Order Directing United States Marshalls
                    to Serve Subpoena by Defendant Roger Golubski. (Napolitano, Christopher)
                    (Entered: 08/20/2021)
08/20/2021   398    MINUTE ENTRY for proceedings held before Magistrate Judge Kenneth G.
                    Gale: MOTION HEARING held on 8/20/2021 re 394 MOTION for Order
                    Directing United States Marshalls to Serve Subpoena filed by Roger Golubski.
                    (Court Reporter Nancy Wiss.) (This is a TEXT ENTRY ONLY. There is
                    no.pdf document associated with this entry.) (yh) (Entered: 08/20/2021)
08/23/2021   399    FOURTH REVISED SCHEDULING ORDER: Estimated trial time 20 days.
                    Jury Trial set for 11/7/2022 at 09:00 AM in KC Courtroom 440 (JWL/KHV)
                    before District Judge Kathryn H. Vratil. Final Pretrial Conference set for
                    1/13/2022 at 11:00 AM by telephone (KGG − CONFERENCE LINE
                    1−888−363−4749 ACCESS CODE 5407703) before Magistrate Judge
                    Kenneth G. Gale. Status Conference set for 11/18/2021 at 11:00 AM by
                    telephone (KGG − CONFERENCE LINE 1−888−363−4749 ACCESS CODE
                    5407703) before Magistrate Judge Kenneth G. Gale). ORDER granting in part
                    348 Motion to Amend Scheduling Order. Signed by Magistrate Judge Kenneth
                    G. Gale on 8/23/21. (df) (Entered: 08/23/2021)
08/23/2021   400    CERTIFICATE OF SERVICE of documents identified as
                    GOLUBSKI000294−298 by Roger Golubski. (Napolitano, Christopher)
                    (Entered: 08/23/2021)
08/24/2021   401    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of W.K. Smith on September 15, 2021 (Abrams, Michael) (Entered:
                    08/24/2021)
08/25/2021   402


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                    NOTICE OF SERVICE by Roger Golubski of Blackberry Corporation
                    (Napolitano, Christopher) (Entered: 08/25/2021)
08/25/2021   403    NOTICE OF SERVICE by Roger Golubski of Kansas Department for
                    Children and Families (Napolitano, Christopher) (Entered: 08/25/2021)
08/25/2021   404    NOTICE OF SERVICE by Roger Golubski of Dan Clark (Napolitano,
                    Christopher) (Entered: 08/25/2021)
08/25/2021   405    RETURN OF SERVICE of subpoena(s) filed by Defendant Unified
                    Government of Wyandotte County and Kansas City, Kansas executed upon
                    Dr. Jennifer E. Dysart, c/o Yasmin Dagne on August 2, 2021 by Certified Mail
                    (Branson, Charles) (Entered: 08/25/2021)
08/25/2021   406    AMENDED NOTICE by Defendant Unified Government of Wyandotte
                    County and Kansas City, Kansas of taking deposition of Dr. Jennifer E. Dysart
                    on September 23, 2021 (Branson, Charles) (Entered: 08/25/2021)
08/26/2021   407    Consent MOTION for extension of time to file a motion to compel by
                    Plaintiffs Lamonte McIntyre, Rose Lee McIntyre (referred to Magistrate Judge
                    Kenneth G. Gale) (Abrams, Michael) (Entered: 08/26/2021)
08/26/2021   408    ORDER granting, for good cause shown, 407 Consent Motion for Extension
                    of Time to File Motion to Compel. Any such motion, if deemed necessary,
                    shall be filed on or before September 13, 2021. Signed by Magistrate Judge
                    Kenneth G. Gale on 8/26/21. (This is a TEXT ENTRY ONLY. There is no.pdf
                    document associated with this entry.) (df) (Entered: 08/26/2021)
08/27/2021   409    RETURN OF SERVICE of subpoena(s) filed by Defendant Roger Golubski.
                    Executed upon Cecil A. Brooks on 8/25/2021 by Personal Service (USM 285).
                    (lb) (Entered: 08/27/2021)
08/27/2021   410    MOTION to Seal Document 409 Return of Service of Subpoena by Defendant
                    Roger Golubski (referred to Magistrate Judge Kenneth G. Gale) (Napolitano,
                    Christopher) (Entered: 08/27/2021)
08/27/2021   411    NOTICE by Defendant Roger Golubski of taking deposition of Centurion
                    Ministries, Inc. on October 7, 2021 (Attachments: # 1 Exhibit A, # 2 Exhibit
                    B)(Napolitano, Christopher) (Entered: 08/27/2021)
08/27/2021   412    NOTICE OF INTENT TO ISSUE SUBPOENA by Roger Golubski Subpoena
                    to be issued to: James McCloskey (Attachments: # 1 Exhibit A)(Napolitano,
                    Christopher) (Entered: 08/27/2021)
08/27/2021   413    NOTICE by Defendant Roger Golubski of taking deposition of James
                    McCloskey on October 8, 2021 (Attachments: # 1 Exhibit A, # 2 Exhibit
                    B)(Napolitano, Christopher) (Entered: 08/27/2021)
08/30/2021   414    ORDER denying 393 Motion for Writ of Habeas Corpus ad testificandum. The
                    requested relief is beyond the authority of this Court. 28 U.S.C. 2241. Signed
                    by Magistrate Judge Kenneth G. Gale on 8/30/21. (This is a TEXT ENTRY
                    ONLY. There is no.pdf document associated with this entry.) (df) (Entered:
                    08/30/2021)
08/30/2021   415    ORDER granting 410 Motion to Seal Document 409 Return of Service of
                    Subpoena. Signed by Magistrate Judge Kenneth G. Gale on 8/30/21. (This is a


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                    TEXT ENTRY ONLY. There is no.pdf document associated with this entry.)
                    (df) (Entered: 08/30/2021)
08/30/2021   416    NOTICE OF INTENT TO ISSUE SUBPOENA by Roger Golubski Subpoena
                    to be issued to: Blackberry Corporation (Attachments: # 1 Exhibit
                    A)(Napolitano, Christopher) (Entered: 08/30/2021)
08/30/2021   417    AMENDED NOTICE by Defendant Roger Golubski of taking deposition of
                    Blackberry Corporation on September 8, 2021 (Attachments: # 1 Exhibit A, #
                    2 Exhibit B)(Napolitano, Christopher) (Entered: 08/30/2021)
09/01/2021   418    CERTIFICATE OF SERVICE of Defendant Golubski's 5th Request for
                    Production to Plaintiffs, Golubski's documents GOLUBSKI000299−300, and
                    documents provided by Blackberry by Roger Golubski. (Napolitano,
                    Christopher) (Entered: 09/01/2021)
09/01/2021   419    RETURN OF SERVICE of subpoena(s) filed by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre executed upon Rockhurst University on 8/23/2021 by
                    Personal Service (Abrams, Michael) (Entered: 09/01/2021)
09/01/2021   420    RETURN OF SERVICE of subpoena(s) filed by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre executed upon Savior of the World Seminary on 8/24/2021
                    by Personal Service (Abrams, Michael) (Entered: 09/01/2021)
09/01/2021   421    RETURN OF SERVICE of subpoena(s) filed by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre executed upon Overland Park Police Department on
                    8/24/2021 by Personal Service (Abrams, Michael) (Entered: 09/01/2021)
09/01/2021   422    RETURN OF SERVICE of subpoena(s) filed by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre executed upon Wyandotte County District Attorney's
                    Office on 8/24/2021 by Personal Service (Abrams, Michael) (Entered:
                    09/01/2021)
09/01/2021   423    RETURN OF SERVICE of subpoena(s) filed by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre executed upon Edwardsville Police Department on
                    8/24/2021 by Personal Service (Abrams, Michael) (Entered: 09/01/2021)
09/01/2021   424    RETURN OF SERVICE of subpoena(s) filed by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre executed upon Kansas Department of Labor on 8/24/2021
                    by Personal Service (Abrams, Michael) (Entered: 09/01/2021)
09/03/2021   425    NOTICE OF INTENT TO ISSUE SUBPOENA by Roger Golubski Subpoena
                    to be issued to: Blackberry Corporation (Attachments: # 1 Exhibit
                    A)(Napolitano, Christopher) (Entered: 09/03/2021)
09/03/2021   426    AMENDED NOTICE by Defendant Roger Golubski of taking deposition of
                    Blackberry Corporation on September 8, 2021 (Attachments: # 1 Exhibit A, #
                    2 Exhibit B)(Napolitano, Christopher) (Entered: 09/03/2021)
09/13/2021   427    MOTION to Compel Production of Documents and Answers from Defendant
                    Roger Golubski by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre (referred
                    to Magistrate Judge Kenneth G. Gale) (McMullin, Alana) (Entered:
                    09/13/2021)
09/13/2021   428    MEMORANDUM IN SUPPORT of 427 MOTION to Compel Production of
                    Documents and Answers from Defendant Roger Golubski by Plaintiffs


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                    Lamonte McIntyre, Rose Lee McIntyre (Attachments: # 1 Exhibit 1, # 2
                    Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit
                    7)(McMullin, Alana) (Additional attachment(s) added on 9/14/2021: # 8
                    Exhibit 1 − Redacted, # 9 Exhbit 3 − Redacted, # 10 Exhibit 6 − Redacted)
                    (msb). (Entered: 09/13/2021)
09/14/2021   429    DOCKET ANNOTATION: Please be advised that the redacted exhibits were
                    attached to docket entry 428 Memorandum in Support of Motion and to this
                    entry for noticing purposes only. (Attachments: # 1 Exhibit, # 2 Exhibit) (msb)
                    (Entered: 09/14/2021)
09/15/2021   430    CERTIFICATE OF SERVICE of Plaintiffs' Responses and Objections to
                    Defendant Golubski's Fourth Requests for Production of Documents by
                    Lamonte McIntyre, Rose Lee McIntyre. (McMullin, Alana) (Entered:
                    09/15/2021)
09/24/2021   431    Consent MOTION for Extension of Time to File Response as to 427 MOTION
                    to Compel Production of Documents and Answers from Defendant Roger
                    Golubski by Defendant Roger Golubski (referred to Magistrate Judge Kenneth
                    G. Gale) (Roach, Morgan) (Entered: 09/24/2021)
09/24/2021   432    ORDER granting 431 Consent Motion for Extension of Time to File Response
                    re 427 MOTION to Compel Production of Documents and Answers from
                    Defendant Roger Golubski. Response deadline extended to 10/11/2021.
                    Signed by Magistrate Judge Kenneth G. Gale on 9/24/21. (This is a TEXT
                    ENTRY ONLY. There is no.pdf document associated with this entry.) (df)
                    (Entered: 09/24/2021)
09/27/2021   433    AMENDED NOTICE by Defendant Roger Golubski of taking deposition of
                    James McCloskey on October 7, 2021 (Attachments: # 1 Exhibit
                    A)(Napolitano, Christopher) (Entered: 09/27/2021)
09/28/2021   434    NOTICE OF INTENT TO ISSUE SUBPOENA by Roger Golubski Subpoena
                    to be issued to: James McCloskey (Attachments: # 1 Exhibit A)(Napolitano,
                    Christopher) (Entered: 09/28/2021)
09/28/2021   435    AMENDED NOTICE by Defendant Roger Golubski of taking deposition of
                    James McCloskey on October 13, 2021 (Attachments: # 1 Exhibit
                    A)(Napolitano, Christopher) (Entered: 09/28/2021)
09/28/2021   436    AMENDED NOTICE by Defendant Roger Golubski of taking deposition of
                    Centurion Ministries, Inc. on October 13, 2021 (Attachments: # 1 Exhibit A, #
                    2 Exhibit B)(Napolitano, Christopher) (Entered: 09/28/2021)
09/29/2021   437    NOTICE OF WITHDRAWAL OF APPEARANCE by attorney Yasmin
                    Dagne as to All Plaintiffs (Abrams, Michael) (Entered: 09/29/2021)
10/01/2021   438    NOTICE OF SERVICE by Lamonte McIntyre, Rose Lee McIntyre of
                    Plaintiffs' Seventh Amended Rule 26(a) Disclosures (Pilate, Cheryl) (Entered:
                    10/01/2021)
10/04/2021   439    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of Neil Edgar, Jr. on October 26, 2021 (Pilate, Cheryl) (Entered:
                    10/04/2021)
10/04/2021   440


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                    AMENDED NOTICE by Defendants Clyde Blood, James L. Brown, John
                    Does 1−10, Roger Golubski, Daphne R. Halderman, Daphne R. Halderman,
                    Daphne R. Halderman, Roger Roe 1−10, W. K. Smith, Unified Government of
                    Wyandotte County and Kansas City, Kansas, Dennis Ware of taking
                    deposition of Niko Quinn on October 19, 2021 (Napolitano, Christopher)
                    (Entered: 10/04/2021)
10/05/2021   441    AMENDED NOTICE by Defendants Clyde Blood, James L. Brown, John
                    Does 1−10, Roger Golubski, Daphne R. Halderman, Daphne R. Halderman,
                    Daphne R. Halderman, Roger Roe 1−10, W. K. Smith, Unified Government of
                    Wyandotte County and Kansas City, Kansas, Dennis Ware of taking
                    deposition of Niko Quinn on October 19, 2021 (Napolitano, Christopher)
                    (Entered: 10/05/2021)
10/06/2021   442    NOTICE OF SERVICE by Roger Golubski of Niko Quinn (aka Niko Jackson)
                    (Napolitano, Christopher) (Entered: 10/06/2021)
10/08/2021   443    CERTIFICATE OF SERVICE of Plaintiffs' Discovery Responses by Lamonte
                    McIntyre, Rose Lee McIntyre. (McMullin, Alana) (Entered: 10/08/2021)
10/11/2021   444    MOTION to Compel by Defendant Roger Golubski (referred to Magistrate
                    Judge Kenneth G. Gale) (Napolitano, Christopher) (Entered: 10/11/2021)
10/11/2021   445    MEMORANDUM IN SUPPORT of 444 MOTION to Compel by Defendant
                    Roger Golubski (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                    Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7)(Napolitano, Christopher)
                    (Entered: 10/11/2021)
10/12/2021   446    RESPONSE by Defendant Roger Golubski re 427 Motion to Compel (Roach,
                    Morgan) (Entered: 10/12/2021)
10/13/2021   447    AMENDED NOTICE by Defendants Clyde Blood, James L. Brown, John
                    Does 1−10, Roger Golubski, Daphne R. Halderman, Daphne R. Halderman,
                    Daphne R. Halderman, Roger Roe 1−10, W. K. Smith, Unified Government of
                    Wyandotte County and Kansas City, Kansas, Dennis Ware of taking
                    deposition of Niko Quinn on November 5, 2021 (Napolitano, Christopher)
                    (Entered: 10/13/2021)
10/14/2021   448    CERTIFICATE OF SERVICE of Defendant Golubski's documents identified
                    as GOLUBSKI000301−384 by Roger Golubski. (Napolitano, Christopher)
                    (Entered: 10/14/2021)
10/14/2021   449    AMENDED NOTICE by Defendants Clyde Blood, James L. Brown, John
                    Does 1−10, Roger Golubski, Daphne R. Halderman, Daphne R. Halderman,
                    Daphne R. Halderman, Roger Roe 1−10, W. K. Smith, Unified Government of
                    Wyandotte County and Kansas City, Kansas, Dennis Ware of taking
                    deposition of Niko Quinn on November 3, 2021 (Napolitano, Christopher)
                    (Entered: 10/14/2021)
10/15/2021   450    NOTICE by Defendant Roger Golubski of taking deposition of Freda Quinn
                    on November 2, 2021 (Napolitano, Christopher) (Entered: 10/15/2021)
10/15/2021   451    CERTIFICATE OF SERVICE of Defendant Golubski's 6th Requests for
                    Production to Plaintiffs by Roger Golubski. (Napolitano, Christopher)
                    (Entered: 10/15/2021)


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10/18/2021   452    NOTICE OF SERVICE by Lamonte McIntyre, Rose Lee McIntyre of Eighth
                    Amended Rule 26 Disclosures (Pilate, Cheryl) (Entered: 10/18/2021)
10/18/2021   453    NOTICE OF SERVICE by Unified Government of Wyandotte County and
                    Kansas City, Kansas of Defendant's First Discovery Requests to Plaintiff
                    (Branson, Charles) (Entered: 10/18/2021)
10/19/2021   454    RETURN OF SERVICE of subpoena(s) filed by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre executed upon Neil E. Edgar, Jr. on 10/13/2021 by
                    Personal Service (Abrams, Michael) (Entered: 10/19/2021)
10/19/2021   455    MOTION for attorney Grace Ann Paras to appear pro hac vice ( Pro hac vice
                    fee $50, Internet Payment Receipt Number AKSDC−5614272.) by Plaintiffs
                    Lamonte McIntyre, Rose Lee McIntyre (referred to Magistrate Judge Kenneth
                    G. Gale) (Attachments: # 1 Affidavit of Grace Ann Paras, # 2 ECF
                    Registration Form)(Abrams, Michael) (Entered: 10/19/2021)
10/19/2021   456    ORDER granting 455 Motion to Appear Pro Hac Vice of Grace Ann Paras for
                    Lamonte McIntyre and Rose Lee McIntyre pursuant to D. Kan. Rule 83.5.4 for
                    purposes of this case only. Signed by Magistrate Judge Kenneth G. Gale on
                    10/19/21. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.) (df) (Entered: 10/19/2021)
10/19/2021   457    NOTICE OF SERVICE by Roger Golubski of Freda Quinn (Napolitano,
                    Christopher) (Entered: 10/19/2021)
10/21/2021   458    CERTIFICATE OF SERVICE of Defendant Officers' First Request for
                    Production of Documents to Plaintiffs by Clyde Blood, James L. Brown,
                    Steven Culp, Daphne R. Halderman(as Special Administrator of), W. K.
                    Smith, Dennis Ware. (Hayes, Tracy) (Entered: 10/21/2021)
10/22/2021   459    Consent MOTION for Extension of Time to File Reply as to 427 MOTION to
                    Compel Production of Documents and Answers from Defendant Roger
                    Golubski by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre (referred to
                    Magistrate Judge Kenneth G. Gale) (McMullin, Alana) (Entered: 10/22/2021)
10/22/2021   460    Consent MOTION for Extension of Time to File Response as to 444 MOTION
                    to Compel by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre (referred to
                    Magistrate Judge Kenneth G. Gale) (McMullin, Alana) (Entered: 10/22/2021)
10/22/2021   461    MOTION for attorney Sona R. Shah to appear pro hac vice ( Pro hac vice fee
                    $50, Internet Payment Receipt Number AKSDC−5617785.) by Plaintiffs
                    Lamonte McIntyre, Rose Lee McIntyre (referred to Magistrate Judge Kenneth
                    G. Gale) (Attachments: # 1 Affidavit of Sona R. Shah, # 2 ECF Registration
                    Form)(Abrams, Michael) (Entered: 10/22/2021)
10/25/2021   462    ORDER granting, for good cause and as unopposed, 459 Motion for Extension
                    of Time to File Reply as to 427 MOTION to Compel Production of
                    Documents (extended to 11/9/21) and 460 Consent MOTION for Extension of
                    Time to File Response as to 444 MOTION to Compel (extended to 11/8/21).
                    ORDER also granting 461 MOTION for attorney Sona R. Shah to appear pro
                    hac vice (pro hac vice fee $50, Internet Payment Receipt Number
                    AKSDC−5617785) for Lamonte McIntyre and Rose Lee McIntyre pursuant to
                    D. Kan. Rule 83.5.4 for purposes of this case only. Signed by Magistrate Judge
                    Kenneth G. Gale on 10/25/21. (This is a TEXT ENTRY ONLY. There is


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                    no.pdf document associated with this entry.) (df) (Entered: 10/25/2021)
10/25/2021   463    Unopposed MOTION to Modify Scheduling Order (Unopposed) by Defendant
                    Unified Government of Wyandotte County and Kansas City, Kansas (referred
                    to Magistrate Judge Kenneth G. Gale) (Cooper, David) Modified motion event
                    on 10/25/2021 (msb). (Entered: 10/25/2021)
10/25/2021   464    EXPERT WITNESS DESIGNATION of Defendant Officers Non−Retained
                    Experts by Clyde Blood, James L. Brown, Daphne R. Halderman(as Special
                    Administrator of), W. K. Smith, Dennis Ware.(Hayes, Tracy) (Entered:
                    10/25/2021)
10/25/2021   465    EXPERT WITNESS DESIGNATION by Roger Golubski.(Napolitano,
                    Christopher) (Entered: 10/25/2021)
10/25/2021   466    CERTIFICATE OF SERVICE of documents related to expert witness
                    disclosures by Roger Golubski. (Napolitano, Christopher) (Entered:
                    10/25/2021)
10/25/2021   467    EXPERT WITNESS DESIGNATION by Unified Government of Wyandotte
                    County and Kansas City, Kansas.(Cooper, David) (Entered: 10/25/2021)
10/26/2021   468    CERTIFICATE OF SERVICE of Additional Documents Disclosed Under
                    Rule 26 by Lamonte McIntyre, Rose Lee McIntyre. (McMullin, Alana)
                    (Entered: 10/26/2021)
10/28/2021   469    NOTICE of Hearing: THIS IS AN OFFICIAL NOTICE FOR THIS
                    HEARING regarding 463 Unopposed MOTION to Amend Scheduling Order.
                    (This is a TEXT ENTRY ONLY. There is no.pdf document associated with
                    this entry.) Motion Hearing set for 11/4/2021 at 03:00 PM by telephone (KGG
                    − CONFERENCE LINE 1−888−363−4749 ACCESS CODE 5407703) before
                    Magistrate Judge Kenneth G. Gale. (df) (Entered: 10/28/2021)
11/02/2021   470    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of Ronald Miller on November 24, 2021 (Pilate, Cheryl) (Entered:
                    11/02/2021)
11/02/2021   471    AMENDED NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of
                    taking deposition of Terry Zeigler on November 22, 2021 (Pilate, Cheryl)
                    (Entered: 11/02/2021)
11/04/2021   472    CERTIFICATE OF SERVICE of Plaintiffs' Discovery Requests by Lamonte
                    McIntyre, Rose Lee McIntyre. (McMullin, Alana) (Entered: 11/04/2021)
11/04/2021   473    NOTICE OF CANCELLED HEARING: Status Conference cancelled. On
                    11/4/21, the Court held a telephone hearing on the pending motion to amend
                    the Scheduling Order. Issues relating to the status of the case were address and
                    discussed at that time, making the 11/18/21 status conference unnecessary.
                    (This is a TEXT ENTRY ONLY. There is no.pdf document associated with
                    this entry.) (df) (Entered: 11/04/2021)
11/04/2021          MINUTE ENTRY for proceedings held before Magistrate Judge Kenneth G.
                    Gale: MOTION HEARING held on 11/4/2021 re 463 MOTION to Amend
                    Scheduling Order filed by Unified Government of Wyandotte County and
                    Kansas City, Kansas. (Tape #2:59 − 3:51 p.m.) (This is a TEXT ENTRY
                    ONLY. There is no.pdf document associated with this entry.) (df) (Entered:


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                    11/04/2021)
11/05/2021   474    SCHEDULING ORDER: Estimated trial time 4 weeks. Discovery deadline
                    1/31/2022. Dispositive motion deadline 3/11/2022. Proposed Pretrial Order
                    due by 2/1/2022. Jury Trial set for 11/7/2022 at 09:00 AM in KC Room 529
                    (KHV) before District Judge Kathryn H. Vratil. Final Pretrial Conference set
                    for 2/8/2022 at 02:00 PM by telephone (KGG − CONFERENCE LINE
                    1−888−363−4749 ACCESS CODE 5407703) before Magistrate Judge
                    Kenneth G. Gale. ORDER granting 463 Motion to Amend Scheduling Order.
                    Signed by Magistrate Judge Kenneth G. Gale on 11/5/21. (df) (Entered:
                    11/05/2021)
11/08/2021   475    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 444
                    Motion to Compel (McMullin, Alana) (Entered: 11/08/2021)
11/08/2021   476    AMENDED NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of
                    taking deposition of Rule 30(b)(6) of Unified Government of Wyandotte
                    County and Kansas City, Kansas on December 8, 2021 and December 9, 2021
                    (McMullin, Alana) (Entered: 11/08/2021)
11/09/2021   477    NOTICE by Defendant Roger Golubski of taking deposition of Cricket
                    Wireless, LLC on December 13, 2021 (Attachments: # 1 Exhibit A, # 2
                    Exhibit B)(Napolitano, Christopher) (Entered: 11/09/2021)
11/09/2021   478    REPLY TO RESPONSE TO MOTION by Plaintiffs Lamonte McIntyre, Rose
                    Lee McIntyre re: 427 Motion to Compel (Attachments: # 1 Exhibit
                    8)(McMullin, Alana) (Entered: 11/09/2021)
11/15/2021   479    CERTIFICATE OF SERVICE of documents provided by Centurion
                    Ministries, Inc. identified as CENTURION MINISTRIES 000001−002343 by
                    Roger Golubski. (Napolitano, Christopher) (Entered: 11/15/2021)
11/15/2021   480    CERTIFICATE OF SERVICE of Plaintiffs' Discovery Response to Defendant
                    Golubski's Sixth Request for Production of Documentss by Lamonte
                    McIntyre, Rose Lee McIntyre. (McMullin, Alana) (Entered: 11/15/2021)
11/16/2021   481    RETURN OF SERVICE of subpoena(s) filed by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre executed upon Terry Zeigler on 11/8/2021 by Personal
                    Service (Abrams, Michael) (Entered: 11/16/2021)
11/16/2021   482    RETURN OF SERVICE of subpoena(s) filed by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre executed upon Ronald Miller on 11/8/2021 by Personal
                    Service (Abrams, Michael) (Entered: 11/16/2021)
11/17/2021   483    CERTIFICATE OF SERVICE of Plaintiffs' Discovery Responses to
                    Defendant Unified Government's Discovery Requests by Lamonte McIntyre,
                    Rose Lee McIntyre. (McMullin, Alana) (Entered: 11/17/2021)
11/19/2021   484    AMENDED NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of
                    taking deposition of Ronald Miller on 12/20/2021 (McMullin, Alana)
                    (Entered: 11/19/2021)
11/19/2021   485    AMENDED NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of
                    taking deposition of Terry Zeigler on 12/6/2021 (McMullin, Alana) (Entered:
                    11/19/2021)



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11/19/2021   486    CERTIFICATE OF SERVICE of Plaintiffs' Discovery Responses by Lamonte
                    McIntyre, Rose Lee McIntyre. (McMullin, Alana) (Entered: 11/19/2021)
11/22/2021   487    REPLY TO RESPONSE TO MOTION by Defendant Roger Golubski re: 444
                    Motion to Compel (Napolitano, Christopher) (Entered: 11/22/2021)
11/24/2021   488    MEMORANDUM AND ORDER granting in part and denying in part 427
                    Motion to Compel. Signed by Magistrate Judge Kenneth G. Gale on 11/24/21.
                    (df) (Entered: 11/24/2021)
11/24/2021   489    NOTICE OF SERVICE by Lamonte McIntyre, Rose Lee McIntyre of Ninth
                    Amended Rule 26 Disclosures (Pilate, Cheryl) (Entered: 11/24/2021)
11/29/2021   490    EXPERT WITNESS DESIGNATION by Clyde Blood, James L. Brown,
                    Daphne R. Halderman(as Special Administrator of), W. K. Smith, Dennis
                    Ware.(Hayes, Tracy) (Entered: 11/29/2021)
11/29/2021   491    CERTIFICATE OF SERVICE of Defendant Officers' Responses and
                    Objections to Plaintiffs' Fourth Request for Production by Clyde Blood, James
                    L. Brown, Daphne R. Halderman(as Special Administrator of), W. K. Smith,
                    Dennis Ware. (Hayes, Tracy) (Entered: 11/29/2021)
11/29/2021   492    Unopposed MOTION to Amend Scheduling Order to Modify the Expert
                    Disclosure Deadline by Defendant Roger Golubski (referred to Magistrate
                    Judge Kenneth G. Gale) (Napolitano, Christopher) (Entered: 11/29/2021)
11/29/2021   493    ORDER granting 492 Unopposed Motion to Modify Expert Disclosure
                    Deadline contained in 474 Scheduling Order. Defendant Golubski's expert
                    disclosure deadline is hereby extended from November 29, 2021, to December
                    1, 2021. All other deadlines remain unchanged. Signed by Magistrate Judge
                    Kenneth G. Gale on 11/29/21. (This is a TEXT ENTRY ONLY. There is
                    no.pdf document associated with this entry.) (df) (Entered: 11/29/2021)
11/29/2021   494    Supplemental EXPERT WITNESS DESIGNATION by Unified Government
                    of Wyandotte County and Kansas City, Kansas.(Cooper, David) (Entered:
                    11/29/2021)
12/01/2021   495    Amended EXPERT WITNESS DESIGNATION by Roger
                    Golubski.(Napolitano, Christopher) (Entered: 12/01/2021)
12/02/2021   496    NOTICE OF INTENT TO ISSUE SUBPOENA by Roger Golubski Subpoena
                    to be issued to: Office of the District Attorney, 29th Judicial District of Kansas
                    (Attachments: # 1 Exhibit A)(Napolitano, Christopher) (Entered: 12/02/2021)
12/02/2021   497    RETURN OF SERVICE of subpoena(s) filed by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre executed upon Terry Zeigler on 11/23/2021 by Personal
                    Service (Abrams, Michael) (Entered: 12/02/2021)
12/02/2021   498    RETURN OF SERVICE of subpoena(s) filed by Plaintiffs Lamonte McIntyre,
                    Rose Lee McIntyre executed upon Ronald Miller on 11/23/2021 by Personal
                    Service (Abrams, Michael) (Entered: 12/02/2021)
12/03/2021   499    AMENDED NOTICE by Defendant Roger Golubski of taking deposition of
                    Cricket Wireless, LLC on January 10, 2022 (Attachments: # 1 Exhibit A, # 2
                    Exhibit B)(Napolitano, Christopher) (Entered: 12/03/2021)
12/03/2021   500

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                    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of Tarik Khatib on December 14, 2021 (McMullin, Alana)
                    (Entered: 12/03/2021)
12/05/2021   501    MOTION for Protective Order re 30(b)(6) Deposition and, MOTION to
                    Quash same ( Response deadline 12/20/2021) by Defendant Unified
                    Government of Wyandotte County and Kansas City, Kansas (referred to
                    Magistrate Judge Kenneth G. Gale) (Attachments: # 1 Emails setting Meet &
                    Confer, # 2 Email with Objection & Analysis)(Cooper, David) (Entered:
                    12/05/2021)
12/07/2021   502    AMENDED NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of
                    taking deposition of Rule 30(b)(6) of Unified Government of Wyandotte
                    County and Kansas City, Kansas on December 9, 2021 (McMullin, Alana)
                    (Entered: 12/07/2021)
12/15/2021   503    NOTICE OF SERVICE by Roger Golubski of Deposition Notice and
                    Subpoena to Cricket Wireless, LLC (Napolitano, Christopher) (Entered:
                    12/15/2021)
12/15/2021   504    MEMORANDUM AND ORDER granting in part and denying in part 444
                    Motion to Compel. Signed by Magistrate Judge Kenneth G. Gale on 12/15/21.
                    (df) (Entered: 12/15/2021)
12/15/2021   505    NOTICE OF SERVICE by Roger Golubski of Subpoena on Wyandotte
                    County District Attorney (Napolitano, Christopher) (Entered: 12/15/2021)
12/17/2021   506    CERTIFICATE OF SERVICE of Defendant Golubski's First Amended Rule
                    26(a)(1) Disclosures and Second Interrogatories to Plaintiffs by Roger
                    Golubski. (Napolitano, Christopher) (Entered: 12/17/2021)
12/17/2021   507    NOTICE OF SERVICE by Unified Government of Wyandotte County and
                    Kansas City, Kansas of Discovery Responses (Branson, Charles) (Entered:
                    12/17/2021)
12/20/2021   508    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 501
                    Motion for Protective Order,, Motion to Quash, (McMullin, Alana) (Entered:
                    12/20/2021)
12/22/2021   509    CERTIFICATE OF SERVICE of Second Supplemental Rule 26 Disclosures
                    by Clyde Blood, James L. Brown, Steven Culp, W. K. Smith, Dennis Ware.
                    (Hayes, Tracy) (Entered: 12/22/2021)
12/22/2021   510    NOTICE OF SERVICE by Lamonte McIntyre, Rose Lee McIntyre of
                    Plaintiffs' Tenth Amended Rule 26(a) Disclosures (Pilate, Cheryl) (Entered:
                    12/22/2021)
12/22/2021   511    NOTICE OF SERVICE by Unified Government of Wyandotte County and
                    Kansas City, Kansas of Third Supplemental Rule 26(a)(1) Disclosures
                    (Cooper, David) (Entered: 12/22/2021)
12/23/2021   512    NOTICE OF SERVICE by Roger Golubski of Responses and Objections to
                    Plaintiffs' Third Interrogatories and Fourth Requests for Production, et. al.
                    (Napolitano, Christopher) (Entered: 12/23/2021)
12/28/2021   513


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                    NOTICE OF SERVICE by Lamonte McIntyre, Rose Lee McIntyre of
                    Plaintiffs' Fifth Requests for Production to All Defendants (Pilate, Cheryl)
                    (Entered: 12/28/2021)
12/30/2021   514    NOTICE OF SERVICE by Lamonte McIntyre, Rose Lee McIntyre of Request
                    to Enter and Inspect Premises (Pilate, Cheryl) (Entered: 12/30/2021)
01/03/2022   515    REPLY TO RESPONSE TO MOTION by Defendant Unified Government of
                    Wyandotte County and Kansas City, Kansas re: 501 Motion for Protective
                    Order, Motion to Quash (Attachments: # 1 Excerpts of Ruby Mitchell
                    Deposition, # 2 Excerpts N. Quinn Dep. (Cooper, David) Modified on
                    1/4/2022 to correct title of second exhibit (kas). (Entered: 01/03/2022)
01/05/2022   516    NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of taking
                    deposition of Robert Blake McConnell on January 14, 2022 (McMullin,
                    Alana) (Entered: 01/05/2022)
01/05/2022   517    AMENDED NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of
                    taking deposition of 30(b)(6) Deposition of Unified Government of Wyandotte
                    County and Kansas City, Kansas on January 31, 2022 (McMullin, Alana)
                    (Entered: 01/05/2022)
01/05/2022   518    ORDER finding as moot 501 Motion for Protective Order and to Quash. The
                    Court notes that an amended deposition notice has been filed. Thus, the
                    deposition notice that was the subject of this motion is no longer operative.
                    Any objections to the amended notice will need to be raised in a new motion.
                    Signed by Magistrate Judge Kenneth G. Gale on 1/5/21. (This is a TEXT
                    ENTRY ONLY. There is no.pdf document associated with this entry.) (df)
                    (Entered: 01/05/2022)
01/07/2022   519    AMENDED NOTICE by Defendant Roger Golubski of taking deposition of
                    Cricket Wireless, LLC on January 10, 2022 (Attachments: # 1 Exhibit A, # 2
                    Exhibit B)(Napolitano, Christopher) (Entered: 01/07/2022)
01/11/2022   520    AMENDED NOTICE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre of
                    taking deposition of Robert Blake McConnell on January 18, 2022 (McMullin,
                    Alana) (Entered: 01/11/2022)
01/12/2022   521    NOTICE by Defendant Roger Golubski of taking deposition of M'Sherie
                    Johnson on January 26, 2022 (Gist, Matthew) (Entered: 01/12/2022)
01/12/2022   522    NOTICE by Defendant Roger Golubski of taking deposition of Yolanda
                    Johnson on January 26, 2022 (Gist, Matthew) (Entered: 01/12/2022)
01/12/2022   523    NOTICE by Defendant Roger Golubski of taking deposition of Bernard
                    Crawford, Sr. on January 27, 2022 (Gist, Matthew) (Entered: 01/12/2022)
01/13/2022   524    NOTICE by Defendant Roger Golubski of taking deposition of Glasia Lee on
                    January 25, 2022 (Gist, Matthew) (Entered: 01/13/2022)
01/13/2022   525    NOTICE by Defendant Roger Golubski of taking deposition of Reggie
                    McIntyre on January 26, 2022 (Gist, Matthew) (Entered: 01/13/2022)
01/13/2022   526    NOTICE by Defendant Roger Golubski of taking deposition of Jermaine
                    McIntyre on January 26, 2022 (Gist, Matthew) (Entered: 01/13/2022)
01/13/2022   527

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                    NOTICE by Defendant Roger Golubski of taking deposition of Dion Martin
                    on January 31, 2022 (Gist, Matthew) (Entered: 01/13/2022)
01/13/2022   528    NOTICE OF SERVICE by Lamonte McIntyre, Rose Lee McIntyre of
                    Eleventh Amended Rule 26 Disclosures (Pilate, Cheryl) (Entered: 01/13/2022)
01/14/2022   529    AMENDED NOTICE by Defendant Roger Golubski of taking deposition of
                    Glasia Lee on January 25, 2022 (Gist, Matthew) (Entered: 01/14/2022)
01/14/2022   530    NOTICE OF SERVICE by Lamonte McIntyre, Rose Lee McIntyre of
                    Plaintiffs' Supplemental Answers and Objections to Golubski's First Set of
                    Interrogatories to Plaintiff Lamonte McIntyre (Pilate, Cheryl) (Entered:
                    01/14/2022)
01/17/2022   531    CERTIFICATE OF SERVICE of Defendant Officers' Responses to Plaintiffs'
                    Fifth Request for Production of Documents by Clyde Blood, James L. Brown,
                    Steven Culp, W. K. Smith, Dennis Ware. (Hayes, Tracy) Modified on
                    1/18/2022 to restrict the document due to personal identifiers(kas). (Entered:
                    01/17/2022)
01/17/2022   532    CERTIFICATE OF SERVICE of Plaintiffs' Discovery Responses by Lamonte
                    McIntyre, Rose Lee McIntyre. (McMullin, Alana) (Entered: 01/17/2022)
01/18/2022   533    CERTIFICATE OF SERVICE of Defendant Officers' Responses to Plaintiffs'
                    Fifth Request for Production of Documents by Clyde Blood, James L. Brown,
                    Steven Culp, W. K. Smith, Dennis Ware. (Hayes, Tracy) (Entered:
                    01/18/2022)
01/18/2022   534    NOTICE by Defendant Roger Golubski of taking deposition of Michael
                    Redmon on January 24, 2022 (Gist, Matthew) (Entered: 01/18/2022)
01/18/2022   535    Joint MOTION to Amend Scheduling Order by Defendant Roger Golubski
                    (referred to Magistrate Judge Kenneth G. Gale) (Attachments: # 1 Exhibit 1, #
                    2 Exhibit 2)(Gist, Matthew) (Entered: 01/18/2022)
01/18/2022   536    NOTICE by Defendant Roger Golubski of taking deposition of Gary Long on
                    January 27, 2022 (Gist, Matthew) (Entered: 01/18/2022)
01/18/2022   537    NOTICE OF SERVICE by Lamonte McIntyre, Rose Lee McIntyre of
                    Plaintiffs' Supplemental Answers and Objections to the Unified Government's
                    First Set of Interrogatories (Pilate, Cheryl) (Entered: 01/18/2022)
01/19/2022   538    MOTION to Quash Deposition Notice, Doc. 517 by Defendant Unified
                    Government of Wyandotte County and Kansas City, Kansas (referred to
                    Magistrate Judge Kenneth G. Gale) (Attachments: # 1 Email re Meet &
                    Confer)(Cooper, David). Added MOTION for Protective Order on 1/20/2022
                    (msb). (Entered: 01/19/2022)
01/20/2022   539    NOTICE OF SERVICE by Roger Golubski of Subpoena to Gary Long (Gist,
                    Matthew) (Entered: 01/20/2022)
01/21/2022   540    CERTIFICATE OF SERVICE of Plaintiffs' Supplemental Documents
                    Disclosed Under Rule 26 by Lamonte McIntyre, Rose Lee McIntyre.
                    (McMullin, Alana) (Entered: 01/21/2022)
01/21/2022   541    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 538
                    Motion to Quash,, Motion for Protective Order, (McMullin, Alana) (Entered:

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                    01/21/2022)
01/24/2022   542    NOTICE OF SERVICE by Roger Golubski of subpoena to Bernard Crawford
                    Sr. (Gist, Matthew) (Entered: 01/24/2022)
01/25/2022   543    CERTIFICATE OF SERVICE of Plaintiffs' Additional Documents Disclosed
                    Under Rule 26 by Lamonte McIntyre, Rose Lee McIntyre. (McMullin, Alana)
                    (Entered: 01/25/2022)
01/25/2022   544    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 535
                    Motion to Amend Scheduling Order (McMullin, Alana) (Entered: 01/25/2022)
01/26/2022   545    NOTICE OF SERVICE by Roger Golubski of Defendant Roger Golubski's
                    Objections and Responses to Fifth Set of Requests For Production of
                    Documents and Things (Roach, Morgan) (Entered: 01/26/2022)
01/27/2022   546    NOTICE OF TELEPHONE CONFERENCE: (This is a TEXT ENTRY
                    ONLY. There is no.pdf document associated with this entry.) A pre−motion
                    telephone conference is set for 2/1/2022 at 02:00 PM by telephone (KGG −
                    CONFERENCE LINE 1−888−363−4749 ACCESS CODE 5407703) before
                    Magistrate Judge Kenneth G. Gale to discuss discovery issues between
                    Plaintiffs and Defendant Unified Government. Counsel for other Defendants
                    may participate in the telephone conference but are not required to do so. (df)
                    (Entered: 01/27/2022)
01/27/2022   547    (WITHDRAWN per 548) −− MEMORANDUM AND ORDER granting 535
                    Motion to Amend 474 Scheduling Order. The discovery deadline and the
                    deadline to provide a joint draft of the Pretrial Order are suspended. The
                    Pretrial Conference and the trial date are cancelled. The undersigned
                    Magistrate Judge will hold an in−person status conference in Kansas City,
                    Kansas, on February 24, 2022, at 10:00 a.m. The Court will subsequently set
                    this status conference and a notice will be generated and sent to counsel via the
                    Court's docketing system. Signed by Magistrate Judge Kenneth G. Gale on
                    1/27/22. (df) Modified on 1/27/2022. (mam) (Entered: 01/27/2022)
01/27/2022   548    ORDER withdrawing 547 Memorandum and Order on Defendants' Motion to
                    Modify Scheduling Order. Hearing on the underlying motion will be
                    subsequently set. Signed by Magistrate Judge Kenneth G. Gale on 1/27/2022.
                    (This is a TEXT ENTRY ONLY. There is no.pdf document associated with
                    this entry.) (mam) (Entered: 01/27/2022)
01/27/2022   549    NOTICE of Hearing: THIS IS AN OFFICIAL NOTICE FOR THIS
                    HEARING 535 Joint MOTION to Amend Scheduling Order: (This is a TEXT
                    ENTRY ONLY. There is no.pdf document associated with this entry.) Motion
                    Hearing set for 2/8/2022 at 09:00 AM in KC Courtroom (Unknown −− to be
                    subsequently noticed) before Magistrate Judge Kenneth G. Gale. (df) (Entered:
                    01/27/2022)
01/28/2022   550    NOTICE of Hearing: THIS IS AN OFFICIAL NOTICE FOR THIS
                    HEARING 538 MOTION to Quash/MOTION for Protective Order re: 517
                    Deposition Notice. (This is a TEXT ENTRY ONLY. There is no.pdf
                    document associated with this entry.) Motion Hearing set for 2/8/2022 at 09:00
                    AM in KC Courtroom (Unknown −− to be subsequently set) before Magistrate
                    Judge Kenneth G. Gale. (df) (Entered: 01/28/2022)



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01/28/2022   551    NOTICE OF COURTROOM CHANGE. Hearing (re 550 Notice of Hearing
                    on Motion, 549 Notice of Hearing on Motion) will be held in Courtroom 440
                    in the Kansas City Courthouse on 2/8/22 at 9:00 a.m. (This is a TEXT ENTRY
                    ONLY. There is no.pdf document associated with this entry.) (df) (Entered:
                    01/28/2022)
01/31/2022   552    MOTION to Enforce Subpoena Against Non−Party Bernard Crawford, Sr. by
                    Defendant Roger Golubski (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                    Exhibit 3)(Gist, Matthew) (Entered: 01/31/2022)
01/31/2022   553    CERTIFICATE OF SERVICE of Amendments to Plaintiffs' Expert Reports of
                    Russell Fischer and Jennifer Dysart by Lamonte McIntyre, Rose Lee
                    McIntyre. (McMullin, Alana) (Entered: 01/31/2022)
02/01/2022   554    NOTICE of Hearing: THIS IS AN OFFICIAL NOTICE FOR THIS
                    HEARING 552 MOTION to Enforce Subpoena Against Non−Party Bernard
                    Crawford, Sr. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.) Motion Hearing set for 2/8/2022 at 09:00 AM in
                    KC Courtroom 440 (JWL/KHV) before Magistrate Judge Kenneth G. Gale.
                    Responses to 552 Motion to Enforce due on or before 2/4/22. Reply
                    briefing will not be permitted. (df) (Entered: 02/01/2022)
02/01/2022   555    NOTICE OF CHANGE OF FIRM NAME OR ADDRESS by Tracy M. Hayes
                    (Hayes, Tracy) (Entered: 02/01/2022)
02/01/2022          MINUTE ENTRY for proceedings held before Magistrate Judge Kenneth G.
                    Gale: TELEPHONE CONFERENCE held on 2/1/2022. (This is a TEXT
                    ENTRY ONLY. There is no.pdf document associated with this entry.) (df)
                    (Entered: 02/09/2022)
02/04/2022   556    CERTIFICATE OF SERVICE of Documents LMKSDC 0028050 − LMKSDC
                    0028265 via Box to Defendants by Lamonte McIntyre, Rose Lee McIntyre.
                    (McMullin, Alana) (Entered: 02/04/2022)
02/04/2022   557    CERTIFICATE OF SERVICE of Ptfs' 2nd Supplemental Responses and
                    Objections to Def Unified Government's 1st ROGs by Lamonte McIntyre,
                    Rose Lee McIntyre. (McMullin, Alana) (Entered: 02/04/2022)
02/08/2022          MINUTE ENTRY for proceedings held before Magistrate Judge Kenneth G.
                    Gale: MOTION HEARING held on 2/8/2022 re 538 MOTION to Quash
                    Deposition Notice, Doc. 517 filed by Defendant Unified Government of
                    Wyandotte County and Kansas City, Kansas. ( 535 Motion to Amend
                    Scheduling Order and 552 Motion to Enforce Subpoena also discussed.)
                    (Court Reporter Kim Greiner.) (This is a TEXT ENTRY ONLY. There is
                    no.pdf document associated with this entry.) (df) Modified on 2/9/2022,
                    hearing held 2/8, not 2/9. (mam) (Entered: 02/09/2022)
02/09/2022          NOTICE OF DOCKET TEXT MODIFICATION by Deputy Clerk re Motion
                    Hearing: Motion Hearing was held 2/8/2021. (mam) (Entered: 02/09/2022)
02/09/2022   558    MEMORANDUM AND ORDER granting in part and denying in part 535
                    Defendants' Joint Motion to Amend 474 Scheduling Order. Scheduling Order
                    amended as follows: Dispositive motion deadline 4/1/2022. Proposed Pretrial
                    Order due by 2/24/2022. Jury Trial unchanged and set for 11/7/2022 at 09:00
                    AM in KC Courtroom 440 (JWL/KHV) before District Judge Kathryn H.


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                    Vratil. Final Pretrial Conference set for 3/10/2022 at 11:00 AM by telephone
                    (KGG − CONFERENCE LINE 1−888−363−4749 ACCESS CODE 5407703)
                    before Magistrate Judge Kenneth G. Gale. ORDER granting 538 Motion to
                    Quash. Signed by Magistrate Judge Kenneth G. Gale on 2/9/22. (df) (Entered:
                    02/09/2022)
02/28/2022   559    AMENDED NOTICE by Defendant Roger Golubski of taking deposition of
                    Bernard Crawford Sr. on March 16, 2022 (Gist, Matthew) (Entered:
                    02/28/2022)
03/09/2022   560    AMENDED NOTICE by Defendant Roger Golubski of taking deposition of
                    Bernard Crawford, Sr. on March 16, 2022 (Gist, Matthew) (Entered:
                    03/09/2022)
03/10/2022   561    MINUTE ENTRY for proceedings held before Magistrate Judge Kenneth G.
                    Gale: INTERIM PRETRIAL CONFERENCE held on 3/10/2022. (Tape
                    #11:00 − 11:40.) (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.) (df) (Entered: 03/10/2022)
03/17/2022   562    PRETRIAL ORDER ENTERED Estimated trial time 4 weeks. Dispositive
                    motion deadline 4/1/2022. Jury Trial set for 11/7/2022 at 09:00 AM in KC
                    Room 529 (KHV) before District Judge Kathryn H. Vratil. Signed by
                    Magistrate Judge Kenneth G. Gale on 3/17/22. (df) Modified on 3/17/2022 to
                    correct Jury Trial date (ca). (Entered: 03/17/2022)
03/17/2022   563    ORDER finding as moot 552 Motion to Enforce Third−Party Subpoena. The
                    Court has been advised that the deposition occurred and no issues remain
                    relating thereto. Signed by Magistrate Judge Kenneth G. Gale on 3/17/22.
                    (This is a TEXT ENTRY ONLY. There is no.pdf document associated with
                    this entry.) (df) (Entered: 03/17/2022)
03/17/2022          Set/Reset Hearings: Jury Trial set for 11/7/2022 at 09:00 AM in KC Room
                    529 (KHV) before District Judge Kathryn H. Vratil.(ca) (Entered:
                    03/17/2022)
03/24/2022   564    ORDER − On its own motion, the Court hereby orders that trial in this case be
                    advanced from November 7, 2022 to October 17, 2022. This change is
                    necessary to allow 20 consecutive trial days, consistent with the Pretrial Order
                    562 filed on March 17, 2022, and to afford the parties a #1 trial setting. Signed
                    by District Judge Kathryn H. Vratil on 03/24/2022. (This is a TEXT ENTRY
                    ONLY. There is no.pdf document associated with this entry.)(ses) (Entered:
                    03/24/2022)
03/24/2022   565    NOTICE OF VOLUNTARY DISMISSAL by All Plaintiffs of Count VI as to
                    Daphne R. Halderman, as the Special Administrator of the Estate of
                    Defendant Dennis Otto Barber, without prejudice (McMullin, Alana)
                    (Entered: 03/24/2022)
03/24/2022   566    NOTICE OF VOLUNTARY DISMISSAL by All Plaintiffs of all claims
                    against Defendant Clyde Blood, without prejudice (McMullin, Alana)
                    (Entered: 03/24/2022)
03/29/2022   567    STIPULATION OF DISMISSAL as to only Defendant Blood by Lamonte
                    McIntyre, Rose Lee McIntyre. (McMullin, Alana) (Entered: 03/29/2022)
03/29/2022   568

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                    STIPULATION OF DISMISSAL of Count VI of this action against only
                    Defendant Barber by Lamonte McIntyre, Rose Lee McIntyre. (McMullin,
                    Alana) (Entered: 03/29/2022)
03/30/2022   569    MOTION for Leave to File Excess Pages as it relates to his forthcoming
                    Memorandum in Support of his Motion for Summary Judgment by Defendant
                    Roger Golubski (Napolitano, Christopher) (Entered: 03/30/2022)
03/30/2022          MOTION REFERRAL to Magistrate Judge REMOVED as to: 569
                    MOTION for Leave to File Excess Pages as it relates to his forthcoming
                    Memorandum in Support of his Motion for Summary Judgment. The
                    motion will be resolved by the District Judge. (df) (Entered: 03/30/2022)
03/30/2022   570    MOTION for Leave to file Excess Pages in Support of Motion for Summary
                    Judgment by Defendants James L. Brown, Daphne R. Halderman, Daphne R.
                    Halderman, Daphne R. Halderman, W. K. Smith, Dennis Ware (Hayes, Tracy)
                    (Entered: 03/30/2022)
03/30/2022          MOTION REFERRAL to Magistrate Judge REMOVED as to: 570
                    MOTION for Leave to file Excess Pages in Support of Motion for
                    Summary Judgment . The motion will be resolved by the District Judge.
                    (df) (Entered: 03/30/2022)
03/30/2022   571    MOTION for Leave to File Excess Pages by Defendant Unified Government
                    of Wyandotte County and Kansas City, Kansas (Cooper, David) (Entered:
                    03/30/2022)
03/30/2022          MOTION REFERRAL to Magistrate Judge REMOVED as to: 571
                    MOTION for Leave to File Excess Pages. The motion will be resolved by
                    the District Judge. (df) (Entered: 03/30/2022)
03/31/2022   572    ORDER denying 569 Defendant Roger Golubski's Motion To Exceed Page
                    Limit; denying 570 Defendants' Motion To Exceed Page Limitations; denying
                    571 Motion for Leave to Exceed Page Limitations. The Court is confident that
                    with proper editing and organization, the relevant arguments can be addressed
                    in the number of pages allotted by local rules. Signed by District Judge
                    Kathryn H. Vratil on 3/31/2022. (This is a TEXT ENTRY ONLY. There is
                    no.pdf document associated with this entry.) (as) (Entered: 03/31/2022)
04/01/2022   573    MOTION to Exclude Plaintiffs' Expert Jennifer Dystart Ph.D. and
                    Memorandum of Law in Support by Defendant Roger Golubski (Attachments:
                    # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6
                    Exhibit F)(Gist, Matthew) (Entered: 04/01/2022)
04/01/2022          MOTION REFERRAL to Magistrate Judge REMOVED as to: 573
                    MOTION to Exclude Plaintiffs' Expert Jennifer Dystart Ph.D. and
                    Memorandum of Law in Support. The motion will be resolved by the
                    District Judge. (df) (Entered: 04/01/2022)
04/01/2022   574    MOTION for Summary Judgment by Defendants James L. Brown, Daphne R.
                    Halderman, Daphne R. Halderman, Daphne R. Halderman, W. K. Smith,
                    Dennis Ware (Hayes, Tracy) (Entered: 04/01/2022)
04/01/2022   575    MEMORANDUM IN SUPPORT of 574 MOTION for Summary Judgment by
                    Defendants James L. Brown, Daphne R. Halderman, Daphne R. Halderman,
                    Daphne R. Halderman, W. K. Smith, Dennis Ware (Attachments: # 1 Exhibit

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                    Part 1 of Exhibit 1, # 2 Exhibit Part 2 of Exhibit 1, # 3 Exhibit Part 3 of
                    Exhibit 1, # 4 Exhibit Part 4 of Exhibit 1, # 5 Exhibit Part 5 of Exhibit 1, # 6
                    Exhibit Exhibit 2, # 7 Exhibit 3, # 8 Exhibit 4, # 9 Exhibit 5, # 10 Exhibit 6, #
                    11 Exhibit 7, # 12 Exhibit 8, # 13 Exhibit 9, # 14 Exhibit 10, # 15 Exhibit 11,
                    # 16 Exhibit 12, # 17 Exhibit 13, # 18 Exhibit 14, # 19 Exhibit 15, # 20
                    Exhibit 16, # 21 Exhibit 17, # 22 Exhibit 18, # 23 Exhibit 19, # 24 Exhibit 20,
                    # 25 Exhibit 21, # 26 Exhibit 22, # 27 Exhibit 23, # 28 Exhibit 24, # 29
                    Exhibit 25, # 30 Exhibit 26, # 31 Exhibit 27, # 32 Exhibit 28, # 33 Exhibit 29,
                    # 34 Exhibit 30, # 35 Exhibit 31, # 36 Exhibit 32, # 37 Exhibit 33, # 38
                    Exhibit 34, # 39 Exhibit 35, # 40 Exhibit 36, # 41 Exhibit 37, # 42 Exhibit 38,
                    # 43 Exhibit 39, # 44 Exhibit 40, # 45 Exhibit 41, # 46 Exhibit 42, # 47
                    Exhibit 43, # 48 Exhibit 44, # 49 Exhibit 45, # 50 Exhibit 46, # 51 Exhibit 47,
                    # 52 Exhibit 48, # 53 Exhibit 49, # 54 Exhibit 50, # 55 Exhibit 51, # 56
                    Exhibit 52, # 57 Exhibit 53, # 58 Exhibit 54, # 59 Exhibit 55, # 60 Exhibit 56,
                    # 61 Exhibit 57, # 62 Exhibit 58, # 63 Exhibit 59, # 64 Exhibit 60, # 65
                    Exhibit 61, # 66 Exhibit 62, # 67 Exhibit 63, # 68 Exhibit 64, # 69 Exhibit 65,
                    # 70 Exhibit 66, # 71 Exhibit 67, # 72 Exhibit 68, # 73 Exhibit 69, # 74
                    Exhibit 70, # 75 Exhibit 71)(Hayes, Tracy) Modified on 4/4/2022 to remove
                    repeated word (ca). (Entered: 04/01/2022)
04/01/2022   576    MOTION to Exclude Testimony of Robert Blake McConnell by Plaintiffs
                    Lamonte McIntyre, Rose Lee McIntyre (referred to Magistrate Judge Kenneth
                    G. Gale) (McMullin, Alana) (Entered: 04/01/2022)
04/01/2022   577    MEMORANDUM IN SUPPORT of 576 MOTION to Exclude Testimony of
                    Robert Blake McConnell by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre
                    (Attachments: # 1 Declaration of Sona Shah, # 2 Index of Exhibits, # 3 Exhibit
                    A, # 4 Exhibit B, # 5 Exhibit C, # 6 Exhibit D, # 7 Exhibit E)(McMullin,
                    Alana) (Entered: 04/01/2022)
04/01/2022   578    MOTION for Order to Limit Testimony of Tarik Khatib by Plaintiffs Lamonte
                    McIntyre, Rose Lee McIntyre. (McMullin, Alana) (Entered: 04/01/2022)
04/01/2022   579    MEMORANDUM IN SUPPORT of 578 MOTION for Order to Limit
                    Testimony of Tarik Khatib by Plaintiffs Lamonte McIntyre, Rose Lee
                    McIntyre (Attachments: # 1 Declaration of Sona Shah, # 2 Index of Exhibits, #
                    3 Exhibit A, # 4 Exhibit B, # 5 Exhibit C, # 6 Exhibit D)(McMullin, Alana)
                    (Entered: 04/01/2022)
04/01/2022          MOTION REFERRAL to Magistrate Judge REMOVED as to: 578
                    MOTION for Order to Limit Testimony of Tarik Khatib and 576 MOTION
                    to Exclude Testimony of Robert Blake McConnell. The motions will be
                    resolved by the District Judge. (df) (Entered: 04/01/2022)
04/01/2022   580    MOTION for Summary Judgment by Defendant Unified Government of
                    Wyandotte County and Kansas City, Kansas (Attachments: # 1 Ex Police File
                    1 of 5, # 2 Ex Police File 2 of 5, # 3 Ex Police File 3 of 5, # 4 Ex Police File 4
                    of 5, # 5 Ex Police File 5 of 5, # 6 Ex Trial Transcript Vol. I, 1 of 2, # 7 Ex
                    Trial Transcript Vol. I, 2 of 2, # 8 Ex Trial Transcript Vol. II, 1 of 2, # 9 Ex
                    Trial Transcript Vol. II, 2 of 2, # 10 Ex Trial Transcript Vol. III, 1 of 2, # 11
                    Ex Trial Transcript Vol. III, 2 of 2, # 12 Ex Receipt for Prosecution Report, #
                    13 Ex Dennis Ware deposition, # 14 Ex 94JV489 Complaint, # 15 Ex
                    Waiver/Preliminary Hearing Transcript 1 of 5, # 16 Ex Waiver/Preliminary
                    Hearing Transcript 2 of 5, # 17 Ex Waiver/Preliminary Hearing Transcript 3 of

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                    5, # 18 Ex Waiver/Preliminary Hearing Transcript 4 of 5, # 19 Ex
                    Waiver/Preliminary Hearing Transcript 5 of 5, # 20 Ex Journal Entry of
                    Waiver/Preliminary Hearing, # 21 Ex Ruby Mitchell deposition, # 22 Ex
                    State's Exhibits 28−32, # 23 Ex Niko Quinn deposition, # 24 Ex Motion for
                    New Trial Transcript, # 25 Ex Smith deposition, # 26 Ex Answer to
                    Interrogatory 7, # 27 Ex Armstrong Declaration, # 28 Ex Miller Declaration, #
                    29 Ex General Order 01−93, # 30 Ex General Order 05−94, # 31 Ex Fischer
                    deposition, # 32 Ex Armstrong deposition, # 33 Ex Code of Ethics, # 34 Ex
                    York deposition, # 35 Ex Index of Exhibits)(Cooper, David) (Entered:
                    04/01/2022)
04/01/2022   581    MOTION for Summary Judgment by Defendant Roger Golubski (Gist,
                    Matthew) (Entered: 04/01/2022)
04/01/2022   582    MEMORANDUM IN SUPPORT of 581 MOTION for Summary Judgment by
                    Defendant Roger Golubski (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                    Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 6A, # 8
                    Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11, # 13
                    Exhibit 12, # 14 Exhibit 13, # 15 Exhibit 14, # 16 Exhibit 15, # 17 Exhibit 16,
                    # 18 Exhibit 17, # 19 Exhibit 18, # 20 Exhibit 19, # 21 Exhibit 20, # 22
                    Exhibit 21, # 23 Exhibit 22, # 24 Exhibit 23, # 25 Exhibit 24, # 26 Exhibit 25,
                    # 27 Exhibit 26, # 28 Exhibit 27, # 29 Exhibit 28, # 30 Exhibit 29, # 31
                    Exhibit 30, # 32 Exhibit 31, # 33 Exhibit 32)(Gist, Matthew) (Entered:
                    04/01/2022)
04/01/2022   583    MOTION to Dismiss Plaintiff Rose McIntyre's Claim for Failure to Follow
                    the Rule Of Civil Procedure and this Court's Orders with Memorandum of
                    Law In Support by Defendant Roger Golubski (Attachments: # 1 Exhibit 1, # 2
                    Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit
                    7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit
                    12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17
                    Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19)(Gist, Matthew) (Entered:
                    04/01/2022)
04/04/2022   584    MOTION for Leave to file submit audio exhibits to the court via thumb drive
                    by Defendant Roger Golubski (Napolitano, Christopher) Modified on 4/4/2022
                    to remove referral information (sz). (Entered: 04/04/2022)
04/04/2022          MOTION REFERRAL to Magistrate Judge REMOVED as to: 584
                    MOTION for Leave to file submit audio exhibits to the court via thumb
                    drive. The motion will be resolved by the District Judge. (df) (Entered:
                    04/04/2022)
04/06/2022   585    Joint MOTION to Continue Trial Setting by Defendant Roger Golubski
                    (referred to Magistrate Judge Kenneth G. Gale) (Napolitano, Christopher)
                    (Entered: 04/06/2022)
04/06/2022   586    ORDER sustaining, for substantially the reasons stated in the motion, 584
                    Defendant Roger Golubski's Motion For Leave To Submit Audio Exhibits 11,
                    22, and 23 To Defendant Golubski's Memorandum In Support To Motion For
                    Summery Judgment [Doc No. 582] Via Thumb Drive To The Court.
                    Defendant Golbski shall submit his audio exhibits 11, 22, and 23 to the court
                    via thumb drive. Signed by District Judge Kathryn H. Vratil on 4/6/2022.
                    (This is a TEXT ENTRY ONLY. There is no.pdf document associated with


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                    this entry.) (as) (Entered: 04/06/2022)
04/06/2022   587    Unopposed MOTION for Extension of Time to File Response as to 574
                    MOTION for Summary Judgment , 583 MOTION to Dismiss Plaintiff Rose
                    McIntyre's Claim for Failure to Follow the Rule Of Civil Procedure and this
                    Court's Orders with Memorandum of Law In Support, 581 MOTION for
                    Summary Judgment , 580 MOTION for Summary Judgment by Plaintiffs
                    Lamonte McIntyre, Rose Lee McIntyre (McMullin, Alana) (Entered:
                    04/06/2022)
04/06/2022          MOTION REFERRAL to Magistrate Judge REMOVED as to: 587
                    Unopposed MOTION for Extension of Time to File Response as to 574
                    MOTION for Summary Judgment , 583 MOTION to Dismiss Plaintiff
                    Rose McIntyre's Claim for Failure to Follow the Rule Of Civil Procedure
                    and this Court's Ord, 585 Joint MOTION to Continue Trial Setting . The
                    motion will be resolved by the District Judge. (df) (Entered: 04/06/2022)
04/06/2022   588    CONVENTIONALLY FILED EXHIBIT IN SUPPORT of 582 Memorandum
                    in Support of Motion. One thumb drive received in the Clerk's Office on
                    4/6/2022 and will be provided to Chambers. A second copy of the thumb drive
                    has been requested from counsel. (This is a TEXT ENTRY ONLY. There is
                    no.pdf document associated with this entry.) (kas) (Entered: 04/07/2022)
04/06/2022   589    NOTICE OF DEFICIENCY − Item was filed conventionally and no courtesy
                    copy was provided per D.Kan. 7.1(d)(2). The filing attorney is directed to
                    correct the deficiency immediately.(This is a TEXT ENTRY ONLY. There is
                    no.pdf document associated with this entry.) (kas) (Entered: 04/07/2022)
04/07/2022   590    ORDER granting in part and denying in part 587 Unopposed Motion For
                    Extension Of Time To Respond To Defendants' Dispositive Motions. The
                    Court sets the following briefing schedule: Plaintiffs' response to 574
                    Defendant Officers' Motion for Summary Judgment is due on or before April
                    27, 2022; Plaintiffs' response to 580 Defendant Unified Government's Motion
                    for Summary Judgment is due on or before May 2, 2022; Plaintiffs' response
                    to 581 Defendant Golubski's Motion for Summary Judgment is due on or
                    before April 22, 2022; Plaintiffs' response to 583 Defendant Golubski's Motion
                    to Dismiss Plaintiff Rose McIntyre's Claim is due on or before May 6, 2022.
                    Signed by District Judge Kathryn H. Vratil on 4/7/2022. (This is a TEXT
                    ENTRY ONLY. There is no.pdf document associated with this entry.) (as)
                    (Entered: 04/07/2022)
04/11/2022   591    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 585
                    Motion to Continue (Attachments: # 1 Exhibit 1)(McMullin, Alana) (Entered:
                    04/11/2022)
04/11/2022   592    ORDER REFERRING MOTION. The Court hereby refers to Magistrate Judge
                    Kenneth G. Gale, for report and recommendation, Defendant Golubski's
                    Motion To Dismiss Plaintiff Rose McIntyre's Claim For Failure To Follow
                    The Rules Of Civil Procedure And This Court's Orders (Doc. # 583 ) filed
                    April 1, 2022. Judge Gale has superior knowledge of the history of discovery
                    in this case, which is important because defendant Golubski apparently has
                    never filed a motion to compel a further deposition by Rose McIntyre.
                    Moreover, defendant Golubski may not have timely sought relief for speaking
                    objections and other alleged grievances by plaintiffs' counsel. Moreover, the


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                    subject brief does not address critical factors such as whether sanctions less
                    drastic than dismissal will meet all objectives of the Federal Rules of Civil
                    Procedure or whether the alleged prejudice to defendant Golubski can be
                    mitigated by an order that Rose McIntyre complete her deposition by a date
                    certain. Signed by District Judge Kathryn H. Vratil on 4/11/2022. (This is a
                    TEXT ENTRY ONLY. There is no.pdf document associated with this
                    entry.)(as) (Entered: 04/11/2022)
04/15/2022   593    RESPONSE by Defendant Roger Golubski re 576 Motion to Exclude
                    (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                    Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8)(Roach, Morgan)
                    (Entered: 04/15/2022)
04/15/2022   594    MOTION to Bifurcate/Separate Trial by Defendant Roger Golubski.
                    (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Napolitano, Christopher)
                    (Entered: 04/15/2022)
04/15/2022          MOTION REFERRAL to Magistrate Judge REMOVED as to: 594
                    MOTION to Bifurcate. The motion will be resolved by the District Judge.
                    (df) (Entered: 04/15/2022)
04/15/2022   595    MEMORANDUM IN OPPOSITION by Defendants James L. Brown, Daphne
                    R. Halderman, Daphne R. Halderman, Daphne R. Halderman, W. K. Smith,
                    Dennis Ware re 578 MOTION for Order to Limit Testimony of Tarik Khatib
                    (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                    Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7)(Hayes, Tracy) (Entered: 04/15/2022)
04/15/2022   596    MOTION for Separate Trial by Defendants Daphne R. Halderman (as Special
                    Administrator of estates of James Michael Krstolich, Dennis Otto Barber and
                    Steve Culp), Dennis Ware, James L. Brown, W. K. Smith. (Hayes, Tracy)
                    Modified on 5/13/2022 to correct the filers. (mam) (Entered: 04/15/2022)
04/15/2022          MOTION REFERRAL to Magistrate Judge REMOVED as to: 596
                    MOTION to Bifurcate & Memorandum in Support. The motion will be
                    resolved by the District Judge. (df) (Entered: 04/15/2022)
04/15/2022   597    Joint MOTION to Transfer Case to Wichita on behalf of all Defendants by
                    Defendant Unified Government of Wyandotte County and Kansas City,
                    Kansas (Attachments: # 1 Appendix Index of Exhibits, # 2 Appendix PDF
                    Articles Part 1, # 3 Appendix PDF Articles Part 2, # 4 Appendix List of 370
                    KC Media)(Cooper, David) (Entered: 04/15/2022)
04/15/2022   598    MOTION FOR LEAVE to File Exhibits−digital media Conventionally re Doc.
                    597 by Defendant Unified Government of Wyandotte County and Kansas
                    City, Kansas. (Cooper, David) (Entered: 04/15/2022)
04/15/2022   599    MOTION to Bifurcate by Defendant Unified Government of Wyandotte
                    County and Kansas City, Kansas (Cooper, David) (Entered: 04/15/2022)
04/15/2022          MOTION REFERRAL to Magistrate Judge REMOVED as to: 599
                    MOTION to Bifurcate and 598 MOTION FOR LEAVE to File
                    Exhibits−digital media Conventionally (re Doc. 597). The motions will be
                    resolved by the District Judge. (df) (Entered: 04/15/2022)
04/15/2022   600    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 573
                    Motion to Exclude, Plaintiffs' Expert Jennifer Dysart, Ph.D. (Attachments: # 1

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                    Index of Exhibits, # 2 Exhibit G, # 3 Exhibit H, # 4 Exhibit I)(McMullin,
                    Alana) (Entered: 04/15/2022)
04/19/2022   601    ORDER sustaining, for substantially the reasons stated in the motion, 598
                    Motion for Leave to File Exhibits Conventionally. Signed by District Judge
                    Kathryn H. Vratil on 4/19/2022. (This is a TEXT ENTRY ONLY. There is
                    no.pdf document associated with this entry.) (as) (Entered: 04/19/2022)
04/19/2022   602    NOTICE of Hearing: THIS IS AN OFFICIAL NOTICE FOR THIS
                    HEARING. The Court sets Oral Argument as to the following motions to be
                    heard on 5/23/2022 at 09:00 AM and 5/24/2022 at 10:00 AM in KC
                    Courtroom 440 (JWL/KHV): 573 Defendant Roger Golubski's Motion To
                    Exclude Plaintiffs' Expert Jennifer Dysart Ph.D., 574 Defendant Officers'
                    Motion For Summary Judgment, 581 Defendant Roger Golubski's Motion For
                    Summary Judgment, 585 Defendants Roger Golubski's And James Brown's
                    Joint Motion To Continue Trial Setting, 594 Defendant Roger Golubski's
                    Motion For Bifurcated/Separate Trial, 596 Defendant Officers' Motion For
                    Separate Trial, 597 Joint Motion to Transfer Trial to Wichita and 599 Motion
                    to Bifurcate Trials. (This is a TEXT ENTRY ONLY. There is no.pdf
                    document associated with this entry.) (as) (Entered: 04/19/2022)
04/20/2022   603    ORDER. In DEFENDANT OFFICERS' MEMORANDUM IN SUPPORT OF
                    MOTION FOR SUMMARY JUDGMENT (Doc. # 575 ) filed April 1, 2022,
                    the Court notes a Section VI on page 56, entitled "ADOPTION OF
                    DEFENDANTS' ARGUMENTS." It states as follows: "In the interest of
                    judicial economy, and pursuant to FRCP 10(c), the Defendant Officers adopt
                    and incorporate by reference Unified Government of Wyandotte County and
                    Kansas City, Kansas, and Golubski's Memorandums [sic] in Support of their
                    Motions for Summary Judgment." Rule 10(c), which provides that statements
                    in pleadings may be adopted by reference, does not authorize such
                    incorporation. See Rule 7(a), Fed. R. Civ. P. (defining "pleadings"). The
                    "incorporated" briefing totals nearly 3,000 pages and the purported
                    incorporation can only be construed as a legally insufficient maneuver to avoid
                    page limits which the Court has previously imposed. Section VI of defendants'
                    brief is therefore stricken. The Court will not consider any of the
                    "incorporated" briefs or any exhibits in support thereof. Signed by District
                    Judge Kathryn H. Vratil on 4/20/2022. (This is a TEXT ENTRY ONLY.
                    There is no.pdf document associated with this entry.)(as) (Entered:
                    04/20/2022)
04/22/2022   604    ORDER. The Court hereby notifies the parties of the expectation that the
                    counsel that drafted their respective briefs will be the ones primarily
                    responsible for conducting oral argument at the motions hearing set for May
                    23−24, 2022. Signed by District Judge Kathryn H. Vratil on 4/22/2022. (This
                    is a TEXT ENTRY ONLY. There is no.pdf document associated with this
                    entry.)(as) (Entered: 04/22/2022)
04/22/2022   605    MEMORANDUM IN OPPOSITION by Plaintiffs Lamonte McIntyre, Rose
                    Lee McIntyre re 581 MOTION for Summary Judgment (Attachments: # 1
                    Index of Exhibits, # 2 Ex 33, # 3 Ex 34, # 4 Ex 35, # 5 Ex 36, # 6 Ex 37, # 7
                    Ex 38, # 8 Ex 39, # 9 Ex 40, # 10 Ex 41 part 1, # 11 Ex 41 part 2, # 12 Ex 42,
                    # 13 Ex 43, # 14 Ex 44, # 15 Ex 45, # 16 Ex 46, # 17 Ex 47, # 18 Ex 48, # 19
                    Ex. 49, # 20 Ex 50, # 21 Ex 51, # 22 Ex 52, # 23 Ex 53, # 24 Ex 54, # 25 Ex


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                    55, # 26 Ex 56, # 27 Ex 57, # 28 Ex 58, # 29 Ex 59, # 30 Ex 60, # 31 Ex 61, #
                    32 Ex 62, # 33 Ex 63, # 34 Ex 64, # 35 Ex 65, # 36 Ex 66, # 37 Ex 67, # 38 Ex
                    68, # 39 Ex 69, # 40 Ex 70, # 41 Ex 71 part 1, # 42 Ex 71 part 2, # 43 Ex 72, #
                    44 Ex 73, # 45 Ex 74, # 46 Ex 75, # 47 Ex 76 part 1, # 48 Ex 76 part 2, # 49
                    Ex 77, # 50 Ex 78, # 51 Ex 79, # 52 Ex 80, # 53 Ex 81, # 54 Ex 82, # 55 Ex
                    83, # 56 Ex 84, # 57 Ex 85, # 58 Ex 86, # 59 Ex 87, # 60 Ex 88, # 61 Ex 89, #
                    62 Ex 90, # 63 Ex 91)(Abrams, Michael) (Entered: 04/22/2022)
04/22/2022   606    MOTION FOR LEAVE to File Audio Exhibit 91 on Flash Drive
                    Conventionally by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre (Abrams,
                    Michael) (Entered: 04/22/2022)
04/25/2022          MOTION REFERRAL to Magistrate Judge REMOVED as to: 606
                    MOTION FOR LEAVE to File Audio Exhibit 91 on Flash Drive
                    Conventionally . The motion will be resolved by the District Judge. (df)
                    (Entered: 04/25/2022)
04/25/2022   607    REPLY TO RESPONSE TO MOTION by Defendant Roger Golubski re: 585
                    Motion to Continue trial setting (Napolitano, Christopher) (Entered:
                    04/25/2022)
04/25/2022   608    REPLY TO RESPONSE TO MOTION by Defendant Roger Golubski re: 585
                    Motion to Continue trial setting (Amended) (Napolitano, Christopher)
                    (Entered: 04/25/2022)
04/26/2022   609    ORDER. In Plaintiffs' Memorandum Of Law In Support Of Plaintiffs' Motion
                    To Limit Testimony Of Tarik Khatib (Doc. #579) filed April 1, 2022,
                    plaintiffs correctly note that the expert report of Tarik Khatib "is largely a
                    narrative that recounts the Officer Defendants' version of events, and then
                    resolves disputed facts in their favor," and "does not include any sections that
                    properly identify or label his opinions and conclusions." They also correctly
                    observe that "conclusions" are "inextricably interwoven" with his factual
                    narrative. The Court is not inclined to go through all 45 pages of Khatib's
                    single−spaced report to try to identify opinions, and it would be
                    time−consuming and wasteful to dedicate time to do so in open court on May
                    23 and 24, 2022. The Court therefore orders that no later than 5:00 p.m. on
                    Monday, May 2, 2022, Defendant Officers file a highlighted copy of Khatib's
                    expert report. In red, defendants shall highlight each statement in which
                    Khatib opines on (1) credibility of witnesses, (2) resolution of factual disputes,
                    and (3) speculation (including opinions phrased in term of what "could" have
                    happened, whether Khatib "finds evidence" or information of certain matters,
                    what officers or others knew, whether positions have been "abandoned,"
                    presumptions, assumptions, factual plausibility, weight of the evidence or
                    other matters that are typically questions for the jury). In yellow, defendants
                    shall highlight other "opinions" to which Khatib proposes to testify. Plaintiffs
                    are allowed but not required to file their own highlighted version by the same
                    deadline. Signed by District Judge Kathryn H. Vratil on 4/26/2022. (This is a
                    TEXT ENTRY ONLY. There is no.pdf document associated with this
                    entry.)(as) (Entered: 04/26/2022)
04/26/2022   610    ORDER sustaining, for substantially the reasons stated in the motion, 606
                    Plaintiffs' Motion For Leave To Submit Audio Exhibit 91 To Plaintiffs'
                    Memorandum Of Law In Opposition To Roger Golubski's Motion For
                    Summary Judgment Via Flash Drive To The Court. Exhibit 91 shall be

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                    provided to the Clerk's Office on a flash drive for filing along with a copy to
                    chambers pursuant to local rules. Signed by District Judge Kathryn H. Vratil
                    on 4/26/2022. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.) (as) (Entered: 04/26/2022)
04/27/2022   611    MEMORANDUM IN OPPOSITION by Plaintiffs Lamonte McIntyre, Rose
                    Lee McIntyre re 574 Motion for Summary Judgment of Officer Defendants.
                    (Attachments: # 1 Index of Exhibits, # 2 Ex 72, # 3 Ex 73, # 4 Ex 74, # 5 Ex
                    75, # 6 Ex 76, # 7 Ex 77, # 8 Ex 78, # 9 Ex 79, # 10 Ex 80 part 1, # 11 Ex 80
                    part 2, # 12 Ex 81, # 13 Ex 82, # 14 Ex 83, # 15 Ex 84, # 16 Ex 85, # 17 Ex
                    86, # 18 Ex 87, # 19 Ex 88, # 20 Ex 89, # 21 Ex 90, # 22 Ex 91, # 23 Ex 92, #
                    24 Ex 93, # 25 Ex 94, # 26 Ex 95, # 27 Ex 96, # 28 Ex 97, # 29 Ex 98, # 30 Ex
                    99, # 31 Ex 100, # 32 Ex 101, # 33 Ex 102, # 34 Ex 103, # 35 Ex 104, # 36 Ex
                    105, # 37 Ex 106, # 38 Ex 107, # 39 Ex 108, # 40 Ex 109, # 41 Ex 110 part 1,
                    # 42 Ex 110 part 2, # 43 Ex 111, # 44 Ex 112, # 45 Ex 113, # 46 Ex 114, # 47
                    Ex 115 part 1, # 48 Ex 115 part 2, # 49 Ex 116, # 50 Ex 117, # 51 Ex 118, # 52
                    Ex 119, # 53 Ex 120, # 54 Ex 121, # 55 Ex 122, # 56 Ex 123, # 57 Ex 124, #
                    58 Ex 125, # 59 Ex 126, # 60 Ex 127, # 61 Ex 128, # 62 Ex 129, # 63 Ex 130,
                    # 64 Ex 131 part 1, # 65 Ex. 131 part 2, # 66 Ex 131 part 3, # 67 Ex 132, # 68
                    Ex 133, # 69 Ex 134, # 70 Ex 135, # 71 Ex 136, # 72 Ex 137, # 73 Ex 138, #
                    74 Ex 139, # 75 Ex 140, # 76 Ex 141, # 77 Ex 142, # 78 Ex 143, # 79 Ex 144,
                    # 80 Ex 145, # 81 Ex 146, # 82 Ex 147)(Abrams, Michael) (Entered:
                    04/27/2022)
04/28/2022   612    CONVENTIONALLY FILED EXHIBITS IN SUPPORT of 597 Motion to
                    Transfer Case. Two thumb drives received in the Kansas City Clerk's office on
                    4/27/2022. One copy provided to chambers and one copy maintained in the
                    clerk's office. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.). (hw) (Entered: 04/28/2022)
04/29/2022   613    ORDER. Defendants Roger Golubski's And James Brown's Joint Motion To
                    Continue Trial Setting (Doc. # 585 ) is overruled as moot and removed from
                    the argument calendar for May 23 and 24, 2022. The Court has conferred with
                    the Honorable Brian Wimes, who has graciously agreed to remove Erwin v.
                    Barry County, Missouri et al, Case No: 3:21−CV−05030−BCW from his trial
                    docket for October 17, 2022. Consequently, scheduling conflicts which
                    resulted from advancing the case from November 7, 2022 no longer exist.
                    Signed by District Judge Kathryn H. Vratil on 4/29/2022. (This is a TEXT
                    ENTRY ONLY. There is no.pdf document associated with this entry.) (as)
                    (Entered: 04/29/2022)
04/29/2022   614    AMENDED NOTICE of Hearing: THIS IS AN OFFICIAL NOTICE FOR
                    THIS HEARING. The Court amends its 602 Notice of Hearing from April 19,
                    2022 as follows: 576 Plaintiffs' Motion To Exclude Testimony Of Robert
                    Blake McConnell and 578 Plaintiffs' Motion To Limit Testimony of Tarik
                    Khatib are added to the list of motions that will be heard during oral arguments
                    on May 23 and 24, 2022. 585 Defendants Roger Golubski's And James
                    Brown's Joint Motion To Continue Trial Setting has been removed from the
                    argument calendar. All other motions from the original notice remain on the
                    argument calendar. (This is a TEXT ENTRY ONLY. There is no.pdf
                    document associated with this entry.) (as) (Entered: 04/29/2022)
04/29/2022   615    REPLY TO RESPONSE TO MOTION by Defendant Roger Golubski re 573


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                    Motion to Exclude Plaintiffs' Expert Jennifer Dystart Ph.D. (Gist, Matthew)
                    (Entered: 04/29/2022)
04/29/2022   616    MEMORANDUM IN OPPOSITION by Plaintiffs Lamonte McIntyre, Rose
                    Lee McIntyre re 594 Motion to Bifurcate/Separate Trial. (McMullin, Alana)
                    (Entered: 04/29/2022)
04/29/2022   617    MEMORANDUM IN OPPOSITION by Plaintiffs Lamonte McIntyre, Rose
                    Lee McIntyre re 596 Motion for Separate Trial. (McMullin, Alana) (Entered:
                    04/29/2022)
04/29/2022   618    MEMORANDUM IN OPPOSITION by Plaintiffs Lamonte McIntyre, Rose
                    Lee McIntyre re 599 Motion to Bifurcate Trials. (McMullin, Alana) (Entered:
                    04/29/2022)
04/29/2022   619    REPLY TO RESPONSE TO MOTION by Plaintiffs Lamonte McIntyre, Rose
                    Lee McIntyre re 578 Motion to Limit Testimony of Tarik Khatib.
                    (Attachments: # 1 Exhibit E)(Abrams, Michael) (Entered: 04/29/2022)
04/29/2022   620    REPLY TO RESPONSE TO MOTION by Plaintiffs Lamonte McIntyre, Rose
                    Lee McIntyre re: 576 Motion to Exclude Testimony of Robert Blake
                    McConnell. (Attachments: # 1 Exhibit F, # 2 Exhibit G, # 3 Exhibit
                    H)(Abrams, Michael) (Entered: 04/29/2022)
04/29/2022   621    MEMORANDUM IN OPPOSITION by Plaintiffs Lamonte McIntyre, Rose
                    Lee McIntyre re 597 Joint Motion to Transfer Case to Wichita on behalf of all
                    Defendants. (Abrams, Michael) (Entered: 04/29/2022)
05/02/2022   622    RESPONSE by Defendants W. K. Smith, Dennis Ware, Daphne R.
                    Halderman, Daphne R. Halderman, Daphne R. Halderman, James L. Brown re
                    609 Order. (Hayes, Tracy) (Entered: 05/02/2022)
05/02/2022   623    ORDER. On review of the Pretrial Order (Doc. # 562 ) filed March 17, 2022,
                    the Court orders that plaintiffs file a supplemental statement of their legal
                    claims. Specifically, plaintiffs shall supplement section 4.a beginning on page
                    40 by very briefly describing the factual theory which corresponds to each
                    legal theory. Plaintiffs shall separately state for each defendant and each count
                    the factual basis for each legal theory. In the pretrial order, plaintiffs' factual
                    contentions are 22 pages long, single spaced, and they do not explicitly
                    correspond to plaintiffs' legal theories. Accordingly, the Court is forced to
                    speculate about the precise factual basis for each legal theory against each
                    defendant. Said supplement shall be filed no later than 5:00 p.m. on Friday,
                    May 6, 2022. Signed by District Judge Kathryn H. Vratil on 5/2/2022. (This is
                    a TEXT ENTRY ONLY. There is no.pdf document associated with this
                    entry.)(as) (Entered: 05/02/2022)
05/02/2022   624    MEMORANDUM IN OPPOSITION by Plaintiffs Lamonte McIntyre, Rose
                    Lee McIntyre re 580 MOTION for Summary Judgment (Attachments: # 1
                    Index of Exhibits, # 2 Ex 24, # 3 Ex 25, # 4 Ex 26, # 5 Ex 27, # 6 Ex 28, # 7
                    Ex 29, # 8 Ex 30, # 9 Ex 31, # 10 Ex 32, # 11 Ex 33, # 12 Ex 34, # 13 Ex 35, #
                    14 Ex 36, # 15 Ex 37, # 16 Ex 38, # 17 Ex 39, # 18 Ex 40, # 19 Ex 41, # 20 Ex
                    42, # 21 Ex 43, # 22 Ex. 44, # 23 Ex 45, # 24 Ex 46, # 25 Ex 47, # 26 Ex 48, #
                    27 Ex. 49, # 28 Ex 50, # 29 Ex 51 part 1, # 30 Ex 51 part 2, # 31 Ex 52, # 32
                    Ex. 53, # 33 Ex. 54, # 34 Ex 55, # 35 Ex 56, # 36 Ex 57, # 37 Ex 58, # 38 Ex
                    59, # 39 Ex 60, # 40 Ex 61, # 41 Ex. 62, # 42 Ex 63 part 1, # 43 Ex 63 part 2, #


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                    44 Ex 64, # 45 Ex 65, # 46 Ex 66, # 47 Ex 67, # 48 Ex 68, # 49 Ex 69, # 50 Ex
                    70, # 51 Ex. 71, # 52 Ex. 72, # 53 Ex 73, # 54 Ex 74, # 55 Ex 75, # 56 Ex 76, #
                    57 Ex. 77, # 58 Ex. 78, # 59 Ex 79, # 60 Ex 80, # 61 Ex. 81, # 62 Ex 82, # 63
                    Ex 83, # 64 Ex 84, # 65 Ex 85, # 66 Ex 86, # 67 Ex 87, # 68 Ex 88, # 69 Ex
                    89, # 70 Ex 90, # 71 Ex 91, # 72 Ex 92, # 73 Ex 93, # 74 Ex 94, # 75 Ex 95, #
                    76 Ex 96, # 77 Ex 97, # 78 Ex 98 part 1, # 79 Ex 98 part 2, # 80 Ex 99, # 81
                    Ex 100, # 82 Ex 101, # 83 Ex. 102, # 84 Ex 103, # 85 Ex 104)(Abrams,
                    Michael) (Entered: 05/02/2022)
05/02/2022   625    SEALED MOTION for Leave to File Under Seal by Plaintiffs Lamonte
                    McIntyre, Rose Lee McIntyre. (Attachments: # 1 Ex. 27A Shonda Nichols
                    Aff, # 2 Ex. 29A Siobaughn Nichols Aff, # 3 Ex. 31A Dean−Martin 2013 Aff.,
                    # 4 Ex. 33A Wilson Aff, # 5 Ex. 34A N.F. Aff, # 6 Ex. 35A Dean−Martin
                    2015 Aff, # 7 Ex. 40A McIntyre Aff, # 8 Ex. 41A Johnson Aff, # 9 Ex. 75A
                    D.L. Aff, # 10 Ex. 91A Abbott Aff, # 11 Ex. 96A N.H. Aff, # 12 Ex. 98A S.K.
                    Depo Tr. Vol 2, # 13 Ex. 98A S.K. Depo Tr. Vol I, # 14 Ex. 100A O.W. Depo
                    Tr., # 15 Ex. 74A C.S.R. Aff, # 16 Ex. 101A Hobbs Decl, # 17 Ex. 103A
                    Veracity Discl. List)(Runnels, Lindsay) (Additional attachment added on
                    5/3/2022: # 18 Corrected Main Document) (mam) (Entered: 05/02/2022)
05/03/2022          MOTION REFERRAL to Magistrate Judge REMOVED as to: 625
                    SEALED MOTION for Leave to File Under Seal . The motion will be
                    resolved by the District Judge. (df) (Entered: 05/03/2022)
05/03/2022          DOCKET ANNOTATION re 625 : The wrong PDF was attached as the main
                    document. The corrected document, the sealed motion has been added to 625 .
                    Counsel has already provided this information to opposing counsel. (mam)
                    (Entered: 05/03/2022)
05/03/2022   626    ORDER. Defendants in this case have filed three motions to bifurcate or for
                    separate trials (Docs. #594, 596 and 599). None of the parties, however, have
                    addressed the fact that Count V alleges conspiracy and that at least as to
                    Golubski, Krstolich, Ware, Barber and Culp, the Court's rulings on that claim
                    in the pending summary judgment motions (Docs. #581 and 584) may impact
                    the decision whether to bifurcate. In addition, in the summary judgment
                    briefing, the parties do not address how the presence of the conspiracy claims
                    impacts their arguments. Specifically, in determining whether the alleged
                    conspiracy existed, the jury might consider the actions and statements of any
                    of the alleged participants, and the agreement or understanding could be
                    inferred from all the circumstances and the conduct of the alleged participants;
                    it might not be necessary that all acts done in furtherance of the conspiracy be
                    in themselves unlawful; it might not be necessary that defendants have
                    personally committed each act, known about it or witnessed it; and it might
                    make no difference which of the conspirators did the act, because each
                    member of a conspiracy would an agent or partner of every other member and
                    each member would be bound by or responsible for the acts of every other
                    conspirator done to further their scheme. Furthermore, it might not be
                    necessary that the alleged conspirators actually succeed in accomplishing their
                    unlawful plan. Finally, under Rule 801(d)(2), Fed. R. Evid., certain
                    out−of−court statements of the conspirators would not be hearsay. The Court
                    therefore ORDERS that no later than 5:00 PM on Monday, May 9, 2022,
                    Golubski, Krstolich, Ware, Barber and Culp file supplemental authorities and
                    argument in support of their motions for summary judgment, which address


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                    how the presence of the conspiracy claims impacts their arguments. By the
                    same deadline, all defendants shall file supplemental authorities and argument
                    with regard to how the presence of conspiracy claims might be handled in
                    bifurcated trials. No later than 5:00 PM on Monday, May 16, 2022, plaintiffs
                    shall respond. Signed by District Judge Kathryn H. Vratil on 5/3/2022. (This is
                    a TEXT ENTRY ONLY. There is no.pdf document associated with this
                    entry.)(as) (Entered: 05/03/2022)
05/03/2022   627    CONVENTIONALLY FILED EXHIBIT 91 IN SUPPORT of 605
                    Memorandum in Opposition to Motion, received in KC clerk's office 5/3/22.
                    Two flash drives received; one copy will be maintained in KC clerk's office
                    and one copy provided to KHV chambers. (This is a TEXT ENTRY ONLY.
                    There is no.pdf document associated with this entry.). (heo) (Entered:
                    05/03/2022)
05/04/2022   628    ENTRY OF APPEARANCE by Brian Mauldin on behalf of Unified
                    Government of Wyandotte County and Kansas City, Kansas. (Mauldin, Brian)
                    (Entered: 05/04/2022)
05/06/2022   629    ORDER. Plaintiffs seek to exclude Khatib's testimony "to the extent that he
                    makes credibility findings or proffers opinions that are beyond his
                    qualifications." Plaintiffs admit that some of his opinions are admissible, and
                    presumably they have identified all of his opinions −− admissible and
                    inadmissible −− in Exhibit E to their reply brief. On this record, however,
                    other than opinions which are highlighted in red, the Court cannot tell which
                    expert opinions plaintiffs seek to exclude. Therefore, no later than 5 PM on
                    Tuesday, May 10, 2022, plaintiffs shall file a supplemental copy of Khatib's
                    highlighted expert report, indicating the opinions to which they do not object,
                    and separately identifying those which they ask the Court to exclude. Signed
                    by District Judge Kathryn H. Vratil on 5/6/2022. (This is a TEXT ENTRY
                    ONLY. There is no.pdf document associated with this entry.)(as) (Entered:
                    05/06/2022)
05/06/2022   630    RESPONSE by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre re 583
                    Motion to Dismiss. (Attachments: # 1 Index of Exhibits, # 2 Ex A, # 3 Ex B, #
                    4 Ex C, # 5 Ex D, # 6 Ex E)(McMullin, Alana) (Entered: 05/06/2022)
05/06/2022   631    REPLY TO RESPONSE TO MOTION by Defendant Roger Golubski re: 581
                    Motion for Summary Judgment (Napolitano, Christopher) (Entered:
                    05/06/2022)
05/06/2022   632    SUPPLEMENT of Legal Claims to the Parties' Pretrial Order by Plaintiffs
                    Lamonte McIntyre, Rose Lee McIntyre. (McMullin, Alana) (Entered:
                    05/06/2022)
05/09/2022   633    MOTION for Order to appear remotely by Emma Freudenberger, PHV
                    Counsel for Plaintiffs. (referred to Magistrate Judge Kenneth G. Gale) (ca)
                    (Entered: 05/09/2022)
05/09/2022   634    ORDER. 633 MOTION for Order by Emma Freudenberger, PHV Counsel for
                    Plaintiffs is sustained in part. Two weeks ago, counsel contacted the court
                    informally to inquire about scheduling the oral arguments around her
                    daughter's birthday, which is apparently May 24. The Court responded that it
                    could not accommodate that request but that if she did not want to handle the
                    oral argument, other counsel could do so. The Court never "ordered" that

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                    counsel personally handle the argument. As stated earlier, the Court is willing
                    to excuse counsel and allow others to argue for plaintiffs. Also, the Unified
                    Government's motion for summary judgment is not scheduled for argument.
                    Therefore 633 MOTION for Order by Emma Freudenberger, PHV Counsel is
                    sustained to the extent that the Court excuses counsel from argument on the
                    motion for summary judgment of the individual officers. Otherwise it is
                    overruled. Signed by District Judge Kathryn H. Vratil on 5/9/2022. (This is a
                    TEXT ENTRY ONLY. There is no.pdf document associated with this entry.)
                    (as) (Entered: 05/09/2022)
05/09/2022   635    NOTICE OF SUPPLEMENTAL AUTHORITY by Unified Government of
                    Wyandotte County and Kansas City, Kansas re: MOTION to Bifurcate 599
                    filed by Defendant Unified Government of Wyandotte County and Kansas
                    City, Kansas (Mauldin, Brian) (Entered: 05/09/2022)
05/09/2022   636    RESPONSE by Defendants Dennis Ware, Daphne R. Halderman, Daphne R.
                    Halderman, Daphne R. Halderman re 626 Order Additional Briefing regarding
                    Count V Conspiracy (Hayes, Tracy) (Entered: 05/09/2022)
05/09/2022   637    RESPONSE by Defendants Dennis Ware, Daphne R. Halderman, Daphne R.
                    Halderman, Daphne R. Halderman re 626 Order Additional Briefing regarding
                    Request for Separate Trials and Count V Conspiracy (Hayes, Tracy) (Entered:
                    05/09/2022)
05/09/2022   638    RESPONSE by Defendant Roger Golubski re 626 Order additional briefing
                    pursuant to Court Order regarding Count V for Conspiracy (Napolitano,
                    Christopher) (Entered: 05/09/2022)
05/09/2022   639    RESPONSE by Defendant Roger Golubski re 626 Order additional briefing
                    pursuant to Court Order regarding Request for Separate Trials (Napolitano,
                    Christopher) (Entered: 05/09/2022)
05/10/2022   640    UNOPPOSED MOTION for Extension of Time to File a Reply as to 574
                    Motion for Summary Judgment by Defendants James L. Brown, Daphne R.
                    Halderman, Daphne R. Halderman, Daphne R. Halderman, W. K. Smith,
                    Dennis Ware. (Hayes, Tracy) Modified on 5/10/2022, removed the link to 575
                    . (mam) (Entered: 05/10/2022)
05/10/2022          MOTION REFERRAL to Magistrate Judge REMOVED as to: 640
                    Unopposed MOTION for Extension of Time to File Reply as to 574
                    MOTION for Summary Judgment , 575 Memorandum in Support of
                    Motion. The motion will be resolved by the District Judge. (df) (Entered:
                    05/10/2022)
05/10/2022   641    ORDER overruling 640 Defendant Officers' Unopposed Motion For
                    Extension Of Time To File A Reply In Support Of Motion For Summary
                    Judgment. 574 Defendant Officers' Motion For Summary Judgment is set to be
                    heard at the oral argument scheduled for May 23 & 24, 2022. The Court will
                    need the reply brief in order to make meaningful preparations for oral
                    argument and thus will not extend the reply deadline. Signed by District Judge
                    Kathryn H. Vratil on 5/10/2022. (This is a TEXT ENTRY ONLY. There is
                    no.pdf document associated with this entry.) (as) (Entered: 05/10/2022)
05/10/2022   642    NOTICE OF SERVICE by Lamonte McIntyre, Rose Lee McIntyre of Letter to
                    Judge Vratil responding to Court's Order dated 5−6−22 (Attachments: # 1


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                    Exhibit Supplemental Copy of Tarik Khatib's highlighted expert
                    report)(McMullin, Alana) (Entered: 05/10/2022)
05/11/2022   643    ORDER. On May 2, 2022, the Court ordered plaintiffs to "very briefly"
                    provide a supplemental statement of their legal claims. Instead, plaintiffs have
                    filed a supplement that is more than twice as long as the fact section that was
                    contained in the pretrial order. Counsel is advised that for purposes of the
                    pending motions for summary judgment, the Court will disregard Plaintiffs'
                    Supplemental Legal Claims To The Parties' Pretrial Order (Doc. # 632 ) and in
                    filing their reply brief, defendants should likewise do so. The Pretrial Order
                    (Doc. # 562 ) continues to be controlling. Signed by District Judge Kathryn H.
                    Vratil on 5/11/2022. (This is a TEXT ENTRY ONLY. There is no.pdf
                    document associated with this entry.)(as) (Entered: 05/11/2022)
05/11/2022   644    ORDER sustaining, for substantially the reasons stated in the motion, 625
                    Plaintiffs' Motion For Leave To File Exhibits Under Seal. Plaintiffs shall file
                    the document(s) with an event from the SEALED DOCUMENTS category.
                    The clerk shall grant access to sealed document(s) to counsel of record. Pro
                    hac vice attorneys must obtain sealed document(s) from local counsel. Signed
                    by District Judge Kathryn H. Vratil on 5/11/2022. (This is a TEXT ENTRY
                    ONLY. There is no.pdf document associated with this entry.) (as) (Entered:
                    05/11/2022)
05/11/2022   645    REPLY TO RESPONSE TO MOTION by Defendants James L. Brown,
                    Daphne R. Halderman, Daphne R. Halderman, Daphne R. Halderman, W. K.
                    Smith, Dennis Ware re: 574 Motion for Summary Judgment (Attachments: # 1
                    Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6
                    Exhibit F, # 7 Exhibit G, # 8 Exhibit H)(Hayes, Tracy) (Entered: 05/11/2022)
05/12/2022   646    NOTICE of Letter in response to Court's order, Doc 643 by Lamonte
                    McIntyre, Rose Lee McIntyre (Pilate, Cheryl) (Entered: 05/12/2022)
05/13/2022   647    REPLY TO RESPONSE TO MOTION by Defendants Daphne R. Halderman
                    (as Special Administrator of estates of James Michael Krstolich, Dennis Otto
                    Barber and Steve Culp), James L. Brown, W. K. Smith, Dennis Ware re 596
                    Motion for Separate Trials. (Hayes, Tracy) Modified on 5/13/2022 to correct
                    the filers. (mam) (Entered: 05/13/2022)
05/13/2022   648    REPLY TO RESPONSE TO MOTION by Defendant Roger Golubski re: 594
                    Motion to Bifurcate (Napolitano, Christopher) (Entered: 05/13/2022)
05/13/2022   649    REPLY TO RESPONSE TO MOTION by Defendant Unified Government of
                    Wyandotte County and Kansas City, Kansas re: 597 Motion to Transfer Case,
                    (Attachments: # 1 Exhibit October round trip bus ticket from KCMO to
                    Wichita, # 2 Exhibit May round trip bus ticket from KCMO to Wichita, # 3
                    Exhibit Oct 15−Nov 12 round trip flights from New York to Wichita, # 4
                    Exhibit Office Rental Costs, # 5 Exhibit List)(Cooper, David) (Entered:
                    05/13/2022)
05/13/2022   650    REPLY TO RESPONSE TO MOTION by Defendant Unified Government of
                    Wyandotte County and Kansas City, Kansas re: 599 Motion to Bifurcate
                    (Cooper, David) (Entered: 05/13/2022)
05/16/2022   651    SEALED EXHIBIT(S) IN SUPPORT of 624 Memorandum in Opposition to
                    Motion by Plaintiffs Lamonte McIntyre, Rose Lee McIntyre (Attachments: # 1


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                    Ex. 29−A, # 2 Ex. 31−A, # 3 Ex. 33−A, # 4 Ex. 34−A, # 5 Ex. 35−A, # 6 Ex.
                    40−A, # 7 Ex. 41−A, # 8 Ex. 74−A, # 9 Ex. 75−A, # 10 Ex. 91−A, # 11 Ex.
                    96−A, # 12 Ex. 98−A Part 1, # 13 Ex. 98−A Part 2, # 14 Ex. 100−A, # 15 Ex.
                    101−A, # 16 Ex. 103−A)(Runnels, Lindsay) (Entered: 05/16/2022)
05/16/2022   652    RESPONSE to 637 Response to Order, 639 Response to Order, 635 Notice of
                    Supplemental Authority Consolidated Response to Defendants' Additional
                    Briefing Pursuant to Court Order Regarding Bifurcation by Plaintiffs
                    Lamonte McIntyre, Rose Lee McIntyre. (McMullin, Alana) (Entered:
                    05/16/2022)
05/16/2022   653    RESPONSE by Plaintiffs Rose Lee McIntyre, Lamonte McIntyre re 626
                    Order, Plaintiffs' Response to Defendant Golubski's Additional Briefing
                    Pursuant to Court Order Regarding Count V for Conspiracy (Abrams,
                    Michael) (Entered: 05/16/2022)
05/16/2022   654    RESPONSE by Plaintiffs Rose Lee McIntyre, Lamonte McIntyre re 626
                    Order, Plaintiffs' Response to Defendant Officers' Additional Briefing
                    Pursuant to Court Order Regarding Count V for Conspiracy (Abrams,
                    Michael) (Entered: 05/16/2022)
05/16/2022   655    REPLY TO RESPONSE TO MOTION by Defendant Unified Government of
                    Wyandotte County and Kansas City, Kansas re: 580 Motion for Summary
                    Judgment,,,,, (Attachments: # 1 Exhibit List, # 2 Ex. Ellington obituary, # 3
                    Ex. Maskill obituary)(Cooper, David) (Entered: 05/16/2022)
05/17/2022   656    NOTICE of SCHEDULE for HEARING: THIS IS AN OFFICIAL NOTICE
                    FOR THIS HEARING. See Notice for oral argument schedule as to hearings
                    set for 5/23/2022 at 09:00 AM and 5/24/2022 at 10:00 AM in KC Courtroom
                    440 (JWL/KHV). (as) (Entered: 05/17/2022)
05/20/2022   657    REPLY TO RESPONSE TO MOTION by Defendant Roger Golubski re: 583
                    Motion to Dismiss,, Plaintiff Rose McIntyre's Claim (Attachments: # 1 Exhibit
                    1)(Gist, Matthew) (Entered: 05/20/2022)
05/23/2022   658    MINUTE ENTRY for proceedings held before District Judge Kathryn H.
                    Vratil: MOTION HEARING held on 5/23/2022. See Minute Sheet for rulings.
                    Oral arguments to continue on 5/24/2022 at 10:00 AM in KC Courtroom 643
                    before District Judge Kathryn H. Vratil. (Court Reporter Kim Greiner.) (as)
                    (Entered: 05/23/2022)
05/24/2022   659    MINUTE ENTRY for proceedings held before District Judge Kathryn H.
                    Vratil: MOTION HEARING held on 5/24/2022. See Minute Sheet for rulings.
                    (Court Reporter Kelli Stewart.) (as) (Entered: 05/24/2022)
05/31/2022   660    MEMORANDUM AND ORDER sustaining and overruling 573 Motion to
                    Exclude. Sustaining Dysart's opinion that the identification procedures used in
                    this case "likely led to the wrongful prosecution and conviction of Lamonte
                    McIntyre." Defendant's motion is otherwise overruled. Signed by District
                    Judge Kathryn H. Vratil on 5/31/2022. (sz) (Entered: 05/31/2022)
05/31/2022   661    MEMORANDUM AND ORDER sustaining 578 Motion for Order. The
                    reasons articulated by the Court at oral argument on May 23, 2022, the Court
                    sustains in part plaintiffs' motion to exclude Khatib's testimony. Signed by
                    District Judge Kathryn H. Vratil on 5/31/2022. (sz) (Entered: 05/31/2022)


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05/31/2022   662    MEMORANDUM AND ORDER sustaining 576 Motion To Exclude
                    Testimony of Robert Blake McConnel. See Order for details. Signed by
                    District Judge Kathryn H. Vratil on 5/31/2022. (sz) (Entered: 05/31/2022)
06/02/2022   663    REPORT AND RECOMMENDATIONS to deny 583 MOTION to Dismiss
                    Plaintiff Rose McIntyre's Claim filed by Defendant Roger Golubski.
                    Objections to R&R due by 6/16/2022. Signed by Magistrate Judge Kenneth G.
                    Gale on 6/2/22. (df) (Entered: 06/02/2022)
06/06/2022   664    TRANSCRIPT (EXCERPT) OF MOTIONS HEARING (Motion to
                    Bifurcate/Separate Trial; Motion to Transfer) (46 pgs) held 05/24/2022 before
                    Judge Kathryn H. Vratil, Court Reporter Kelli Stewart, 913−735−2334,
                    kelli_stewart@ksd.uscourts.gov. Transcript purchased by: Mr. Michael
                    Abrams.

                    NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days
                    of this filing, each party shall inform the Court, by filing a Notice of Intent
                    to Redact, of the party's intent to redact personal data identifiers from the
                    electronic transcript of the court proceeding. The policy is located on our
                    website at www.ksd.uscourts.gov. Please read this policy carefully. If no
                    Notice of Intent to Redact is filed within the allotted time, this transcript
                    will be made electronically available on the date set forth below.

                    Transcript may be viewed at the court public terminal or purchased through
                    the Court Reporter/Transcriber before the deadline for Release of Transcript
                    Restriction. After that date it may be obtained through PACER. Release of
                    Transcript Restriction set for 9/6/2022. (ks) (Entered: 06/06/2022)
06/06/2022   665    STIPULATION OF DISMISSAL of Count IV and Count II of this action as to
                    Defendant Dennis Otto Barber only by Lamonte McIntyre, Rose Lee
                    McIntyre. (McMullin, Alana) (Entered: 06/06/2022)
06/06/2022   666    STIPULATION OF DISMISSAL of Count II of this action as to Defendant
                    W.K. Smith only by Lamonte McIntyre, Rose Lee McIntyre. (McMullin,
                    Alana) (Entered: 06/06/2022)
06/06/2022   667    STIPULATION OF DISMISSAL of Count II of this action as to Defendant
                    James L. Brown only by Lamonte McIntyre, Rose Lee McIntyre. (McMullin,
                    Alana) (Entered: 06/06/2022)
06/09/2022   668    MEMORANDUM AND ORDER − Defendant Roger Golubski's Motion For
                    Summary Judgment (Doc. #581) filed April 1, 2022 is SUSTAINED in part.
                    The Court sustains defendant's motion as to plaintiff's First Amendment claim
                    for loss of familial association. Defendant's motion is otherwise overruled.
                    Signed by District Judge Kathryn H. Vratil on 6/9/2022. (ca) (Entered:
                    06/09/2022)
06/13/2022   669    ORDER SETTING PRETRIAL FILING DEADLINES. This case is set for
                    jury trial beginning 10/17/2022 at 09:00 AM in KC Courtroom 643. On
                    10/4/2022 at 10:00 AM, the Court will hold a status conference in KC
                    Courtroom 643. On 7/28/2022 at 09:00 AM in KC Courtroom 643, the Court
                    will conduct oral arguments on the Unified Government's Motion for
                    Summary Judgment (Doc. 580 ) filed 4/1/2022 as well as on any motions in
                    limine that are pending at that time. At that time the Court will also hold a


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                    hearing as to the parties' trial plan. See attached order for additional deadline
                    information. Signed by District Judge Kathryn H. Vratil on 6/13/2022. (mam)
                    (Additional attachment(s) added on 6/13/2022: # 1 Exhibit Sheet, # 2 Trial
                    Agreements) (mam). (Entered: 06/13/2022)
06/13/2022   670    NOTICE OF WITHDRAWAL OF APPEARANCE by attorney Henry E.
                    Couchman Jr. as to Unified Government of Wyandotte County and Kansas
                    City, Kansas (Couchman, Henry) (Entered: 06/13/2022)
06/13/2022          NOTICE OF DOCKET MODIFICATION by Deputy Clerk re 669 :
                    Attachments added and NEF regenerated. (mam) (Entered: 06/13/2022)
06/17/2022   671    TRANSCRIPT of Motion Hearing Volume 1 (pgs 1−104) held May 23, 2022
                    before Judge Kathryn H. Vratil, Court Reporter Kim Greiner, 913−735−2314,
                    kim_greiner@ksd.uscourts.gov. Transcript purchased by: David Cooper and
                    Charles Branson.

                    NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days
                    of this filing, each party shall inform the Court, by filing a Notice of Intent
                    to Redact, of the party's intent to redact personal data identifiers from the
                    electronic transcript of the court proceeding. The policy is located on our
                    website at www.ksd.uscourts.gov. Please read this policy carefully. If no
                    Notice of Intent to Redact is filed within the allotted time, this transcript
                    will be made electronically available on the date set forth below.

                    Transcript may be viewed at the court public terminal or purchased through
                    the Court Reporter/Transcriber before the deadline for Release of Transcript
                    Restriction. After that date it may be obtained through PACER. Release of
                    Transcript Restriction set for 9/15/2022. (kg) (Entered: 06/17/2022)
06/17/2022   672    NOTICE OF INTERLOCUTORY APPEAL by Defendant Roger Golubski
                    Filing fee $ 505, Internet Payment Receipt Number AKSDC−5804548. (Gist,
                    Matthew) (Entered: 06/17/2022)
06/17/2022   673    NOTICE of Change in Date for Oral Arguments/Hearing. THIS IS AN
                    OFFICIAL NOTICE FOR THIS HEARING. The In Court Hearing previously
                    set for 7/28/2022 has been reset to 7/27/2022 at 10:00 AM in KC Courtroom
                    427 (JAR)before District Judge Kathryn H. Vratil. The Court will conduct oral
                    arguments on the Unified Government's Motion for Summary Judgment (Doc.
                    # 580 ) filed April 1, 2022 as well as on any motions in limine that are pending
                    at that time. At that time the Court will also hold a hearing as to the parties'
                    trial plan. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.)(as) (Entered: 06/17/2022)
06/17/2022   674    ORDER TO SHOW CAUSE. On or before June 22, 2022, the parties shall
                    show good cause in writing why, in light of the pending notice of appeal, the
                    Court should not bifurcate the federal and state law claims and proceed to trial
                    on the state law claims on October 17, 2022, as scheduled. See order for
                    details. (Show Cause Response due by 6/22/2022.) Signed by District Judge
                    Kathryn H. Vratil on 6/17/2022. (bg) (Entered: 06/17/2022)




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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

LAMONTE MCINTYRE and                        )
ROSE LEE MCINTYRE,                          )
                                            )
                         Plaintiffs,        )                       CIVIL ACTION
                                            )
v.                                          )                       No. 18-2545-KHV
                                            )
UNIFIED GOVERNMENT OF WYANDOTTE             )
COUNTY AND KANSAS CITY, KANSAS, et al., )
                                            )
                         Defendants.        )
____________________________________________)

                                MEMORANDUM AND ORDER

       Lamonte McIntyre and Rose Lee McIntyre filed suit against the Unified Government of

Wyandotte County and Kansas City, Kansas (“Unified Government”), Roger Golubski, Dennis

Ware, James Brown, Clyde Blood, W.K. Smith and Daphne Halderman (as special administrator

of the estates of James Michael Krstolich, Dennis Otto Barber and Steve Culp, who are deceased).

Plaintiffs allege that defendants arrested, prosecuted and imprisoned Lamonte McIntyre for

murders that he did not commit, and they bring various claims under 42 U.S.C § 1983 and state

law.1 This matter is before the Court on Defendant Roger Golubski’s Motion For Summary

Judgment (Doc. #581) filed April 1, 2022. For reasons stated below, the Court sustains in part

defendant’s motion for summary judgment.2



       1
              To avoid confusion, the Court refers to Lamonte McIntyre as “McIntyre” and his
mother, Rose Lee McIntyre, as “Ms. McIntyre.”
       2
                 To expedite a ruling on this motion, because this case is set for trial commencing
October 17, 2022, the Court held oral argument on May 24, 2022 and communicated the reasons
for its decision without attempting to draft a legal treatise or cite extensive case law. The law in
this area is clear and the Court has taken into account the authorities which are cited in the parties’
briefs, along with other authorities. If necessary for future proceedings, the Court may supplement
this order with additional findings of fact or legal citations.




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                                 Summary Judgment Standards

       Summary judgment is appropriate if the pleadings, depositions, answers to interrogatories,

and admissions on file, together with the affidavits, if any, show no genuine issue as to any material

fact and that the moving party is entitled to judgment as a matter of law. See Fed. R. Civ. P. 56(c);

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986); Hill v. Allstate Ins. Co., 479 F.3d 735,

740 (10th Cir. 2007). A factual dispute is “material” only if it “might affect the outcome of the

suit under the governing law.” Liberty Lobby, 477 U.S. at 248. A “genuine” factual dispute

requires more than a mere scintilla of evidence in support of a party’s position. Id. at 252.

       The moving party bears the initial burden of showing the absence of any genuine issue of

material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986); Nahno-Lopez v. Houser, 625

F.3d 1279, 1283 (10th Cir. 2010). Once the moving party meets this burden, the burden shifts to

the nonmoving party to demonstrate that genuine issues remain for trial as to those dispositive

matters for which the nonmoving party carries the burden of proof. Applied Genetics Int’l, Inc. v.

First Affiliated Sec., Inc., 912 F.2d 1238, 1241 (10th Cir. 1990); see also Matsushita Elec. Indus.

Co. v. Zenith Radio Corp., 475 U.S. 574, 586–87 (1986). To carry this burden, the nonmoving

party may not rest on the pleadings but must instead set forth specific facts supported by competent

evidence. Nahno-Lopez, 625 F.3d at 1283.

       In applying these standards, the Court views the factual record in the light most favorable

to the party opposing the motion for summary judgment. Dewitt v. Sw. Bell Tel. Co., 845 F.3d

1299, 1306 (10th Cir. 2018). The Court may grant summary judgment if the nonmoving party’s

evidence is merely colorable or not significantly probative. Liberty Lobby, 477 U.S. at 250–51.

Essentially, the inquiry is “whether the evidence presents a sufficient disagreement to require

submission to the jury or whether it is so one-sided that one party must prevail as a matter of law.”



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Id. at 251–52.

                                      Factual Background

       Initially, the Court addresses the form of the parties’ briefing and their compliance with D.

Kan. Rule 56.1. The parties have submitted lengthy memoranda—a total of 488 pages of facts and

argument. The factual sections of the parties’ briefing encompass more than 400 pages which

address 377 separate factual statements. In the parties’ responses to the opposing party’s statement

of facts, neither side has complied with the local rule on motions for summary judgment.3 The

Court is therefore hesitant to dive too deeply into the futile exercise of addressing the parties’

numerous arguments in the fact sections of their memoranda and attempting to distinguish disputed

from undisputed facts, facts from inferences and facts from argument. In any event, from the

voluminous briefing on the motion and counsel’s statements at the hearing, the parties presented

two diametrically opposed version of the facts with supporting record evidence. On this record, it

is clear that Golubski’s narrative can only be characterized as “factual” if it is tested against a

narrow slice of the record evidence and if he—rather than plaintiffs—receives the benefit of all

favorable inferences.

       Fairly viewed in light of the relevant summary judgment standards, the record reveals




       3
                See D. Kan. Rule 56.1(a) (factual section in supporting memorandum must include
“concise” statement of material facts); (b)(1) (factual section in opposition memorandum must
include “concise” statement of material facts); (b)(2) (additional facts in opposition memorandum
also shall comply with subsection (a)); (c) (in reply brief, moving party must respond to additional
material facts in manner prescribed in subsection (b)(1)); (e) (all responses must fairly meet
substance of matter asserted); see also Burch v. Regents of Univ. of Cal., 433 F. Supp. 2d 1110,
1119 (E.D. Cal. 2006) (in responding to summary judgment facts, counsel should challenge
sufficiency of evidence, not admissibility based on objections such as lack of materiality or
relevance); Black & Veatch Corp. v. Aspen Ins. (UK) Ltd., No. 12-2350-SAC, 2016 WL 6804894,
at *2 (D. Kan. Nov. 17, 2016) (under D. Kan. Rule 56.1(e), party should not dispute fact because
it disputes relevance or force of legal argument for which fact may be offered), vacated on other
grounds, 882 F.3d 952 (10th Cir. 2018).
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critical issues of material fact which defeat Golubski’s motion. Stated most generally, these issues

include (1) whether—independent of individual wrongdoing—defendants had probable cause to

arrest, confine and prosecute McIntyre; (2) whether defendants fabricated inculpatory evidence

and intentionally withheld exculpatory evidence; (3) whether defendants proximately caused

McIntyre’s wrongful prosecution and conviction; (4) whether Golubski violated plaintiffs’ rights

to familial association by framing McIntyre for murders that he did not commit and (5) whether

Golubski conspired with other officers to wrongfully arrest, confine and prosecute McIntyre. This

list is by no means exhaustive, and no fair reading of the summary judgment record would entitle

Golubski to summary judgment on any of plaintiffs’ claims in their entirety.

       McIntyre claims as follows: (1) under Section 1983, Count 1 asserts Fourth and Fourteenth

Amendment malicious prosecution claims against Golubski, Krstolich, Ware, Brown, Barber,

Culp and Smith; (2) under Section 1983, Count 2 asserts Fourth and Fourteenth Amendment

evidence fabrication claims against Golubski, Krstolich, Ware, Brown and Barber and violations

of Brady v. Maryland, 373 U.S. 83 (1963) against Golubski, Krstolich and Ware; (3) under

Section 1983, Count 3 asserts First and Fourteenth Amendment familial association claims against

Golubski; (4) under Section 1983, Count 4 asserts Fourth and Fourteenth Amendment failure to

intervene claims against Krstolich, Ware and Culp; (5) under Section 1983, Count 5 asserts First,

Fourth, Fifth and Fourteenth Amendment conspiracy claims against Golubski, Krstolich, Ware,

Barber and Culp; (6) under Section 1983, Count 6 asserts Fourth and Fourteenth Amendment

supervisory liability claims against Culp; (7) under Section 1983, Count 7 asserts claims under

Monell v. Dep’t of Soc. Servs. of City of New York, 436 U.S. 658 (1978) against the Unified

Government; (8) under state law, Count 8 asserts malicious prosecution claims against Golubski,

Krstolich, Ware, Brown, Barber, Culp and Smith; and (9) under state law, Count 9 asserts



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respondeat superior liability against Unified Government for the state-level malicious prosecution

claims. See Pretrial Order (Doc. #562) filed March 17, 2022 at 40–41.4 Ms. McIntyre joins in

Count 3 (loss of familial association) and Count 7 (Monell liability).

                                             Analysis

I.      Probable Cause To Arrest McIntyre (Counts 1 and 8)

        In Count 1, McIntyre asserts claims for malicious prosecution under the Fourth and

Fourteenth Amendments, alleging that Golubski fabricated inculpatory evidence and intentionally

withheld and misrepresented exculpatory facts that would have vitiated probable cause to believe

that he committed the murders. In Count 8, McIntyre asserts claims for malicious prosecution

under state law. Defendant argues that he is entitled to summary judgment on plaintiff’s malicious

prosecution claims because the officers had sufficient probable cause, or at least a reasonable

official would have believed that probable cause existed, to arrest, detain and prosecute McIntyre.

        An essential element of a malicious prosecution claim under both federal and state law is

that probable cause did not support the original arrest, continued confinement or prosecution.

Montoya v. Vigil, 898 F.3d 1056, 1066 (10th Cir. 2018); Lindenman v. Umscheid, 255 Kan. 610,

624, 875 P.2d 964, 974 (1994). Probable cause exists if “the facts and circumstances are sufficient

to warrant a person of reasonable caution to believe” that an individual committed a crime.

McCarty v. Gilchrist, 646 F.3d 1281, 1286 (10th Cir. 2011); see Mink v. Knox, 613 F.3d 995,

1003 (10th Cir. 2010). If evidence is falsified or withheld, “the probable cause determination is




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               In the Pretrial Order (Doc. #562), plaintiffs also assert a failure to intervene claim
(Count 4) against Barber, a fabrication claim (Count 2) against Smith and a Brady claim (Count 2)
against Smith, Barber and Brown. On June 6, 2022, the parties stipulated to the dismissal of these
claims. See Stipulation Of Dismissal (Doc. #665) filed June 6, 2022 (Barber); Stipulation Of
Dismissal (Doc. #666) filed June 6, 2022 (Smith); Stipulation Of Dismissal (Doc. #665) filed
June 6, 2022 (Brown).
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made by considering whether, excluding the falsified inculpatory evidence or including the

withheld exculpatory evidence, probable cause existed to prosecute.” McCarty, 646 F.3d at 1286.

In other words, the Court asks whether—considering the exculpatory evidence and ignoring the

falsified evidence—a person of reasonable caution would believe that the individual committed a

crime. See id.

         Golubski notes that throughout the years, Niko Quinn and Ruby Mitchell gave inconsistent

statements about his influence on their identifications and whether McIntyre was the shooter. Even

so, McIntyre has presented evidence that (1) Golubski knew that Mitchell did not have a vantage

point to see the shooter’s face; (2) Mitchell’s identification of “Lamont” who dated her niece was

not McIntyre; (3) Mitchell identified the shooter as an individual who was five feet six or seven

inches with French braids but Golubski and other officers knew that McIntyre was five feet eleven

inches and before the shooting, had his hair cut near his scalp; and (4) both Niko Quinn and Stacy

Quinn identified someone other than McIntyre as the shooter and provided detailed evidence of

that individual’s motive and past assaults on the victim. Viewing the evidence in a light most

favorable to plaintiff, a reasonable jury could find that based on this exculpatory evidence and

ignoring the evidence that Golubski falsified, a reasonable officer would not believe that probable

cause existed to arrest, detain and prosecute McIntyre. The Court therefore overrules defendant’s

motion for summary judgment on this ground.

II.      Causation (Counts 1, 2, 3, 5 and 8)

         Golubski argues that he is entitled to summary judgment on various counts because

plaintiff has not presented evidence that he caused McIntyre’s prosecution. Specifically, defendant

argues that the chain of causation was broken because (1) Terra Morehead, the prosecutor, coerced

Niko Quinn to identify McIntyre and (2) at trial, months after the alleged wrongdoing, Mitchell



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and Niko Quinn still identified McIntyre as the perpetrator.

       Under Section 1983, a government actor is liable if he “set in motion a series of events”

that he knew or reasonably should have known would cause others to deprive plaintiff of his

constitutional rights. Martinez v. Carson, 697 F.3d 1252, 1255 (10th Cir. 2012) (citations omitted);

see also Russell v. May, 306 Kan. 1058, 1078, 400 P.3d 647, 662 (2017) (if first actor could

reasonably foresee intervening cause, his negligence may be considered proximate cause,

notwithstanding intervening cause). In other words, defendant is liable for the harm that his

conduct proximately causes. Martinez, 697 F.3d at 1255. Accordingly, an officer can be liable

for the violation of plaintiff's constitutional rights if the violation would not have occurred but for

defendant’s conduct and if no unforeseeable intervening acts superseded defendant’s liability. Id.

The fact that people other than defendant “may have concurrently caused the harm does not change

the outcome as to [defendant].” Id. (citations omitted). Causation generally is a question of fact

for the jury. Schneider v. City of Grand Junction Police Dep’t, 717 F.3d 760, 778 (10th Cir. 2013).

       Golubski has presented evidence that Morehead coerced Niko Quinn to continue to identify

McIntyre as the perpetrator and that at trial, Mitchell and Niko Quinn re-identified McIntyre. Even

so, plaintiff has presented evidence that Golubski never revealed his misconduct to Morehead and

that his misconduct tainted the in-court identifications by Mitchell and Niko Quinn. This evidence,

combined with the natural inclination of a witness not to change his or her story, creates a genuine

issue of material fact whether Golubski’s misconduct caused McIntyre’s prosecution and

conviction. The Court therefore overrules defendant’s motion for summary judgment on this

ground.

III.   Adequacy Of State Law Remedies – 14th Amendment Claims (Counts 1, 2 and 3)

       In a single sentence, Golubski argues that because Kansas provides adequate state



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remedies, he is entitled to summary judgment on all of McIntyre’s Fourteenth Amendment claims.

See Defendant Roger Golubski’s Memorandum In Support Of His Motion For Summary Judgment

(Doc. #582) filed April 1, 2022 at 45–46. Golubski does not address the Court’s prior ruling on

this same issue. See Memorandum And Order (Doc. #190) filed March 3, 2020 at 17–19. For

substantially the reasons stated in the order on Golubski’s motion to dismiss, the Court overrules

defendant’s motion for summary judgment on this ground. See id.

IV.     Fourth Amendment Claim For Malicious Prosecution (Count 1)

        Golubski argues that McIntyre cannot assert a Fourth Amendment claim under 42 U.S.C.

§ 1983 for malicious prosecution. McIntyre correctly notes that the Supreme Court has explicitly

recognized such a claim. See Thompson v. Clark, 142 S. Ct. 1332 (2022). In reply, defendant

does not dispute that plaintiff’s Fourth Amendment claim is viable under Thompson. The Court

therefore overrules defendant’s motion for summary judgment on this ground.

V.      Due Process Claim Based On Fabrication Of Evidence (Count 2)

        Golubski argues that he is entitled to qualified immunity on McIntyre’s due process claim

based on fabrication of evidence because (1) McIntyre has not shown that Golubski fabricated

evidence and (2) in 1994, the law was not clearly established that Golubski’s conduct constituted

fabrication. In support of both arguments, Golubski argues that McIntyre has not presented

evidence that Golubski knew that the evidence which incriminated him was false.

        To establish a due process violation based on fabrication of evidence, plaintiff must show

that Golubski knowingly fabricated evidence, i.e. that he necessarily knew that the evidence was

false. Truman v. Orem City, 1 F.4th 1227, 1236 (10th Cir. 2021). Golubski argues that at most,

McIntyre has presented evidence of coercion, not fabrication. Viewed in a light most favorable to

McIntyre, however, a reasonable jury could infer that Golubski fabricated a narrative which



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implicated McIntyre and coerced witnesses to give statements that corroborated a narrative that

Golubski knew was false. The Court cannot come close to conclusively resolving this issue in

Golubski’s favor, or find that McIntyre’s case is devoid of evidence which supports his claim that

Golubski knowingly fabricated false evidence against McIntyre. McIntyre has presented sufficient

evidence to create a genuine issue of material fact whether Golubski violated his due process rights

by fabrication of evidence.

        Golubski asserts that in 1994, no due process right prohibiting fabrication of evidence was

clearly established. A constitutional right is clearly established when it is “sufficiently clear that

every reasonable official would have understood that what he is doing violates that right.” Estate

of Ceballos v. Husk, 919 F.3d 1204, 1215 (10th Cir. 2019) (citations omitted). The Supreme Court

has warned against defining a clearly established right “at a high level of generality” and that the

law must be “particularized to the facts of the case,” but this does not mean that a right is only

clearly established if a case exists that is factually identical. Id. (citations omitted). In other words,

the “clearly established” prong does not require plaintiff to show that “the very act in question

previously was held unlawful.” Weigel v. Broad, 544 F.3d 1143, 1153 (10th Cir. 2008) (citations

omitted). This makes good sense: if a right is only clearly established when a prior case presents

identical facts, qualified immunity would apply whenever a different fact pattern arises. Under

this standard, officials would always be entitled to qualified immunity so long as their actions—

no matter how outrageous or harmful—were sufficiently novel. The Tenth Circuit has therefore

explained that the “more obviously egregious the conduct in light of prevailing constitutional

principles, the less specificity is required from prior case law to clearly establish the violation.”

Stetzel v. Holubek, 661 F. App’x 920, 922 (10th Cir. 2016); see Duran v. Sirgedas, 240 F. App’x

104, 127 (7th Cir.) (“It would create perverse incentives indeed if a qualified immunity defense



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could succeed against those types of claims that have not previously arisen because the behavior

alleged is so egregious that no like case is on the books.”) (citations omitted), vacated in part on

reh’g (July 17, 2007).

       In 1994, the law was clearly established that Golubski’s conduct—when the evidence is

viewed in the light most favorable to plaintiff—constituted fabrication. See Truman, 1 F.4th at

1236 (long recognized that individuals have right not to be deprived of liberty as result of

fabrication of evidence by government officer) (citing Pyle v. Kansas, 317 U.S. 213, 216 (1942));

see also Pierce v. Gilchrist, 359 F.3d 1279, 1299 (10th Cir. 2004) (“Long before the events in

question, the Supreme Court held that a defendant’s due process rights are implicated when the

state knowingly uses false testimony to obtain a conviction”) (citing Pyle, 317 U.S. at 216); id.

(“Even if there were no case directly on point imposing liability on officials whose falsification of

evidence occurred at the post-arrest stage, an official in [defendant’s] position could not have

labored under any misapprehension that the knowing or reckless falsification and omission of

evidence was objectively reasonable.”). The Court therefore overrules Golubski’s motion for

summary judgment on McIntyre’s due process claim based on fabrication of evidence.

VI.    Due Process Claims Based On Withholding Evidence

       Golubski argues that he is entitled to qualified immunity on McIntyre’s due process claim

based on violations of obligations set forth in Brady. Specifically, Golubski argues that in 1994,

the law did not clearly establish that (1) an officer—as opposed to the prosecutor—had an

affirmative duty to disclose Brady material or (2) an officer had a duty to disclose his own

misconduct (related or unrelated to the subject investigation) or otherwise inadmissible evidence.

       In Brady, the Supreme Court held that “suppression by the prosecution of evidence

favorable to an accused upon request violates due process where the evidence is material either to



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guilt or to punishment.” 373 U.S. at 87. To succeed on a Brady claim, plaintiff must show (1) the

evidence at issue is favorable to him either because it is exculpatory, or because it is impeaching,

(2) the state suppressed that evidence, either willfully or inadvertently and (3) he was prejudiced.

Powell v. Miller, 104 F. Supp. 3d 1298, 1309 (W.D. Okla. 2015).

       Golubski argues that in 1994, the law was not clearly established that an officer—as

opposed to the prosecutor—had an affirmative duty to disclose Brady material. Since well before

1986, however, the law has established that due process prohibits the state—including one of its

investigators—from withholding exculpatory evidence. Pierce, 359 F.3d at 1299 (long before

1986, Supreme Court held that “defendant’s due process rights are implicated when the state . . .

withholds exculpatory evidence from the defense.”) (citing Newsome v. McCabe, 256 F.3d 747,

752–53 (7th Cir. 2001) for proposition that “Brady clearly established that officers could not

withhold information that plaintiff’s fingerprints did not match those found at the crime scene or

that officers influenced witnesses to pick plaintiff out of police lineup”); see also United States v.

Buchanan, 891 F.2d 1436, 1442 (10th Cir. 1989) (because investigative officers are part of

prosecution, taint on trial no less if they, rather than prosecutors, were guilty of nondisclosure;

knowledge by police or investigators therefore imputed to prosecution under Brady).

       Next, Golubski argues that in 1994, the law was not clearly established that an officer had

a duty to disclose his own misconduct (related or unrelated to the subject investigation) or

otherwise inadmissible evidence. In 1994, Brady unquestionably required the prosecution to

disclose an officer’s misconduct and other impeachment evidence. See Ballinger v. Kerby, 3 F.3d

1371, 1376 (10th Cir. 1993) (Brady violation based on suppression of impeachment evidence);

Bowen v. Maynard, 799 F.2d 593, 613 (10th Cir. 1986) (Brady violation based on suppression of

evidence which impeached identifications of eyewitnesses, evidence pointing to a credible



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alternate suspect, as well as evidence which “raises serious questions about the manner, quality,

and thoroughness of the [police] investigation”); see also Buchanan, 891 F.2d at 1443–45

(evidence of sexual relationship between investigating officer and witness, known only to officer,

was impeachment that should have been disclosed). Golubski argues that Ballinger and Bowen

do not address a police officer’s specific role in the Brady violation and Buchanan did not address

whether the individual officer had a duty to disclose as opposed to the prosecution’s duty to ensure

that officers turn over evidence against them. Even so, Brady was decided in 1963, and it “clearly

established that officers could not withhold information that plaintiff’s fingerprints did not match

those found at the crime scene or that officers influenced witnesses to pick plaintiff out of police

lineup.” Pierce, 359 F.3d at 1299 (citing Newsome, 256 F.3d at 752–53). Accordingly, in 1994,

a reasonable official in Golubski’s position could not have labored under any misapprehension

that the knowing suppression of exculpatory and impeachment evidence involving his prior

misconduct (both related and unrelated to the investigation) violated McIntyre’s due process rights.

See id. (“Even if there were no case directly on point imposing liability on officials whose

falsification of evidence occurred at the post-arrest stage, an official in [defendant’s] position could

not have labored under any misapprehension that the knowing or reckless falsification and

omission of evidence was objectively reasonable.”). The Court therefore overrules defendant’s

motion for summary judgment claim on McIntyre’s due process claims based on withholding

evidence.

VII.   Familial Association Claims (Count 3)

       Under Section 1983, McIntyre and Ms. McIntyre assert First and Fourteenth Amendment

familial association claims against Golubski. Defendant argues that he is entitled to qualified

immunity on plaintiffs’ familial association claims.



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       On defendant’s motion to dismiss, the Court stated as follows:

       In 1994, the right to familial association was sufficiently clear that every reasonable
       official would have understood that what Golubski was doing violates that right.
       By 1985, the Tenth Circuit had made clear that intentionally and unlawfully
       interfering with familial relations is unconstitutional. See Trujillo, 768 F.2d at
       1190. According to plaintiffs’ allegations, which the Court accepts as true for
       purposes of the motion to dismiss, Golubski sexually assaulted Rose and
       continually harassed her, pressuring her for a long-term relationship and offering
       to pay for sex. Rose repeatedly rejected his advances, changed her phone number
       and moved to a new home to hide from Golubski. To punish Rose for her rejections,
       Golubski took away her son by framing him for murder—coercing identifications,
       fabricating police reports and suppressing exculpatory evidence. Golubski’s plot
       succeeded: Lamonte was wrongfully convicted and spent 23 years in prison. As a
       result, Rose suffered extreme emotional and psychological devastation.

       Golubski is correct that in 1994, no Tenth Circuit court had held that an officer
       violates the clearly established right to familial association by framing a son for
       murder in retaliation for the mother’s rejection of sexual advances. But every
       reasonable officer would have understood that this egregious conduct violates that
       right.

Memorandum And Order (Doc. #190) at 25.

       Golubski first argues that plaintiffs cannot assert a First Amendment claim for loss of

familial association. Golubski did not raise this issue in his motion to dismiss. Familial association

claims are “grounded in the shocks-the-conscience approach to substantive due process claims

challenging executive action.” Halley v. Huckaby, 902 F.3d 1136, 1155 (10th Cir. 2018); see also

Thomas v. Kaven, 765 F.3d 1183, 1196 (10th Cir. 2014) (familial association claim grounded in

“substantive due process”); id. at 1190 n.4 (noting that plaintiffs also brought First Amendment

associational claim, but district court dismissed it without objection); Griffin v. Strong, 983 F.2d

1544, 1547 (10th Cir. 1993) (familial right of association properly based on concept of liberty in

Fourteenth Amendment). In their response, plaintiffs do not dispute that their familial association

claims arise only under the Fourteenth Amendment. The Court therefore sustains defendant’s

motion for summary judgment on plaintiffs’ First Amendment claim for loss of familial



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association.

       Defendant next argues that in 1994, the Tenth Circuit had not made clear that the right to

familial association protects against the wrongful incarceration of a child or that any such right

applies to both parent and child. Defendant does not address the Court’s reasoning in overruling

his motion to dismiss on substantially the same issues.         See Defendant Roger Golubski’s

Memorandum In Support Of His Motion For Summary Judgment (Doc. #582) at 57–61. Plaintiffs

have presented evidence that after Ms. McIntyre rejected Golubski’s sexual advances, he sought

to punish her by framing McIntyre for the murders of Doniel Quinn and Donald Ewing. At this

stage, viewing the evidence in a light most favorable to plaintiffs, a jury could reasonably infer

that Golubski intended to interfere with the familial association rights of both McIntyre and his

mother. For substantially the reasons stated in the Court’s order on defendants’ motions to dismiss,

every reasonable officer would have understood that Golubski’s egregious conduct violated the

rights to familial association of McIntyre and his mother.5



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                Defendant argues that even if plaintiffs’ rights to familial association were well
established in 1994, the law was not clearly established that any such right extended to a 17-year
old child who was mature and competent enough to stand trial as an adult. Defendant cites
authorities which suggest that the right to familial association does not extend to adult children
unless they are unemancipated. See McCurdy v. Dodd, 352 F.3d 820, 830 (3d Cir. 2003); Butera
v. D.C., 235 F.3d 637, 654 (D.C. Cir. 2001) (no claim of constitutional right to companionship of
31–year–old son who had moved out of parent’s house and was married). Defendant ignores the
fact that adulthood ordinarily is established by reference to the presumed age of majority, which
is 18 in Kansas. See McCurdy, 352 F.3d at 830 (“in some (probably rare) cases, the presumption
of adulthood may be rebutted by clear and convincing evidence of lack of emancipation” after age
of majority). Because officers arrested McIntyre when he was 17 and living at his mother’s house,
he presumably was unemancipated. Golubski has presented no evidence which establishes as a
matter of law that McIntyre was not a child for the purposes of a familial association claim.
         Golubski argues that even if McIntyre had a right to familial association with his mother,
it was not clearly established in 1994 that any such right would continue beyond his eighteenth
birthday. At trial, Golubski may be able to establish as a factual matter that based on McIntyre’s
relationship with his mother, McIntyre cannot recover damages beyond the age of 18. Even so,
Golubski does not explain how any such limitation on damages extinguishes McIntyre’s claim in
its entirety.
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       Defendant cites Reasonover v. St. Louis County, 447 F.3d 569 (8th Cir. 2006) for the

proposition that even in 2006 a police officer would not be on notice that the right to familial

association could be violated by wrongfully incarcerating a family member. In Reasonover, the

Eighth Circuit affirmed the district court’s order which granted summary judgment for defendants

on a familial association claim because (1) plaintiffs presented no evidence that defendants

intended to interfere with the familial relationship between a wrongfully convicted individual and

her daughter and (2) neither the Supreme Court nor the Eighth Circuit had clearly held that

wrongful prosecution and incarceration of a family member violates a right to familial association.

447 F.3d at 585. Here, as explained above, a reasonable jury could infer from Golubski’s conduct

that he intended to interfere with the familial association rights of both McIntyre and his mother.

Reasonover did not directly address the viability of a familial association claim where an officer

procures a wrongful conviction of one family member with the specific intent to punish another

family member who has rejected the officer’s sexual advances. In 1994, it was established that

conduct of such an egregious nature would violate the rights to familial association of both the

wrongfully convicted individual and his family member.6 See Trujillo, 768 F.2d at 1190 (in 1985,

clarifying that intentionally and unlawfully interfering with familial relations is unconstitutional);

see also Stetzel, 661 F. App’x at 922 (the “more obviously egregious the conduct in light of



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                In passing, defendant argues that the Court should dismiss McIntyre’s claim for
loss of familial association because he has an adequate remedy under Section 1983 for Fourth
Amendment violations. See Defendant Roger Golubski’s Memorandum In Support Of His Motion
For Summary Judgment (Doc. #582) at 60 (citing Manuel v. City of Joliet, Ill., 137 S. Ct. 911
(2017)). In Manuel, the Supreme Court held that the Fourth Amendment—not the Fourteenth
Amendment—governs a Section 1983 claim for unlawful pretrial detention even beyond the start
of legal process. 137 S. Ct. at 919–20. Manuel did not address whether Section 1983 claims which
assert violations of rights beyond unlawful pretrial detention—such as loss of familial
association—are limited to the Fourth Amendment. Absent explanation why the Court should
extend Manuel to bar McIntyre’s claim for loss of familial association which alleges more than
unlawful pretrial detention, the Court must overrule defendant’s argument.
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prevailing constitutional principles, the less specificity is required from prior case law to clearly

establish the violation”). The Court therefore overrules Golubski’s motion for summary judgment

on plaintiffs’ Fourteenth Amendment claim for loss of familial association.

VIII. Conspiracy Claim (Count 5)

       In Count 5, McIntyre asserts conspiracy, alleging that Golubski—along with other

defendants—acted in concert to deprive him of rights under the Fourth, Fifth and Fourteenth

Amendments to be free from unreasonable searches and seizures, malicious prosecution, coercion,

deprivation of liberty without due process of law and to a fair trial. Golubski argues that he is

entitled to qualified immunity on McIntyre’s conspiracy claims because (1) McIntyre has not

established a constitutional violation and (2) McIntyre has not raised a genuine issue of material

fact whether Golubski agreed with others to violate his constitutional rights.

       To succeed on a conspiracy claim under Section 1983, McIntyre must show (1) an actual

deprivation of a constitutional right, (2) a combination of two or more persons acting in concert

and (3) a meeting of the minds, an agreement among defendants or a general conspiratorial

objective. Brooks v. Gaenzle, 614 F.3d 1213, 1227–28 (10th Cir. 2010), abrogated on other

grounds by Torres v. Madrid, 141 S. Ct. 989 (2021). Because direct evidence of an agreement

rarely is available, a plaintiff can rely solely on circumstantial evidence to establish a conspiracy.

Snell v. Tunnell, 920 F.2d 673, 702 (10th Cir. 1990). Proof of an agreement among defendants

need not be express. Frasier v. Evans, 992 F.3d 1003, 1025 (10th Cir. 2021). Parallel action may

or may not indicate an agreement to act in concert. Id.

       For substantially the reasons stated above, McIntyre has raised a genuine issue of material

fact whether he suffered an actual deprivation of a constitutional right. As to Golubski’s agreement

with others, plaintiff has presented evidence that several officers worked in tandem with Golubski



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to create false evidence, hide exculpatory evidence and not investigate the true perpetrator of the

murders, all in a successful attempt to deprive McIntyre of his constitutional rights. Specifically,

plaintiff has presented evidence that (1) Culp assigned the case to Smith and Golubski, a non-

homicide detective, in the interest of closing the case quickly; (2) Ware and Golubski used

suggestion and coercion during a photo identification procedure with Niko Quinn; (3) Golubski

created a report on the improper identification by Quinn which omits his and Ware’s suggestion;

(4) Ware, Smith and all detectives on the case ignored evidence that the homicides were drug-

motivated; (5) Golubski and Krstolich failed to compile photos and a composite which matched

Ruby Mitchell’s description of the shooter; (6) Golubski and Krstolich used suggestion during a

photo identification procedure with Mitchell; (7) Golubski and Krstolich fed Mitchell the last name

“McIntyre;” (8) all officers failed to interview Mitchell’s niece in a timely manner; (9) Golubski

and other officers failed to document any encounters with Stacy Quinn; (10) all officers failed to

investigate McIntyre’s alibi that he had placed calls to a cab company; (11) Brown, Barber and

Golubski jointly fabricated inconsistent alibi statements by McIntyre and Ms. McIntyre; (12) all

officers failed to conduct basic forensic testing; (13) Golubski participated with Barber in

fabricating a false statement from Ms. McIntyre to undermine McIntyre’s truthful alibi;

(14) Golubski recorded a statement of Barber falsely alleging that Ms. McIntyre had made a

“totally unsolicited” statement suggesting both that she knew McIntyre was guilty of the murders

and that she lied about his alibi to protect him; and (15) Golubski reported Barber’s false

statements in his report and represented to the prosecutor that “inconsistent alibis” existed,

bolstering the evidence against McIntyre. Viewing the circumstantial evidence in a light most

favorable to McIntyre, a reasonable jury could find a conspiratorial agreement. See Frasier, 992

F.3d at 1025 (proof of agreement need not be express); Snell, 920 F.2d at 702 (plaintiff can



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establish conspiracy based solely on circumstantial evidence). The Court therefore overrules

Golubski’s motion for summary judgment on McIntyre’s conspiracy claim.

       IT IS THEREFORE ORDERED that Defendant Roger Golubski’s Motion For Summary

Judgment (Doc. #581) filed April 1, 2022 is SUSTAINED in part.           The Court sustains

defendant’s motion as to plaintiff’s First Amendment claim for loss of familial association.

Defendant’s motion is otherwise overruled.

       Dated this 9th day of June, 2022 at Kansas City, Kansas.

                                                          s/ Kathryn H. Vratil
                                                          KATHRYN H. VRATIL
                                                          United States District Judge




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                        UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF KANSAS

LAMONTE MCINTYRE and                         )
ROSE LEE MCINTYRE,                           )
                                             )
              Plaintiffs,                    )
                                             )
                                                 2:18-CV-02545-KHV-KGG
       v.                                    )
                                                 NOTICE OF APPEAL
                                             )
UNIFIED GOVERNMENT OF                        )
WYANDOTTE COUNTY, et al.,                    )
                                             )
              Defendants.                    )


            DEFENDANT ROGER GOLUBSKI’S NOTICE OF APPEAL

       NOTICE IS HEREBY GIVEN that Defendant Roger Golubski hereby appeals to

the United States District Court of Appeals for the Tenth Circuit from the District Court’s

Order (Doc. 668), entered on June 9, 2022, denying Defendant Golubski’s Motion for

Summary Judgment based on qualified immunity.




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                                     Respectfully submitted,

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                            CERTIFICATE OF SERVICE

       I hereby certify that, on June 17, 2022, the above and foregoing was electronically
filed with the Clerk of the Court to be served by operation of the Court’s electronic filing
system upon all counsel of record.


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WYANDOTTE COUNTY AND
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